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 10
                              UNITED STATES DISTRICT COURT
 11
       FOR THE CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 12
    TCL COMMUNICATION                                  Case No. SACV14−00341 JVS (DFMx)
 13 TECHNOLOGY HOLDINGS, LTD.,
    et al.,
 14                                                    Consolidated with CV15–02370 JVS
                      Plaintiffs,
 15                                                    PLAINTIFFS’ DIRECT
            v.
 16                                                    EXAMINATION BY
    TELEFONAKTIEBOLAGET LM                             DECLARATION FOR EXPERT
 17 ERICSSON, et al.,                                  WITNESS
 18                Defendants.                         DR. APOSTOLOS (PAUL) KAKAES
    ________________________________
 19 _____________________________
 20 TELEFONAKTIEBOLAGET LM                             Place: Courtroom 10C
    ERICSSON, et al.,                                  Before Hon. James V. Selna
 21
                      Plaintiffs,
 22                                                    Discovery Cut-Off: May 23, 2016
         v.                                            Pre-Trial Conf.: Jan. 30, 2017
 23                                                    Trial: Feb. 14, 2017
 24 TCL COMMUNICATION
    TECHNOLOGY HOLDINGS, LTD.,
 25
    et al.,
 26
                Defendants.
 27
 28
                                                         Case No. SACV14−00341 JVS (DFMx)/CV15-02370
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  1              DECLARATION OF DR. APOSTOLOS (PAUL) KAKAES
  2         I, Dr. Apostolos (Paul) Kakaes, declare under the penalty of perjury that the
  3 material contained herein is true and correct and that I am competent to testify
  4 thereto.
  5 I.      CREDENTIALS AND QUALIFICATIONS
  6         1.     My name is Apostolos (Paul) Kakaes. A copy of my CV is included
  7 with this Witness Declaration as Exhibit 461. During the past 35 years, I have been
  8 part of the community of engineers that have contributed to the astounding growth
  9 of the mobile communications industry. I hold a Ph.D. in Electrical Engineering
 10 from Polytechnic Institute of New York, and a M.Sc. and a B.Sc. in Applied
 11 Mathematics with a minor in Electrical Engineering from the University of
 12 Colorado. From 1982 until 1987, I worked for the famous AT&T Bell Laboratories,
 13 focused on designing and long term planning of voice and data networks. Since
 14 1988, I have provided consulting services related to the mobile communications
 15 industry through my company, Cosmos Communications Consulting Corporation.
 16 From 1987 until 1994, I was on the faculty of the Department of Electrical
 17 Engineering and Computer Science at The George Washington University in
 18 Washington, D.C., where I taught mostly graduate level courses in communication
 19 engineering.
 20         2.     As part of my consulting and teaching work, I have developed
 21 hundreds of courses over the years on various technical aspects of mobile
 22 communications. By definition, this new, previously non-existent technology was
 23 not taught in University courses, as it was too new. In fact, I developed the first
 24 course on mobile communications taught at The George Washington University.
 25 My consulting services included developing courses for the companies that were at
 26 the forefront of this developing technology. In addition, my consulting work has
 27 included assisting company executives make deployment plans, taking into
 28 consideration various elements of the industry, including the strengths and
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  1 weaknesses of the technology, economics, and user-value, among others. As such, I
  2 developed a deep understanding of almost all aspects of a given technology, its
  3 features, added value, and the like. Having developed hundreds of courses over the
  4 years and taught thousands of engineers (and non-engineers alike), I have a solid
  5 understanding and knowledge of the technical developments in mobile
  6 communications and how their importance fits in the larger puzzle of a rapidly
  7 developing technology.
  8         3.    In addition to deployment and implementation issues presented to
  9 company executives, I have provided consulting services to company leaders on the
 10 issues involved in migrating from one telecommunications technology to the next,
 11 including from 1G to 2G, from 2G to 3G, and from 3G to 4G. The decision to move
 12 on and abandon a company’s successful technology is not easy. In some ways,
 13 change is more difficult than the status quo. However, the status quo can lead to
 14 stagnation. As part of this work, I had to develop a deep understanding (and convey
 15 it to the appropriate executives) of the strengths that a new “generation” was
 16 bringing to the table, as well as the transition issues and costs that invariably came
 17 with a decision to implement it. In other words, I developed a deep understanding
 18 of the entirety of each system that we broadly refer to as 1G, 2G, 3G, or 4G.
 19         4.    Over the years, I also gained experience with intellectual property
 20 matters, and specifically with patents in the communication engineering and mobile
 21 communications field. I have served as an expert witness in a number of cases and
 22 testified in a number of trials and hearings, many of which involved what are
 23 referred to as “Standard Essential Patents,” or SEPs. Through my expert witness
 24 work, I have developed a comprehensive understanding of what it means for a
 25 patent to be found “essential” with respect to a given standard, for a patent to not be
 26 found invalid, how to determine the scope and content of “prior art” in the
 27 telecommunications field, and how to identify whether a product infringes a given
 28 claim of a patent.

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  1         5.    Outside of my litigation consulting work, I have also advised a number
  2 of companies on broader intellectual property and patent issues. I have analyzed
  3 large and small patent portfolios on behalf of companies that were interested in
  4 acquiring some or all of a given portfolio. In some cases, my analysis led the
  5 companies to rethink the acquisition, where others led to a “deal,” in some cases a
  6 multi-billion dollar deal. I have also performed portfolio analysis for the purposes
  7 of reaching licensing agreements. In some cases, the portfolio consisted of a
  8 relatively small number of patents, often accompanied by infringement claim charts.
  9 In other cases, the portfolio included a very large number of patents. Large or small,
 10 the technical analysis included a determination of the strength of the portfolio from
 11 both a technical and an economic perspective.
 12         6.    Throughout my career, I have worked in conjunction with individuals
 13 with broad backgrounds not just in technology, but also law, business, economics,
 14 and other areas related to the mobile communications industry. Moreover, I have
 15 analyzed thousands of patents, many declared as “Standards Essential,” and often
 16 ones that were not so declared. Accordingly, my experience has enabled me to
 17 obtain a strong understanding of mobile communications technologies, of the
 18 standards and the standardization process related to those technologies, and of the
 19 economic and business environment in which those technologies are implemented,
 20 used, and licensed.
 21 II.     SUMMARY OF TESTIMONY
 22         A.    Technical Analysis of Ericsson’s 2G, 3G and 4G SEPs
 23         7.    I understand that one purpose of my engagement is to assist in the
 24 determination of a royalty rate for a license to certain patents which Ericsson is
 25 obligated to license on Fair, Reasonable, and Non-Discriminatory (“FRAND”)
 26 terms. Ericsson alleges these patents are essential to the certain cellular
 27 communications standards known generally as the Second, Third, and/or Fourth
 28 Generation standards (i.e., 2G, 3G, and/or 4G). I understand the technical value of

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   1 Ericsson’s 2G, 3G, and 4G patents can be a component used in determination of this
   2 FRAND rate. I generally understand Dr. Gregory Leonard, one of TCL’s economic
   3 experts, uses the results of my technical analysis of Ericsson’s 2G, 3G, and 4G SEP
   4 to determine a FRAND royalty rate for a license to Ericsson’s patents.
   5               1.     Overview of the Process of Analyzing Ericsson’s 2G, 3G and 4G
   6                      SEPs
   7         8.    To assist in the determination of the FRAND royalty rate, Dr. Nikil
   8 Jayant and I analyzed the scope and technical value of Ericsson’s alleged SEPs. I
   9 will refer to this analysis as the “SEP Analysis.” As part of the SEP Analysis, Dr.
  10 Jayant and I performed a detailed study of Ericsson’s 2G, 3G, and 4G patents
  11 belonging to 192 patent families for which Ericsson produced claim charts. For
  12 each of these patent families, we performed a detailed essentiality analysis to
  13 determine whether the patents were essential to the cited standards as alleged by
  14 Ericsson. The essentiality analysis focused on the standards cited by Ericsson’s
  15 claim charts, and also accounted for additional information, such as Ericsson’s
  16 comments in the claim charts and the patent’s file history, where available.
  17         9.    In addition, Dr. Jayant and I analyzed the patented technology’s
  18 importance and contribution to the standards, taking into account prior generations
  19 of the standards and other alternatives to the patented technology that were available
  20 at the time the patented technology was adopted or incorporated into the standard.
  21 The purpose of the Importance and Contribution analysis is to determine the
  22 patented technology’s intrinsic technical value prior to its adoption into the standard,
  23 apart from the value associated with the technology being incorporated into the
  24 standard.
  25         10.   The Importance and Contribution analysis required us to determine an
  26 accused technology and key feature for each of Ericsson’s patent families that were
  27 found to be essential. The key feature is the technical feature in the cited standard
  28 (or a subset thereof) that is mapped to key claim limitation(s) in Ericsson’s claim

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   1 chart. The details of the SEP Analysis for the 192 analyzed Ericsson patent families
   2 are presented in a series of Appendices attached to this Witness Declaration and
   3 another series of Appendices attached to a separate Witness Declaration submitted
   4 by Dr. Jayant. (Exs. 1638 and 1639.) I will discuss the details of my analysis with
   5 illustrative examples later in this Witness Declaration.
   6        11.    For each of the three metrics of Essentiality, Importance, and
   7 Contribution, a numerical rank was determined on a patent claim-by-patent claim
   8 basis. The “Essentiality Rank” was set to “1,” “2,” or “3.” An Essentiality Rank of
   9 “1” means no evidence was identified that would preclude a finding that the patent
  10 is “essential” under ETSI’s IPR Policy. An Essentiality Rank of “2” means that the
  11 patent, under a proper claim construction, is not “essential” under ETSI’s IPR
  12 Policy. An Essentiality Rank of “3” means the patent is not “essential” under
  13 ETSI’s IPR Policy under any reasonable claim construction.
  14        12.    The “Importance Rank” was also set to “1,” “2,” or “3.” An
  15 Importance Rank of “1” means the accused technology/key feature for the patent
  16 claim is important (or technically valuable) to the standard. An Importance Rank of
  17 “2” means the accused technology/key feature is moderately important (or of
  18 moderate technical value) to the standard. And an Importance Rank of “3” means
  19 the accused technology/key feature is at best only marginally important (or of
  20 marginal technical value) to the standard.
  21        13.    The “Contribution Rank was set to “1,” “2,” “3,” or “4.” A
  22 Contribution Rank of “1” means no viable alternatives to the key feature were
  23 identified for purposes of this analysis. When one or more viable alternatives were
  24 identified, the patent claim was ranked vis-à-vis each alternative. A Contribution
  25 Rank of “2” means the key feature provided a moderate improvement to the
  26 standard relative to the specific alternative. A Contribution Rank of “3” means the
  27 key feature provided a marginal improvement to the standard relative to the specific
  28 alternative. And a Contribution Rank of “4” means the key feature provided no

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   1 improvement to the standard relative to the specific alternative.
   2        14.     Although the rankings are assigned on a patent claim-by-patent claim
   3 basis, to be conservative, the overall rankings for a given Ericsson SEP Family are
   4 based on the “best” ranked patent claim among the set. The Essentiality,
   5 Importance, and Contribution Ranks and their meanings are summarized in Table 1
   6 below:
   7       Metric       Ranking                        Explanation
   8                        1      No evidence was identified that would preclude a
   9                               finding that the patent is “essential” under ETSI’s
                                   IPR Policy.
  10
        Essentiality        2      The patent, under a proper claim construction, is not
  11                               “essential” under ETSI’s IPR Policy.
  12                        3      The patent is not “essential under ETSI’s IPR Policy
  13                               under any reasonable claim construction.
  14                        1      The accused technology/key feature for the patent
                                   family is important (or technically valuable) to the
  15                               standard.
  16                        2      The accused technology/key feature is moderately
  17    Importance                 important (or of moderate technical value) to the
                                   standard.
  18                        3      The accused technology/key feature is at best only
  19                               marginally important (or of marginal technical value)
  20                               to the standard.
                            1      No viable alternatives to the key feature were
  21                               identified for purposes of this analysis.
  22                        2      The key feature provided a moderate improvement to
  23                               the standard relative to the alternative.
       Contribution
  24                        3      The key feature provided a marginal improvement to
                                   the standard relative to the alternative.
  25
                            4      The key feature provided no improvement to the
  26
                                   standard relative to the alternative.
  27    Table 1: Summary of the Essentiality, Importance, and Contribution Ranks
  28                                        (PDX 58)
                                                6
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   1         15.   The rankings for the three metrics for a given Ericsson SEP family
   2 provide an indication of the intrinsic technical value of the family’s patented
   3 technology to the applicable standard. For example, a SEP family determined to be
   4 not essential (corresponding to an Essentiality Rank of “2” or “3”) provides no
   5 intrinsic technical value to the standard.
   6         16.   Where I did not locate any evidence that would preclude a finding that
   7 the patent is “essential” under ETSI’s IPR Policy (meaning I assigned an
   8 Essentiality Rank of “1”), the combination of the Importance and Contribution
   9 Ranks provides the intrinsic technical value of the patented technology. More
  10 specifically, the Importance analysis considers the technology’s importance relative
  11 to, for example, a corresponding technology in a previous version of the standard or,
  12 in absence of such a corresponding technology, relative to a well-known prior art
  13 technology. And the Contribution analysis considers the technology’s contribution
  14 relative to alternative technical solutions that were available at the time of the
  15 adoption of the patented technology into the standard. To be conservative, I also
  16 conducted the Contribution and Importance analysis for any patent family that I
  17 gave an Essentiality Rank of “2,” even though under a proper claim construction I
  18 found the patent to be not essential.
  19         17.   In general, Dr. Jayant and I did not perform the Importance and
  20 Contribution analysis for most of the patent family/standard pairs that were given an
  21 Essentiality Rank of “3.” This is because family/standard pairs with a rank of “3”
  22 are not essential to any of the 2G, 3G, or 4G standards, and therefore their
  23 Importance and Contribution are irrelevant to analyzing the technical value of
  24 Ericsson’s alleged SEP portfolio. In some instances during the analysis, however,
  25 we did proceed to evaluate the Importance and Contribution of non-essential
  26 family/standard pairs if the evidence or reasoning supporting this evaluation was
  27 readily available or we found the lack of Importance or Contribution was
  28 particularly worth pointing out.

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   1         18.   The process for the SEP Analysis is illustrated in Figure 1 below.
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                              FIGURE 1: SEP Analysis (PDX 59)
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  16         19.   As discussed above, Dr. Jayant and I analyzed a total of 192 patent
  17 families that Ericsson contends are standard essential and for which it produced
  18 claim charts. For each of these 192 families, we analyzed each charted claim for the
  19 standard or standards to which Ericsson asserted the claim is essential. For
  20 example, Ericsson identified the patent family P08333 as being essential to both the
  21 3G and 4G standards. Thus, patent family P08333 consisted of two family/standard
  22 pairs, P08333_3G and P08333_4G. For this patent family, I performed the SEP
  23 Analysis for each charted claim that Ericsson asserted is essential to the 3G
  24 standard, and I separately performed the SEP Analysis for each charted claim that
  25 Ericsson asserted is essential to the 4G standard.
  26         20.   Because Ericsson asserts that a number of its patent families are
  27 essential to multiple standards, the 192 charted patent families resulted in a total of
  28 219 family/standard pairs. Each family/standard pair may contain multiple charted

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   1 claims, and Dr. Jayant and I performed the SEP Analysis with respect to each one of
   2 the charted claims for each of the 219 family/standard pairs.
   3               2.    Summary of the Results of the Technical Analysis of Ericsson’s
   4                     2G, 3G and 4G SEPs
   5        21.    The results of the SEP Analysis are summarized below. Of Ericsson’s
   6 219 family/standard pairs, 73 pairs (or about 33%) received an Essentiality Rank of
   7 “3,” meaning the claim is not “essential” under any reasonable interpretation of the
   8 claim. Of the remaining 146 family/standard pairs, 10 pairs received an Essentiality
   9 Rank of “2,” meaning under a proper construction the claim is not essential, and the
  10 other 136 pairs received an Essentiality Rank of “1,” meaning I did not see any
  11 evidence precluding a finding that the claim is essential.   The breakdown of the
  12 Essentiality results is presented in Figure 2 below.
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  26                                  FIGURE 2 (PDX 60)
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  28        22.    For the 146 family/standard pairs which received an Essentiality Rank

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   1 of “1” or “2,” Dr. Jayant and I further provided a ranking for Importance and
   2 Contribution. With respect to Importance, 80 pairs received an Importance Rank of
   3 “3,” meaning the key feature of the claim is, at best, of marginal technical value or
   4 importance to the relative standard. Another 37 pairs received an Importance Rank
   5 of “2,” meaning the key feature of the claim is of moderate technical value or
   6 importance to the relative standard. The remaining 29 pairs received an Importance
   7 Rank of “1,” meaning the key feature of the claim is technically valuable or
   8 important to the relevant standard. The breakdown of the Importance results is
   9 presented in Figure 3 below.
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                                      FIGURE 3 (PDX 61)
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  26        23.    With respect to Contribution, 92 of the 146 family/standard pairs that

  27 received an Essentiality Rank of “1” or “2” received a Contribution Rank of “4,”
  28 meaning the key feature of the claim provides no improvement to the relative

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   1 standard relative to at least one available alternative. Of the remaining
   2 family/standard pairs, 41 pairs received a Contribution Rank of “3,” meaning the
   3 key feature of the claim provides marginal improvement to the standard relative to
   4 at least one available alternative, and five pairs received a Contribution Rank of “2,”
   5 meaning the key feature of the claim provides moderate improvement to the
   6 standard relative to at least one available alternative. The remaining eight pairs
   7 received a Contribution Rank of “1,” meaning no viable alternatives were identified
   8 at the time of the analysis. The breakdown of the Contribution results is presented
   9 in Figure 4 below.
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  25                                  FIGURE 4 (PDX 62)
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  27        24.    The combined Importance and Contribution results are graphically
  28 presented in Figure 5 below. To be conservative (i.e., in Ericsson’s favor), Figure 5

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   1 also includes expired patents, as well as 10 family/standard pairs with an
   2 Essentiality Rank of “2” even though these pairs are not essential to the standards
   3 under a proper claim construction. Similarly, Figure 5 also includes patent families
   4 with patents that I believe are invalid in view of prior art. Nonetheless, since Dr.
   5 Jayant and I did not conduct a full-blown invalidity analysis, I gave Ericsson a
   6 benefit of the doubt on those families. Accordingly, Figure 5 presents a
   7 conservative representation of Ericsson’s 2G, 3G and 4G SEP families in the
   8 technical value scale, ranging from valuable (the green bubble) to not valuable (the
   9 red bubbles).
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  24                                FIGURE 5 (PDX 63)
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  26        25.   As shown in Figure 5, only eight (or 3.7%) of the 219 family/standard
  27 pairs directed to the 2G, 3G, and/or 4G standards have an Importance Rank of “1”
  28 and a Contribution Rank of “1.” These eight family/standard pairs (represented by

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   1 the green bubble) are directed to accused technologies and key features that are
   2 technically valuable to the relevant standards and those key features are also
   3 technically valuable to the relevant standards relative to alternatives that were
   4 available at the times the key features were adopted into the standards. Even though
   5 these eight family/standard pairs are technically valuable, they were determined to
   6 still be addressing and solving modular problems contained within specific
   7 functions, such that the corresponding technical solutions would not materially
   8 impact other problems and associated solutions in the respective standards. This is
   9 consistent with the reality that most 2G, 3G, and 4G SEPs (with only an exception
  10 of a handful of fundamental patents that radically changed the technological
  11 landscape) address incremental solutions in a narrow aspect of a given technology,
  12 and I did not find any fundamental patents that radically changed the technological
  13 landscape in Ericsson’s 2G, 3G, and/or 4G SEP portfolios.
  14         26.   Furthermore, of the 219 family/standard pairs, only five (or 2.3%) of
  15 the 219 family/standard pairs having an Importance Rank of “2” and a Contribution
  16 Rank of “2” (represented by the yellow bubbles) are directed to accused
  17 technologies and key features that are of moderate technical value or importance to
  18 the relevant standards, and that provide moderate improvements to the standards
  19 relative to alternatives that were available at the times the key features were adopted
  20 into the standards.
  21         27.   The remaining 206 (or 94%) of Ericsson’s 2G, 3G, and/or 4G
  22 family/standard pairs are not technically valuable. First, 73 of these 219
  23 family/standard pairs (or 33.3%) have an Essentiality Rank of “3” and thus are not
  24 essential to the 2G, 3G, and 4G standards under any reasonable claim construction.
  25 Second, of the remaining 146 family/standard pairs with an Essentiality Rank of “1”
  26 or “2,” 133 pairs (or 60.7%) (represented by the red bubbles) are directed to accused
  27 technologies or key features that are of little or no importance to the relevant
  28 standards and/or provide at best marginal improvements to the standards relative to

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   1 alternatives that were available at the time that the respective key feature(s) were
   2 adopted into the standards. Therefore, the vast majority of the 219 2G, 3G, and 4G
   3 family/standard pairs that Ericsson alleges are SEPs provided little to no intrinsic
   4 technical value to the standards.
   5         B.    Industry-Wide Essentiality Analysis of 2G, 3G, and 4G User
   6               Equipment Patents
   7         28.   Dr. Zhi Ding and I, supported by a team of engineers at Concur IP and
   8 Ernst & Young India, also conducted what I refer to as an “Industry-Wide
   9 Essentiality Analysis” of the global landscape of patents that are declared essential
  10 to the 2G, 3G, and 4G standards and are directed to User Equipment (“UE”). Unlike
  11 the SEP Analysis described above, which focused only on Ericsson’s SEPs, the
  12 Industry-Wide Essentiality Analysis addressed patents declared to ETSI by all
  13 parties. For reasons discussed below, the Industry-Wide Essentiality Analysis was
  14 conducted separately from the SEP Analysis, although both inquires addressed the
  15 essentiality of Ericsson’s SEPs. I understand that Dr. Leonard uses the results of the
  16 SEP Analysis (described above), as well as the results of the Industry-Wide
  17 Essentiality Analysis (described below), to determine Ericsson’s value share of all
  18 SEPs for each of the 2G, 3G, and 4G standards.
  19               1.     Overview of the Process of the Industry-Wide Essentiality
  20                      Analysis of 2G, 3G and 4G SEPs
  21         29.   As a first step, the Industry-Wide Essentiality Analysis included what I
  22 will refer to as the “Patent Census.” In the Patent Census, we obtained basic
  23 information on the patents held by all assignees and declared to ETSI for the 2G,
  24 3G, and 4G standards. This basic information gathered in connection with the
  25 Patent Census includes how many patents are declared as being essential, the
  26 distribution of these patents across assignees, the patents’ expiration dates,
  27 geographic coverage, as well as other information.
  28         30.   The Patent Census involved extracting information from a database of

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   1 patent declarations (or IPR declarations) maintained by the European
   2 Telecommunications Standard Institute (ETSI), a key international cellular
   3 standards body. According to ETSI Policy, these IPR declarations inform ETSI that
   4 the declarants believe (or believed) that the identified patents or applications may be
   5 or may become essential to at least the listed ETSI Work Items, Standards, and/or
   6 Technical Specifications in the IPR declarations. (Ex. 223 at p. 1.) For
   7 convenience, I will refer to such patents and applications as “declared-essential
   8 patents,” “patents that have been declared as being essential,” or the like. Based on
   9 this information, the declared essential 2G, 3G, and 4G patents were grouped into
  10 corresponding industry-wide patent families associated with different assignees.
  11 This data provides information regarding Ericsson’s relative position among all
  12 assignees with respect to all declared-essential 2G, 3G, and 4G patents. The process
  13 for the Patent Census analysis is illustrated in Figure 6 below.
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  28                     FIGURE 6: Patent Census Process (PDX 64)

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   1         31.   The Patent Census demonstrates that as of September 15, 2015, there
   2 were over 153,000 patents and/or patent applications declared essential to the 2G,
   3 3G, and 4G standards. These patents were organized into 11,469 families that have
   4 at least one granted patent that is still active (i.e., non-expired) and was published in
   5 English—I will refer to these as “relevant” families.
   6         32.   After the team at Ernst & Young identified the declared-essential
   7 families in connection with the Patent Census, Concur IP analyzed these 11,469
   8 declared-essential families and identified a total of 7,106 “relevant” families that
   9 have a claim directed to UE. The families were organized on a generation basis,
  10 separately for 2G, 3G, and 4G. In some instances, a relevant family was declared
  11 essential to more than one generation, and therefore was identified as being relevant
  12 to all generations to which it was declared.
  13         33.   Once the industry-wide declared-essential patents were narrowed down
  14 to those relevant to UE, the next step was to perform an Essentiality Assessment.
  15 The Essentiality Assessment involved determining which of the declared-essential
  16 UE families includes a claim that is essential to the 2G, 3G, and/or 4G standards.
  17 The Essentiality Assessment also involved determining, for each of the 2G, 3G, and
  18 4G standards, ratios of (1) essential patents to (2) declared-essential patents for each
  19 assignee. These ratios are also referred to as “essentiality ratios.” As I did with
  20 Ericsson’s SEPs, with respect to the industry-wide 2G, 3G, and 4G patents, I use the
  21 term “essential” in the sense that no evidence was identified that would preclude a
  22 finding that the patents (or corresponding patent families) are “essential” under
  23 ETSI’s IPR Policy.
  24         34.   In order to conduct the Essentiality Assessment, we first identified a
  25 statistically significant, random sampling of the UE families to analyze.
  26 Specifically, within each technology (i.e., 2G, 3G, 4G), one-third (2,600 families
  27 total) of the 7,106 relevant UE families were randomly selected separately for each
  28 of the top 15 assignees. For the randomly selected 33% of UE families per each of

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   1 the assignees, the Essentiality Assessment primarily involved a comparison between
   2 a patent’s claims and the relevant cellular standard specifications.
   3         35.   As noted earlier, there is some overlap between this Industry-Wide
   4 Essentiality Analysis and SEP Analysis discussed above in Section II.A.
   5 Specifically, the sampled set of industry-wide declared-essential patent families
   6 included 33% of Ericsson’s 2G, 3G, and 4G declared-essential UE families, and, as
   7 a result, 55 of Ericsson’s SEP family/standard pairs were analyzed independently on
   8 the one hand by Dr. Jayant or me (as part of the SEP Analysis), and on the other
   9 hand by the Concur IP team and Dr. Ding (as part of the Essentiality Assessment).
  10 The main difference between these two separate projects is that the Concur IP team
  11 performed the Essentiality Assessment based primarily on a comparison between
  12 patent claims and declared standards identified in IPR declarations submitted to
  13 ETSI. By contrast, Dr. Jayant and I analyzed the essentiality of Ericsson alleged
  14 SEPs based primarily on the mapping of patent claims and cited standards set forth
  15 in Ericsson’s claim charts as well as any additional information Ericsson provided
  16 regarding its essentiality contentions (e.g., comments in the claim charts). In
  17 addition, Dr. Jayant and I considered the file histories of the patents in determining
  18 the scope of the claims, whereas the Concur IP team did not. The overall
  19 differences in the essentiality determinations between the two studies are discussed
  20 below in detail in Section VI.C.2.e. In my opinion, these differences were not
  21 surprising, ultimately insignificant, and often favored Ericsson.
  22         36.   The Industry-Wide Essentiality Analysis and particularly the
  23 Essentiality Assessment allowed us to determine, on an assignee-by-assignee basis,
  24 the total estimated number of essential 2G, 3G, and 4G industry-wide SEP families
  25 directed to User Equipment. The process for the Essentiality Assessment is
  26 illustrated in Figure 7 below.
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  18                    FIGURE 7: Essentiality Assessment (PDX 65)
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  20               2.    Results of the Industry-Wide Essentiality Analysis
  21        37.    The Patent Census surveying declared-essential patents shows that
  22 Ericsson’s patent portfolio has experienced a relative decline over time. Even
  23 though Ericsson’s absolute number of patent families continues to grow, the relative
  24 strength of Ericsson’s portfolio as compared to the industry has declined.
  25        38.    For 2G, the total number of declared-essential patent families was
  26 2,398, of which 1,182 families, or about 49%, were UE families. Of those 1,182 UE
  27 families, Ericsson was ranked third among all assignees with 107 families, or about
  28 9% of all UE families declared essential to the 2G standard.

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   1         39.   For 3G, the total number of declared-essential patent families was
   2 5,127, of which 2,947, or about 57%, were UE families. Of those 2,947 UE
   3 families, Ericsson was ranked fourth among all assignees with 199 families, or about
   4 7% of all UE families declared essential to the 3G standard.
   5         40.   For 4G, the total number of declared families was 7,638, of which
   6 5,024, or about 66%, were UE families. Of those 5,024 UE families, Ericsson was
   7 ranked fifth among all assignees with 311 families, or about 6% of all UE families
   8 declared essential to the 4G standard.
   9         41.   As can be seen, Ericsson’s relative strength has declined from 9% for
  10 the 2G standard, to 7% for 3G, and down to 6% for 4G. There are three primary
  11 reasons for Ericsson’s relative decline. First, the expiration of a substantial number
  12 of Ericsson’s patents due to age. Second, Ericsson has divested a substantial
  13 number of patents to other entities. Third, other companies have increased their
  14 patenting efforts over time, resulting in more competition to Ericsson.
  15         42.   The Industry-Wide Essentiality Assessment also revealed no surprises,
  16 in that Ericsson’s proportional share of the total set of essential UE patent families
  17 was found to be consistent with its share of all declared-essential patent families. In
  18 particular, for 2G, Ericsson’s fraction of essential UE patent families was found to
  19 be about 10%, just slightly higher than Ericsson’s 9% share of all 2G declared-
  20 essential UE families. For 3G, Ericsson’s fraction of essential UE families was
  21 found to be about 7%, basically the same as Ericsson’s 7% share of all 3G declared-
  22 essential UE families. For 4G, Ericsson’s fraction of essential 4G UE families was
  23 found to be about 6%, basically the same as Ericsson’s 6% share of all declared-
  24 essential UE families.
  25         C.    Overview of Other Technical Analyses I Performed
  26         43.   I also performed the following additional technical analyses, and
  27 provide the related results and/or opinions in this Witness Declaration.
  28

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   1               1.    Industry-Wide 2G, 3G and 4G Infrastructure Family Analysis
   2        44.    I conducted what I refer to as the Industry-Wide Essentiality Analysis
   3 of the global landscape of patents that are declared essential to the 2G, 3G, and 4G
   4 standards and are directed to infrastructure equipment (e.g., a base station or core
   5 network). In Section VII below, I discuss this analysis and provide the numbers of
   6 overall infrastructure families declared essential to the 2G, 3G, and/or 4G standards,
   7 for each of Samsung, LG, HTC, ZTE, Apple, and Ericsson. I understand this
   8 analysis is used by Dr. Lynde in calculating effective rates that other Ericsson
   9 licensees are paying for a license to Ericsson’s 2G, 3G, and 4G patents.
  10               2.    Correlation Between Ericsson’s SEPs and Purportedly Approved
  11                     Contributions
  12        45.    I understand Ericsson has taken the position that counting approved
  13 technical contributions can serve as an indicator of “the value of the patented
  14 technology [a company] has contributed to the industry” (Dec. 11, 2015 Responses
  15 to TCL’s Interrogatory No. 11, at 8), “who will own most essential patents when the
  16 technology is standardized,” and “essential patent strength.” (See Ex. 1084 at pp. 4–
  17 6.) In other words, Ericsson claims that approved contributions correlate to its
  18 proportional share of standard-essential patents. In Section VIII below, I discuss
  19 this analysis and provide my technical opinion as to why Ericsson’s approved
  20 contributions are, at best, only weakly correlated to its SEPs.
  21               3.    LTE’s Key Distinguishing Features
  22        46.    LTE contains a number of key distinguishing features that differ in
  23 many ways from technologies employed in earlier 3GPP standards (such as 2G and
  24 3G) and other contemporaneous cellular technologies. I understand Ericsson’s
  25 witnesses intend to argue that Ericsson made significant and valuable contributions
  26 to 4G LTE. For example, in his rebuttal report, Dr. Parkvall cites a paper written by
  27 Ericsson engineers that identifies eight specific LTE key features that purportedly
  28 distinguish LTE over WiMAX to support his argument that a system without

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   1 Ericsson’s LTE technologies (e.g., Link Adaptation) would translate to “reduced
   2 user throughput by 7%.” I also understand Mr. Kennedy relies on Dr. Parkvall’s
   3 analysis to calculate the value of Ericsson’s 4G portfolio.
   4         47.   In Section IX below, I discuss my analysis of these key LTE
   5 distinguishing features and provide my opinion that those features were well known
   6 before standardization of LTE and developed by companies other than Ericsson.
   7 This fact not only shows that Ericsson improperly attempt to take credit for the
   8 technical value of these well-known features developed by others, but also supports
   9 (and explains) my finding that 77 (or 95%) out of 85 of Ericsson’s 4G
  10 family/standard pairs with an Essentiality Rank of “1” or “2” provide little to no
  11 intrinsic technical value to the standard. (See Section V, infra.)
  12 III.    BACKGROUND ON THE 2G, 3G AND 4G STANDARDS
  13         A.    Evolution of Cellular Communications
  14         48.   Driven by the need for increasing performance (such as increased data
  15 throughput, improved quality of service, greater security, better coverage and access
  16 to new services, including data connectivity and video streaming), cellular
  17 communications systems have continued to evolve since inception. These cellular
  18 communications systems are known generally as First, Second, Third and Fourth
  19 Generation systems (1G, 2G, 3G and 4G, respectively). Each new generation of
  20 wireless telecommunications technology has resulted in an increase in system
  21 throughput and efficiency, allowing increasingly higher data rates and system
  22 performance to be realized.
  23         49.   All of these cellular evolutions are based on well-known
  24 communication technologies. Table 2 below provides the underlying core
  25 technologies used by the more recent cellular systems (2G, 3G, and 4G), and
  26 highlights the approximate decade the various technologies were first introduced as
  27 compared to the time the standard was developed.
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   1           Cellular          Principle             Time of             Time of
   2         Generation         Technology            Standard            Technology
              2G / GSM            TDMA                The 1980s           The 1940s1
   3         3G / UMTS            CDMA                The 1990s           The 1950s2
              4G / LTE           OFDMA                The 2000s           The 1960s3
   4
   5                 TABLE 2: Core Technologies Used in Cellular Systems
   6           50.   While these core communication technologies used in modern cellular
   7 networks were developed decades ago, they only started to benefit consumers when
   8 other enabling technologies became available. Without advanced integrated
   9 circuits, mobile terminals are expensive, bulky and unreliable. Without high density
  10 battery technology, the mobile processors do not have the power to execute complex
  11 algorithms needed for broadband communications and computationally demanding
  12 applications. Similarly, without high-resolution, sensitive and strong touch screens,
  13 mobile terminals cannot interact with users efficiently and effectively.
  14           51.   Today, commercial telecommunications equipment often supports
  15 several cellular generations. For example, current telecommunications equipment
  16 often supports the latest standard (e.g., 4G) plus older standards (e.g., 3G and 2G).
  17 Such equipment is called “multi-mode” equipment.
  18           B.    The 2G Standard
  19           52.   The first widespread use of mobile phones began in the late 1970s and
  20 into early 1980s with analog systems, generally referred to as “1G.” From the
  21 viewpoint of a typical consumer experience today, these systems were relatively
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  23   For example, in 1946, U.S. Patent 2,405,165 titled “Communication System” was
     issued to Alfred Schroeder of RCA. This disclosed a system of multiple stations,
  24 where “each station [has] assigned thereto a portion of the time interval between
  25 recurring synchronization pulses.” (Ex. 1603.)
     2
  26 For example, in 1950, MIT’s Project Hartwell showed that several noise
     modulated systems, using wide-band carriers could operate simultaneously in the
  27 same band with little effect on each other. (Ex. 1604.)
       3
  28       For example, Bell Labs was researching OFDM in 1965. (Ex. 1332 at pp. 1–22.)

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   1 basic, supporting just a few analog signal (as opposed to digital signal) capable of
   2 carrying voice calls. AMPS (Advanced Mobile Phone System) was probably the
   3 most successful 1G system, and was widely deployed in the USA in the 1980s.
   4 However, there were many other regional and national systems in operation around
   5 the world at that time, leading to a fragmented market with individual regions
   6 having their own vendors and standards which were incompatible with one another.
   7 Today, none of these systems are commercially operational.
   8          53.   In the late 1980s, the cellular industry moved towards a second
   9 generation of mobile telephony, based on digital technology. Such systems
  10 introduced a number of important benefits over the previous analog 1G systems,
  11 such as improved voice quality, increased system capacity, increased system
  12 security, and the ability to integrate voice and data services.
  13          54.   For the first time, SMS (Short Messaging Service, i.e., “texting” or
  14 “texts”) and basic data services became available. But there were divergent views
  15 on how to effectuate these benefits. Thus, there were a number of different
  16 standards considered to be 2G, including GSM, GPRS & EDGE, and CDMA &
  17 IS-95.
  18                1.    GSM
  19          55.   In Europe, a system called GSM (Global System for Mobile
  20 Communications, originally referred to as Groupe Spécial Mobile) evolved to
  21 become the dominant world-wide 2G standard.
  22          56.   GSM incorporated a number of technical advances over previous
  23 cellular systems. GSM introduced digital voice coding, which digitized voice calls
  24 and allowed better call quality. GSM also adopted for the air interface protocol the
  25 well-known Time Division Multiple Access (TDMA) scheme. TDMA operates by
  26 defining a number of time slots, and allocating the repetitive occurrence of a
  27 different time slot to each user. As shown below in Figure 8, User l’s cellphone is
  28 assigned the repetitive occurrence of Time Slot 1, User 2’s cellphone is assigned the

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   1 repetitive occurrence of Time Slot 2, and User n’s cellphone is assigned to the
   2 repetitive occurrence of Time Slot n. The collection of Time Slots for all users are
   3 carried within a single frequency.
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  19       FIGURE 8: Example Time Division Multiple Access (TDMA) System
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  21               2.    GPRS & EDGE
  22        57.    Over the years, the functionality of GSM has been extended to support
  23 improved data services. These enhancements include a data service called GPRS
  24 (General Packet Radio Services), which introduced relatively low speed packet data
  25 support in addition to GSM voice services and then existing GSM circuit-switched
  26 data services. GPRS was then extended to a technology called EDGE (Enhanced
  27 Data rates for GSM Evolution), which is also often referred to as Enhanced GPRS,
  28 or EGPRS, which further increased the supported data rates.

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   1         58.   GSM and these newer variants are still in use today. They can support
   2 voice service and user data rates with low to moderate data transmission speed.
   3 However, their importance has been quickly diminishing on a global basis as
   4 network operators move to “next generation” systems providing higher data rates for
   5 transmission of information much more efficiently, which benefits both the network
   6 operators and end users.
   7               3.     CDMA and IS-95
   8         59.   Despite the availability and widespread, global adoption of GSM, the
   9 technology was not (at least initially) widely commercialized in the United States.
  10 In the United States, a different Second Generation (2G) technology, based on a
  11 different wireless air interface named Code Division Multiple Access (CDMA), was
  12 being strongly championed by Qualcomm. Qualcomm eventually succeeded in
  13 getting its technology standardized. The corresponding standard is called IS-95.
  14         60.   At a very basic level, CDMA operates by assigning each user a unique
  15 identifier, a “spreading code,” which is used to “spread” all the digital data
  16 transmitted to or from that user. Because each user has a unique spreading code, a
  17 user need not be assigned a specified time slot as is required with TDMA. With
  18 CDMA, multiple users can communicate at the same time (i.e., simultaneously)
  19 using the same frequency by transmitting messages that have been spread using
  20 different “spreading codes.” Such a CDMA transmission is shown pictorially below
  21 in Figure 9, where User l’s cellphone communicates using messages or data all
  22 identified uniquely with Code 1, User 2’s cellphone uses Code 2 for all its data, and
  23 so forth for each user. This allows all users to communicate simultaneously along
  24 the entire available frequency spectrum (F1).
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             Figure 9: Example Code Division Multiple Access (CDMA) System
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  13         61.   Despite many early technical setbacks and much skepticism from the
  14 GSM industry, Qualcomm’s CDMA technology was standardized as IS-95, and
  15 commercialized under the name CDMAOne. It became widely deployed by several
  16 carriers in the U.S. in the mid to late 1990s, after initially being successfully
  17 deployed in South Korea.
  18         C.    The 3G Standard
  19         62.   In the mid to late 1990s, the cellular industry started a push towards a
  20 newer, more advanced system, able to support more users with improved reliability
  21 and better handling of data services.
  22         63.   Originally the hope was to adopt a single, global standard. However,
  23 over time, it became apparent that diverging regional interests would prevent a
  24 single system from being adopted. On the one hand, supporters of the GSM-based
  25 standards pushed to have a system based on the GSM core network, but with an
  26 enhanced Radio Access Network incorporating a new CDMA-based air interface
  27 known as WCDMA (Wideband CDMA). This standard is known as Universal
  28 Mobile Telecommunications System, or “UMTS.” On the other hand, supporters of

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   1 the IS-95 family of standards pushed to enhance the existing IS-95 core network and
   2 CDMA air interface, to develop a new standard known as CDMA2000. A high
   3 level illustration of these standards and their later evolutions is shown below in
   4 Figure 10. For the sake of brevity and also because UMTS is the only 3G
   5 technology at issue in this case, I will only discuss 3G UMTS.
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            FIGURE 10: Evolution of the 2G and 3G Digital Cellular Standards
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  19        64.    UMTS was designed to be an extension to the popular and successful
  20 2G GSM standard, but enhanced to include an improved CDMA air interface,
  21 known as Wideband CDMA (WCDMA).
  22        65.    The first UMTS standard developed by 3GPP was called Release 99,
  23 and was followed by a minor “cleanup” revision called Release 4. The first major
  24 upgrade came in 2002 with Release 5, including a new feature called HSDPA (High
  25 Speed Downlink Packet Access), which was followed by Release 6 in and around
  26 early 2005 which introduced HSUPA (High Speed Uplink Packet Access).
  27 Together HSDPA and HSUPA (which combined is known as HSPA, or High Speed
  28 Packet Access) enhanced the download and upload speeds as compared to the

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   1 original baseline specification. In 2007, Release 7 included an enhancement named
   2 HSPA+ (High Speed Packet Access Evolution), which includes a number of
   3 technical modifications to support even higher data rates. More recent releases have
   4 improved functionality further.
   5           66.   UMTS, as improved through the various releases, remains in
   6 widespread use around the world today.
   7           D.    The 4G Standard (“LTE”)
   8           67.   For the first time in the evolution of cellular standards, the global
   9 cellular industry converged to a single wireless standard for use worldwide in the
  10 late 2000s: LTE (Long Term Evolution). This standard was developed by 3GPP,
  11 and it provides a natural evolutionary path for both UMTS and CDMA2000 network
  12 operators and their customers. Similar to the earlier generations, LTE also continues
  13 to evolve, including advances such as LTE-Advanced.
  14           68.   A visual roadmap of the main cellular standards and how they have
  15 evolved is shown in Figure 11 below.4
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  26                 FIGURE 11: Evolution of the Digital Cellular Standards
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           For explanation of “WiMAX,” see Section IX below.
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   1        69.    Work began in earnest on developing LTE around 2006, under the
   2 leadership of 3GPP. The first technical specifications, known as Release 8, were
   3 released in 2008. Release 8 includes some functionality that can, in theory, support
   4 downlink data rates of about 300 Mbps and uplink data rates of about 75 Mbps.
   5        70.    In 2011, a major upgrade to LTE was released, referred to as Release
   6 10, incorporating many features of what was known as LTE-Advanced. This
   7 upgrade includes a number of major technical enhancements to considerably
   8 increase LTE functionality. Commercial deployments of LTE-Advanced are in
   9 progress today.
  10        71.    4G LTE standards consist of two major “alternatives”: Frequency
  11 Division Duplex (or FDD) and Time Division Duplex (or TDD). While the
  12 development of LTE-FDD and LTE-TDD has been harmonized by 3GPP, there are
  13 significant differences between the two.
  14        72.    While the number of FDD as compared to TDD networks has varied
  15 over time and location, it is clear that there are a lot more FDD networks globally
  16 than TDD networks. A full marketing analysis is beyond the scope of this Witness
  17 Declaration, but it is revealing to consider what the LTE standards allow in terms of
  18 allocated spectrum. While the allocated spectrum changes with time and location,
  19 the most recent relevant LTE standard provides some insight. The table below is
  20 from 3GPP TS 36.101, version 13.2.1 (January 2016), and it provides the worldwide
  21 set of available Operating Bands. Once again, to be clear, not all Operating Bands
  22 are available everywhere. In fact, I know of no place in the world where all bands
  23 are available. This table is merely intended to show that FDD dominates TDD
  24 overall.
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  21 (See Ex. 1619 at pp. 29–31.)
  22        74.   As one can see, the LTE Operating Bands are overwhelmingly FDD.
  23 As it turns out, the country/region with the largest TDD presence as compared to
  24 other countries/regions is China, with China Mobile being the largest LTE TDD
  25 operator. While the interest in TDD has grown over time since its original
  26 deployments, it remains a much smaller portion of LTE deployment overall as
  27 compared to FDD.
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   1 IV.    BACKGROUND ON ETSI AND STANDARDIZATION
   2        A.     Background on ETSI
   3        75.    In 1989, the responsibility for continued evolution of the GSM standard
   4 was transferred to the European Telecommunications Standards Institute (ETSI), an
   5 organization that consisted of many companies in the telecommunications industry
   6 in Europe and beyond. ETSI had (and today still has) a hierarchical structure, with
   7 the fundamental unit being a Working Group. Each Working Group was
   8 responsible for a specific set of technical aspects of the standards, and their work
   9 eventually led to the formation of the standards. Participation in a Working Group
  10 was left up to companies that were members of ETSI. Any member company could
  11 send individuals to participate in a Working Group. These individuals often
  12 identified issues that needed to be resolved and proposed features to the same. The
  13 Working Group would then deliberate over issues and/or proposed features in
  14 regularly scheduled Working Group meetings held in cities around the world.
  15        B.     3GPP—An International Cellular Technology Body
  16        76.    Even though 3GPP is not a standards-setting organization in a formal
  17 sense, from a practical perspective, it is. 3GPP develops Technical Specifications
  18 that are then typically adopted by the respective standards-setting bodies of a given
  19 country. At the core of 3GPP’s organization lies the seven “Organizational
  20 Partners,” each of which is a Standards-Setting Organization (SSO) in a specific
  21 country. The seven organizational partners and their respective standards-setting
  22 countries/regions are: (1) ARIB (Japan), (2) ATIS (USA), (3) CCSA (China), (4)
  23 ETSI (Europe), (5) TSDSI (India), (6) TTA (Korea), and (7) TTC (Japan).
  24        77.    3GPP employs a model similar to the ETSI model discussed above—a
  25 hierarchical structure, with Working Groups being the source of technical
  26 contributions, some of which are ultimately included in Technical Specifications. In
  27 addition, there are several Technical Specification Groups, each having a number of
  28 Working Groups and covering technical subject matter that is defined and follows a

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   1 logical, hierarchical structure.
   2         78.   It is up to each Organizational Partner to accept the Technical
   3 Specification as a standard. The Working Groups, much as in ETSI, are made up of
   4 individuals who work in any company that is a member of at least one 3GPP
   5 Organizational Partner. Deliberations take place, contributions are analyzed, and
   6 consensus typically emerges, leading to a Technical Specification. These Technical
   7 Specifications can be and often are amended to correct prior errors, clarify prior
   8 language, introduce new features, or delete previously agreed-upon features.
   9         79.   Technical Specifications are assigned a version number. For example,
  10 TS 36.211 is a Technical Specification that covers one specific broad topic area in
  11 LTE. It has several version numbers such as 8.0.0, 9.4.5, 12.0.0, etc. The first value
  12 in such a 3-field version number (8, 9, and 12 in these examples) corresponds to the
  13 “Release.” Roughly speaking, the second value (0, 4, and 0, respectively in the
  14 examples) is a representation of the evolutionary process within a given release.
  15 Lastly, the third value (0, 5, and 0, respectively in the examples) represents minor
  16 typographical or stylistic changes to the given standard. Thus, version 9.4.6 of a
  17 given Technical Specification can be expected to have minor corrections to version
  18 9.4.5 of the same Technical Specification.
  19         80.   Standards are constantly evolving, and new releases introduce new
  20 functionality. Thus, Release 12 will have new functionalities and capabilities that
  21 Release 11 did not. Release 11, in turn, will have new functionalities and
  22 capabilities that Release 10 did not have, and so on.
  23         C.    Declaring Patents to ETSI That “Are or May Be Essential”
  24         81.   SSOs often have intellectual property rights (IPR) policies that require
  25 certain members to identify patents and patent applications relevant to the standards
  26 in a timely manner. For example, ETSI has such an IPR policy. (See, e.g., Ex. 223
  27 at pp. 1 (§ 4.1), 2 (§ 6.4); see also Ex. 224.)
  28         82.   I understand that TCL’s other experts will provide more background on

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   1 the reasons behind these IPR policies, as well as their implications. This Witness
   2 Declaration discusses the information provided by patent declarations (or IPR
   3 declarations) submitted in connection with ETSI’s IPR policy, and how that
   4 information can be used to assess patent portfolio strength.
   5         83.   Patent declarations to ETSI consist of a fairly simple form. (See, e.g.,
   6 Ex. 223 at pp. 9–11.) ETSI’s form requests certain basic information about the
   7 declared patents, such as: (1) the ETSI Project to which the patents pertain (e.g.,
   8 UMTS), (2) the Technical Specifications or standards relevant to the patents (e.g.,
   9 3GPP TS 25.215), (3) the patent numbers, and (4) geographic information for the
  10 patents. (See, e.g., Ex. 223 at p. 11.) The ETSI form available at the time I prepared
  11 my opening expert reports also requests the declarant to point out the “illustrative
  12 specific part of the standard” that is related to the declared patents. (Id.) Earlier
  13 versions of the ETSI form did not include this request. An example of a completed
  14 ETSI declaration from TCL is shown below.
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  26 (Ex. 12 at p. 1.)
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  17 (Ex. 12 at p. 2)
  18         84.   As shown by this example, multiple patents and/or patent applications
  19 can be listed on a single form. Patents (or patent applications) can be (and often are)
  20 declared more than once in different forms. This can happen if, for example, ETSI
  21 publishes a new standard specification and the declarant determines that its patent is
  22 relevant to the new specification.
  23         85.   The declaration process is self-policing. That is, ETSI does not
  24 scrutinize declarations to ensure that the declared patents are actually essential to
  25 any standards. Furthermore, ETSI’s IPR Policy requires that any patents that “may
  26 be or may become ESSENTIAL” should be declared. (See Ex. 223 at p. 2 (§
  27 6.4.) Thus, declarations do not conclusively show that the patents are in fact
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   1 standard-essential, at least because declarations are self-initiated and not reviewed
   2 by the SSO.
   3         D.      3GPP Working Group Structure and Practices
   4         86.     The nature and practices of 3GPP’s Working Groups show that most
   5 standardized features are incremental and modular. First, based on both my long
   6 career in the technology sector and my experience with thousands of 2G, 3G, and
   7 4G SEPs that I personally analyzed, I can say with confidence that most 2G, 3G, and
   8 4G SEPs (with only an exception of a handful of fundamental patents that radically
   9 changed the technological landscape) address incremental solutions in a narrow
  10 aspect of a given technology. Furthermore, these solutions (and the corresponding
  11 patents, as the case may be) are typically modular in that they can be replaced with
  12 alternative solutions without materially impacting other parts of the standards or
  13 related systems. The way 3GPP is structured to handle technical proposals reflects
  14 this reality.
  15         87.     As discussed above, 3GPP’s work is structured around the concept of a
  16 Working Group. The Working Group constitutes the fundamental unit of a broader
  17 hierarchical structure, as explained in the 3GPP Working Procedures document.
  18 (See Ex. 1458 at pp. 8–28.) As such, most if not all aspects of technology that have
  19 to be developed for cellular standards are allocated to the appropriate Working
  20 Group for deliberation and decision typically with respect to one or two specific
  21 standard sections. That is not to say technologies never affect multiple standards or
  22 sections within a standard, and sometimes a coordination effort is needed across
  23 different Working Groups. However, for the most part, the problems, issues, and
  24 related solutions are largely self-contained, and submissions are made to specific
  25 Working Groups to address these technical issues. These submissions are
  26 deliberated within the Working Group, and decisions are made within the Working
  27 Group based on the deliberations, as described above.
  28         88.     In the relatively few occasions where a particular solution proposed for

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   1 one standard section or topic impact other standard sections or topics that are under
   2 the purview of another Working Group, the members of the other Working Group
   3 are notified, and a joint decision is made, usually requiring coordination and
   4 possibly only very minor modifications to other sections of the standard. In sum,
   5 while it is possible that any one solution to any one topic/standard section may
   6 affect another topic/standard, it is far more common that it does not, and even in
   7 relatively rare cases where it does, the solution’s impact can be easily addressed
   8 with minimal modifications to other parts of the standard.
   9        89.    The meeting minutes of various 3GPP Working Group meetings
  10 illustrate these principles. Specifically, a typical Working Group meeting considers
  11 numerous written contributions or proposals (e.g., “TDocs” and “Change Requests”)
  12 submitted by companies. The Working Group usually proceeds by separately
  13 discussing one technical topic and often multiple sub-topics for a particular standard
  14 or sometimes standards. For each technical topic, the Working Group considers a
  15 group of related TDocs addressing the topic. After deliberation and hopefully
  16 resolution with respect to a particular technical topic, the Working Group then
  17 moves on to the next topic and discusses another group of TDocs related to that
  18 topic. The Working Group thus proceeds until all the individual topics are covered.
  19 It would be a rare case indeed for the Working Group to consider and discuss all of
  20 the different groups of TDocs and related topics all at the same time.
  21        90.    Accordingly, the way 3GPP Working Groups handle technical
  22 proposals demonstrates that most contributions (and related patents, if any) address
  23 incremental solutions directed to narrow aspects of a given technology.
  24        91.    A particular example illustrating this concept is the minutes of 3GPP
  25 TSG RAN1 Meeting #63. (Ex. 1411.) The meeting minutes are organized into
  26 sections and subsections, each covering a specific aspect of the technology (in
  27 addition to some administration-related sections). Thus, for example, § 6.2 covers
  28 issues related to Carrier Aggregation and consists of several subsections.

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   1 Subsection 6.2.1 covers issues related to the PUCCH (Physical Uplink Control
   2 CHannel). Specifically, § 6.2.1 is further broken down to a number of subsections.
   3 Subsection 6.2.1.1 relates to “Remaining details for A/N” and covers 36 TDocs that
   4 were presented, discussed, and acted upon accordingly, as well as 18 TDocs that
   5 were “Not formally treated in plenary session.” (Ex. 1411 at pp. 14-20.) Each of
   6 these TDocs addresses a very specific aspect of the standard.
   7         92.   In a similar manner, § 6.2.1.2 relates to “Periodic PMI/CQI/RI” and
   8 covers 11 TDocs that were presented, discussed, and acted upon accordingly, as
   9 well as eight more TDocs that were not. (Ex. 1411 at pp. 20–24.) Each of these
  10 TDocs is relevant to a specific, narrow issue related to periodic reporting of the
  11 Precoding Matrix Indicator (PMI), the Channel Quality Indicator (CQI), and/or the
  12 Rank Indicator (RI). (Id. at 20–24.) The meeting minutes reflect no consideration
  13 or analysis of all of these TDocs combined as one unit. Rather, as shown by the
  14 minutes, each of the TDocs was considered individually in turn.
  15         93.   Subsection 6.2.1.3 is titled “Other” and consists of one TDoc that was
  16 analyzed and 11 that were “[n]ot formally reviewed during the plenary session.”
  17 (Ex. 1411 at pp. 24–25.) But “[c]ompanies [were] encouraged to check the
  18 proposals . . . and aim for a single converged proposal.” (Id. at 24.) Section 6.2.2,
  19 covers the topic of “UL [Uplink] Power Control,” as well as 24 TDocs that were
  20 acted upon and 16 TDocs that were not considered. Similarly, § 6.2.3 covers the
  21 topic of “UCI [Uplink Control Information] on PUSCH [Physical Uplink Shared
  22 CHannel],” as well as 24 TDocs that were acted upon and 19 that were “[n]ot
  23 treated.” (Id. at 32–40.) Finally, § 6.2.4 is titled “Other,” and covers six TDocs that
  24 were “[n]ot treated.” (Id. at 40.)
  25         94.   The above example demonstrates how 3GPP Working Groups do not
  26 consider or analyze TDocs directed to different topics as a single group. By
  27 extension, patents covering these topics should likewise not be analyzed as a single
  28 group. For at least this reason, to the extent a solution can have an impact on

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   1 another part of the standard (whether within the same or in another Technical
   2 Specification), the correct way to analyze the impact on the other part of the
   3 standard is to analyze the specific solution and the associated patent, if one exists, at
   4 the time the standard was being implemented. To lump together numerous proposed
   5 solutions or patents and simultaneously consider the potential impact of including
   6 the same in the standard is unnecessary and unworkable from an engineering
   7 standpoint, and would indeed be atypical within 3GPP.
   8 V.     ANALYSIS OF ERICSSON’S 2G, 3G and 4G SEP PORTFOLIO
   9        A.     Objective and Process of the Patent-By-Patent Analysis
  10        95.    I performed an in-depth technical analysis of the patents Ericsson
  11 alleges are essential to the 2G, 3G and 4G standards. My understanding is that as of
  12 November 12, 2015, and as part of this litigation, Ericsson had identified 235 patent
  13 families that it contends are essential to the 2G, 3G, and/or 4G standards, and had
  14 designated these patent families as being relevant to UE (i.e., User Equipment such
  15 as cell phones or smart phones) or UE/NB (i.e., User Equipment and network
  16 equipment). (See Ericsson’s Objections and Fourth Supplemental Responses to
  17 TCL’s Interrogatory Nos. 5 and 6, Revised Annex A.) My analysis focused on
  18 determining the technical value of these 235 patent families. An overarching goal of
  19 the SEP Analysis is to evaluate, for each charted claim, the intrinsic technical value
  20 of the patented technology in the standard, apart from the value associated with the
  21 technology being incorporated into the standard.
  22        96.    The 235 relevant patent families fall into two categories. The first
  23 category includes those patent families for which Ericsson provided TCL with claim
  24 charts purportedly demonstrating Ericsson’s contention for how the patent families
  25 cover the standard(s). My understanding is that Ericsson produced claim charts for
  26 only 192 of the 235 patent families, which I shall refer to as “the 192 charted patent
  27 families.” For those 192 charted patent families, an in-depth technical analysis was
  28 conducted to determine the Essentiality, Importance, and Contribution (“the SEP

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   1 Analysis”) of the patents, which are three separate metrics of technical value. I
   2 personally performed this analysis for 180 of the 192 charted patent families
   3 directed to the air interface, location services, and security, while Dr. Jayant, who is
   4 a renowned expert in speech coding, analyzed the remaining 12 charted patent
   5 families directed to speech coding. Although Dr. Jayant is submitting his own
   6 separate Witness Declaration discussing his analysis of those 12 patent families, my
   7 overall assessment of Ericsson’s alleged SEP portfolio includes the results of Dr.
   8 Jayant’s SEP Analysis.
   9         97.   Of the 192 charted families, Ericsson alleged that 167 are directed to a
  10 single standard generation: 26 are directed to the 2G standard, 30 are directed to the
  11 3G standard, and 111 are directed to the 4G standard. For the remaining 25 patent
  12 families, nine are directed to both the 2G and 3G standards, 10 are directed to both
  13 the 3G and 4G standards, four are directed to both the 2G and 4G standards, and two
  14 are directed to all three standards. Figure 12 below illustrates the distribution of the
  15 192 charted families across the 2G, 3G, and 4G standards.
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  18                                 FIGURE 12 (PDX 66)
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  20         98.   As I discussed above in Section V.A, because Ericsson asserted that a
  21 number of its patent families are essential to multiple standards, the 192 charted
  22 patent families for which the SEP Analysis was conducted resulted in a total of 219
  23 family/standard pairs. Each family/standard pair may contain multiple charted
  24 claims, and I conducted the SEP Analysis with respect to each one of the charted
  25 claims from each family/standard pair. For example, Ericsson identified the patent
  26 family P08333 as being essential to both the 3G and 4G standards. (I note that
  27 Ericsson assigns a unique code to each of its patent families, in this instance using
  28 the code P08333.) In other words, patent family P08333 consisted of two

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   1 family/standard pairs, P08333_3G and P08333_4G. Ericsson further produced seven
   2 claim charts for the P08333 patent family listed in Table 3 below.
   3
   4    No. Standard    Patent      Claims                    Starting Bates No.
         1     3G     IN 213,467       1                     ERIC_TCL00191429
   5     2     3G    U.S. 5,991,330    1                     ERIC_TCL00191436
   6     3     3G    U.S. 5,991,330  1, 6                    ERIC_TCL00105852
         4     3G    U.S. 5,991,330    1                     ERIC_TCL00191440
   7
         5     4G     EP 992,122       1                     ERIC_TCL00191426
   8     6     4G    U.S. 5,991,330    6                     ERIC_TCL00105088
   9     7     4G    U.S. 5,991,330    6                     ERIC_TCL00191431

  10
                                       TABLE 3 (PDX 67)
  11
  12         99.   When a claim is charted in only one claim chart, as is the case with
  13 claim 1 of Indian Patent No. 213,467 and claim 1 of European Patent No. 992,122, I
  14 analyzed Ericsson’s contentions provided in the claim chart. However, when the
  15 same claim is charted in multiple claim charts, as is the case with claims 1 and 6 of
  16 U.S. Patent No. 5,991,330, I analyzed Ericsson’s contentions in one of the multiple
  17 claim charts after verifying that Ericsson’s contentions in those claim charts are
  18 identical or substantively similar. If the claim charts are not identical or
  19 substantively similar, I attempted to select the claim chart with the most complete
  20 citations to standards, as well as the most complete set of Ericsson’s comments.
  21         100. In some cases, a family/standard pair contains multiple charted claims
  22 from one patent or from multiple patents. Therefore, a family/standard pair may
  23 have multiple sets of Essentiality/Importance/Contribution, or “EIC,” ranks. In such
  24 cases, taking a conservative approach, the overall rank for the family/standard pair is
  25 chosen as the “best” ranked patent claim among the set. I identified the “best”
  26 ranked patent claim by selecting the patent claim with the best Essentiality Rank
  27 first. For example, if a patent family has two charted claims, one with an
  28 Essentiality Rank of 1 and the other with an Essentiality Rank of 3, I chose the

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   1 charted claim with the Essentiality Rank of 1 as the best ranked patent claim, and
   2 would assign the EIC ranks of that charted claim as the overall rank for the
   3 family/standard pair. If two or more charted claims have the same Essentiality
   4 Rank, I would select the charted claim with the best Contribution Rank. If both
   5 Essentiality and Contribution Ranks for two or more charted claims are the same,
   6 then the charted claim with the best Importance Rank is selected.
   7         101. The Appendices accompanying this Witness Declaration contain my
   8 analysis with respect to each of the 199 family/standard pairs of the 180 charted
   9 patent families for which I performed the SEP Analysis. The analysis set forth in
  10 the Appendices is incorporated herein by reference. The analysis performed by Dr.
  11 Jayant with respect to the 20 family/standard pairs of the 12 charted patent families
  12 directed to speech coding accompanies his Witness Declaration.
  13         102. The SEP Analysis we performed is the most comprehensive analysis
  14 that I am aware of for a portfolio of the size of Ericsson’s. Thus, in addition to Dr.
  15 Jayant, a number of other experts helped me during various steps of the SEP
  16 Analysis. These experts (names and affiliations listed in Table 4 below) are
  17 professors from major U.S. universities and are prominent experts in their respective
  18 wireless communication fields. (See Ex. 1460, Ex. 1461, Ex. 1462, Ex. 1463, Ex.
  19 1464, Ex. 1465, Ex. 1466, Ex. 1467, Ex. 1468, Ex. 1579.)
  20
             EXPERT                             AFFILIATION
  21     Zhi Ding, Ph. D. Department of Electrical and Computer Engineering,
  22                      University of California at Davis
  23     Matthew Valenti, Department of Computer Science & Electrical Engineering,
         Ph. D.           West Virginia University
  24     Gordon Stuber,   School of Electrical and Computer Engineering, Georgia
  25     Ph. D.           Institute of Technology
  26     Shuguang Cui,    Department of Electrical and Computer Engineering, Texas
         Ph. D.           A&M University
  27
         Alexander Vardy, Department of Electrical and Computer Engineering,
  28     Ph. D.           University of California, San Diego
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   1     Babak Hassibi,      Department of Electrical Engineering, California Institute
   2     Ph. D.              of Technology
         Michael Buhrer,     Department of Electrical and Computer Engineering,
   3     Ph. D.              Virginia Polytechnique Institute and State University
   4     Young-Han Kim,      Department of Electrical and Computer Engineering,
   5     Ph. D.              University of California, San Diego
         Liuquing Yang,      Department of Electrical & Computer Engineering,
   6
         Ph. D.              Colorado State University
   7     Faramarz Fekri,     School of Electrical and Computer Engineering, Georgia
   8     Ph. D.              Institute of Technology
   9                                   TABLE 4 (PDX 68)
  10
  11         103. These experts spent significant time performing an initial Essentiality,
  12 Importance, and Contribution analysis of their assigned families. I used this
  13 analysis as a starting point for my own independent analysis and conclusions as set
  14 forth in the Appendices. These experts provided a second set of eyes, and in the
  15 process provided valuable input that substantially increased the overall reliability of
  16 my analysis and conclusions.
  17               1.     Essentiality Analysis
  18         104. The purpose of the “Essentiality” metric is to assess Ericsson’s
  19 contentions and any related evidence regarding whether Ericsson’s patents that are
  20 essential to the 2G, 3G, and/or 4G standard.
  21         105. ETSI’s IPR Policy defines essential as follows.
  22               “ESSENTIAL” as applied to IPR means that it is not
  23               possible on technical (but not commercial) grounds,
  24               taking into account normal technical practice and the
  25               state of the art generally available at the time of
  26               standardization, to make, sell, lease, otherwise dispose
  27               of, repair, use or operate EQUIPMENT or METHODS
  28               which comply with a STANDARD without infringing

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   1                that IPR. For the avoidance of doubt in exceptional cases
   2                where a STANDARD can only be implemented by
   3                technical solutions, all of which are infringements of
   4                IPRs, all such IPRs shall be considered ESSENTIAL.
   5 (Ex. 223 at p. 7.)
   6         106. Consistent with this definition, I was informed by counsel that the
   7 Essentiality analysis is related to patent infringement in the sense that a claim is
   8 essential to a standard if a product or process compliant with the standard
   9 necessarily infringes the claim. Conversely, a claim is not essential to a standard if
  10 a product or process can comply with the standard without infringing the claim.
  11         107. Moreover, counsel informed me of various legal principles relevant to
  12 determining infringement. I have applied these legal principles in arriving at my
  13 conclusions. I understand that a determination of patent infringement based on
  14 standards generally involves two steps. First, a claim is construed. Then, the
  15 construed claim is compared to the relevant standard or standards to determine
  16 whether every claim limitation is required by the standard(s) such that any standard-
  17 compliant device or process necessarily infringes the claim. I have applied these
  18 same steps in the Essentiality analysis.
  19         108. Further, I understand there is a concept in patent law known as the
  20 “person of ordinary skill in the art.” I understand that this concept refers to a person
  21 who is trained in the relevant technical field of a patent without possessing
  22 extraordinary or otherwise exceptional skill. I further understand that factors such
  23 as the education level of those working in the field, the sophistication of the
  24 technology, the types of problems encountered in the art, prior art solutions to those
  25 problems, and the speed at which innovations are made may help establish the level
  26 of skill in the art.
  27         109. Taking into account these factors, it is my opinion that a person of
  28 ordinary skill in the relevant art for the purposes of analyzing the essentiality of

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   1 Ericsson’s 2G, 3G, and 4G SEP portfolio would have a bachelor’s degree in
   2 electrical engineering or computer science or a related field, with one or two years
   3 of relevant industry experience, or a master’s degree in electrical engineering or
   4 computer science or a related field. In addition, a person of ordinary skill in the art
   5 would have had a working understanding of cellular transmission protocols. As
   6 reflected in my qualifications above, I am more than qualified as a person of
   7 ordinary skill in the art as of the relevant dates of the patents at issue in the SEP
   8 Analysis.
   9         110. It is my understanding that claim terms or phrases are given their plain
  10 and ordinary meaning as would have been understood by a person of ordinary skill
  11 in the art at the time of the invention when read in the context of the specification
  12 and prosecution history. I also understand that there are two exceptions to this
  13 general rule. One exception is when a patentee sets out a definition and acts as his
  14 own lexicographer. The other is when the patentee disavows the full scope of a
  15 claim term either in the specification or during prosecution. I applied these
  16 principles when construing claim terms or phrases in connection with the
  17 Essentiality analysis.
  18         111. I have also been informed by counsel that to prove infringement of a
  19 patent by an accused device or process, a patent owner must establish that each and
  20 every claim limitation of the patent is implemented by the accused device or
  21 process. Likewise, I have also been informed that infringement is not established if
  22 even a single claim limitation is not implemented by the accused device or process.
  23 With respect to divided infringement, I have been informed that there is no
  24 infringement unless a single actor implements each and every claim limitation or
  25 performs some of the limitations and directs or controls another to implement the
  26 remaining limitations.
  27         112. In accordance with the ETSI definition and the various legal principles
  28 discussed above, for each limitation, or set of limitations, of a charted claim, I

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   1 analyzed whether the limitation is, or whether the limitations are, “required” by the
   2 standard. In other words, whether implementing a technology solution in the
   3 standard necessarily infringes or reads on the limitation or set of limitations.
   4        113. In determining an “Essentiality” metric, I ranked the Essentiality of a
   5 charted claim a “1” if I did not see any evidence precluding a finding that the claim
   6 is “essential” under ETSI’s IPR Policy. I ranked the Essentiality of a charted claim
   7 a “2” if, under a proper claim construction, I found that the claim is not “essential”
   8 under ETSI’s IPR Policy. Finally, I ranked the Essentiality of a charted claim a “3”
   9 if I found that the claim is not “essential” under ETSI’s IPR Policy under any
  10 reasonable claim construction.
  11               2.      Importance Analysis
  12        114. The second metric that I evaluated in connection with the SEP Analysis
  13 is the “Importance” (or technical value) of the claim with respect to the standard.
  14 The purpose of the Importance analysis is to determine the overall importance or
  15 technical value of an “accused technology” and a “key accused feature” (as defined
  16 below) to the relevant 2G, 3G, or 4G standard, and to provide an Importance Rank
  17 based on the same.
  18        115. The Importance Rank is on a scale of one (“1”) to three (“3”), where a
  19 rank of 1 means that the accused technology/key accused feature is important (or
  20 technically valuable) to the standard; a rank of 2 means that the accused
  21 technology/key accused feature is moderately important (or of moderate technical
  22 value) to the standard; and a rank of 3 means that the accused technology/key
  23 accused feature is at best only marginally important (or of marginal technical value)
  24 to the standard.
  25        116. The Importance analysis begins with identifying an accused
  26 technology, i.e., the technology to which the standards cited in the claim chart are
  27 generally directed.
  28        117. The next step is to identify one or more key limitations of the patent

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   1 claim at issue. Key claim limitations are determined by considering what the patent
   2 described in the patent specification as the heart of the invention. The key claim
   3 limitations are also circumscribed by the arguments and amendments the Applicant
   4 used to overcome prior art, and/or the reasons identified by the patent office (e.g., in
   5 a notice of allowance) as the patentable subject matter.
   6         118. Once the key claim limitation is identified, the next step is identifying a
   7 key accused feature in the standard that corresponds to the key claim limitation. As
   8 used herein, the key accused feature (or simply, key feature) is the technical feature
   9 in the cited standard (or a subset thereof) that is mapped to the key claim limitation
  10 in Ericsson’s claim chart.
  11         119. Once the accused technology/key accused feature was identified, I
  12 assessed its overall value to the standard. In connection with this assessment, I
  13 considered the technical solution that was in the standard prior to the adoption of the
  14 accused key feature, if that information was available to me. If such a prior
  15 technical solution in the standard was identified, I assessed the incremental
  16 improvement (or technical value) of the key accused feature over the prior technical
  17 solution. On other hand, if no such prior technical solution existed or was available
  18 to me, I assessed the incremental improvement of the key accused feature over other
  19 well-known prior art. Examples of well-known prior art include technology
  20 identified in the background section of the patent at issue, or prior related standards.
  21 If I did not identify any well-known prior art, I assessed the Importance of the key
  22 accused feature by considering the impact of removing the key accused feature from
  23 the standard, in terms of performance degradation and implementation cost.
  24         120. Where appropriate, I also considered a number of other factors in the
  25 overall Importance assessment, including: (1) the importance of the underlying
  26 accused technology to the standard; (2) whether the accused technology is optional
  27 to the standard; and (3) how widely the accused technology/key accused feature is
  28 deployed in major markets.

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   1                3.     Contribution Analysis
   2         121. The third metric that I evaluated in connection with the SEP Analysis is
   3 the “Contribution” to the standard. The purpose of the Contribution analysis is to
   4 determine a level of improvement, if any, of the key feature to the relevant 2G, 3G,
   5 or 4G standard relative to viable alternatives that were available at the time the key
   6 accused feature was adopted into the standard. The Contribution analysis entails
   7 providing a Contribution Rank on a scale of one (“1”) to four (“4”), where a rank of
   8 1 means that no viable alternatives to the key accused feature were identified; a rank
   9 of 2 means that the key accused feature provided a moderate improvement to the
  10 standard relative to the alternative; a rank of 3 means that the key accused feature
  11 provided a marginal improvement to the standard relative to the alternative; and a
  12 rank of 4 means that the key accused feature provided no improvement to the
  13 standard relative to the alternative.
  14         122. To begin the Contribution analysis of a patent, I identified any viable
  15 alternatives to the key feature of the patent. The sources of alternatives that I
  16 considered include: (1) written contributions submitted to ETSI or a 3GPP working
  17 group (e.g., TDocs and Change Requests (CRs)); (2) prior art technical solutions
  18 identified in the patent at issue (e.g., Applicant-admitted prior art); (3) prior art
  19 references cited during patent prosecution; (4) any technical solutions that were
  20 known in the art as evidenced by patent and non-patent literature; and (5) any other
  21 technical solutions that would have been known to a person of ordinary skill in the
  22 art and that could have served as alternatives to the key accused feature.
  23         123. In the majority of cases, the alternatives were “non-infringing
  24 alternatives,” meaning that the alternative technical solutions do not read on the
  25 charted claim at issue. For such non-infringing alternatives, I also determined
  26 whether the alternative was “available,” such that the alternative could have been
  27 considered for inclusion in the standard. In this regard, none of Ericsson’s patents,
  28 technical proposals (e.g., Tdocs, change requests, etc.), or publications (e.g., books,

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   1 articles, papers, etc.) formed a basis for any of the non-infringing alternatives I
   2 proposed.
   3         124. In some cases, however, the alternatives were the same or effectively
   4 identical technical solutions as the key accused feature, and, in some cases, likely
   5 read on the claim at issue. In these cases, I determined whether such “prior art”
   6 alternative was known before the earliest effective priority date of Ericsson’s patent
   7 at issue. If so, I gave the key accused feature a Contribution Rank of a “4,” because
   8 the key accused feature was already known in the art. As such, even if the key
   9 accused feature represented a marginal, moderate, or significant improvement to the
  10 standard, any value associated with that improvement value is attributable to the
  11 prior art, not Ericsson’s patent.
  12         B.    Essentiality Analysis of Ericsson’s Alleged SEPs
  13         125. Other than those patent families reviewed by Dr. Jayant, I reviewed
  14 each and every patent family that Ericsson alleges is essential to the 2G, 3G, and/or
  15 4G standard to determine if the patent family was actually essential to the standard.
  16 As stated above, this included reviewing 199 family/standard pairs corresponding to
  17 180 charted patent families. In this section, I provide a number of examples of my
  18 Essentiality analysis to help illustrate how the Essentiality metric was determined. I
  19 then provide a summary of the results of the analysis. The Essentiality analysis for
  20 the remaining family/standard pairs is contained in the Appendices attached hereto
  21 as Exhibit 1639.
  22               1.     Patent Family P10628 Is Not Essential to 2G.
  23         126. Ericsson alleges that the P10628 patent family is essential to the 2G
  24 standard. In its claim charts, Ericsson attempts to map the limitations of Claim 1 of
  25 U.S. Patent No. 6,597,911 (“the ’911 Patent”) to the 2G standard. (See, e.g., Ex.
  26 1358.) The ’911 Patent is titled “System, Method, and Apparatus for Cell Searching
  27 in a Next Generation Overlay of a Preexisting Network,” was filed May 28, 1999,
  28 and was issued July 22, 2003. (Ex. 1605.)

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   1                      a.     Tutorial on Inter-RAT Handover
   2         127. The P10628 Family relates to “handover” or “hand-off” of UEs
   3 between different communication networks, such as between a 2G network and a
   4 3G network. (See generally Ex. 1639 at p. 264.) This is generally referred to as
   5 Inter-Radio Access Technologies, or “Inter-RAT,” handover. As explained in the
   6 ’911 Patent, a network comprises cells, each “associated with a base station [] which
   7 provides telephone service to mobile stations [] using traffic channels.” (Ex. 1605 at
   8 p. 6, 1:14–27.) “Each cell [] is also associated with a control channel.” (Id. at 6,
   9 1:27–28.)
  10         128. When a UE is “engaged in a call,” or in use, “not only must the [UE’s]
  11 presence within the coverage area of the new cell [] be detected, confirmed and
  12 registered, but also the communications link with the [UE] carrying the telephone
  13 call must be switched from one base [] station in the prior cell [] to another base
  14 station [] in the new cell [] as the [UE] moves and responsibility for the link is
  15 transferred to that new call[.]” (Ex. 1605 at p. 6,1:37–46.) This process is referred
  16 to as “handover” or “hand-off.” (Id. at 6, 1:47–48.)
  17         129. Under the 2G standard, the moving UE “make[s] signal strength
  18 measurements within the current cell [], as well as with respect to neighboring
  19 cells[]. The channels measured by the [UE] are identified in a list provided to the
  20 [UE] by the cellular network []. The listed channels include handover measurement
  21 channels (usually the control channel) for cells []which are potential targets for a
  22 handover. The measurements are reported back to the serving base station[]. At the
  23 same time, the serving base station [] measures signal strength of received [UE]
  24 transmissions. These [UE] and base station [] measurements are processed by a
  25 base station controller (BSC) [] to determine whether a handover is needed, and also
  26 to identify to which cell such handover should be made.” (Ex. 1605 at p. 6, 1:53–
  27 67.)
  28         130. As explained in the ’911 Patent, “[t]ransition from a preexisting cellular

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   1 network [] to a next generation network is often performed in an overlay fashion.”
   2 (Ex. 1605 at p. 6, 2:22–24.) That is, “the next generation network is gradually
   3 deployed alongside the preexisting cellular network.” (Id. at 6, 2:24–25.) To
   4 promote acceptance of the new network, “network operators often market[ed] dual-
   5 mode [UEs]” capable of utilizing both networks. (Id. at 6, 2:38–42.)
   6         131. The following modified figure from the ’911 Patent illustrates a dual-
   7 mode UE capable of working with two different networks. The figure has been
   8 modified to identify the “preexisting cellular network” as a 2G network and the
   9 “next generation network” as a 3G network.
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                                            FIGURE 13
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  20         132. As explained in the ’911 Patent, “[a]s a subscriber having a [UE]
  21 moves from outside the service area of the next generation service area to within the
  22 service area, it is desirable for the [UE] to deregister with the preexisting cellular
  23 network [] and register with the next generation network, notwithstanding the fact
  24 that the [UE] is also within the service area [] of the preexisting cellular network[.]”
  25 (Ex. 1605 at p. 6 2:49–56.) “[W]hen the subscriber is engaged in a call, a handover
  26 operation must be performed with a cell of the next generation network. Present
  27 networks, however, do not provide for inclusion of handover measurement channels
  28 for cells in different generation networks.” (Id. at 6, 2:59–64.)

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   1                    b.    Ericsson’s Inter-RAT Handover Scheme
   2        133. The P10628 Family is directed to an inter-RAT handover between first
   3 and second service areas (e.g., handover from 2G to 3G). Charted Claim 1 of the
   4 ’911 Patent is reproduced below.
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  22        134. Ericsson’s inter-RAT handover scheme is illustrated in Figure 14
  23 below.
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  10                                      FIGURE 14
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  12        135. Claim 1 requires the UE to receive a cell neighbor list from the 2G base
  13 station “upon entering” the 3G network service area. (See Figure 15, below.) The
  14 list identifies a new 3G base station for the UE to connect to.
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                                          FIGURE 15
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  27        136. According to Claim 1, after receiving the list, the UE can now identify
  28 the 3G base station and conduct 3G signal strength measurements to send to the base

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   1 station controller (BSC) so that a handover decision may be made, as illustrated in
   2 Figure 16 below.
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  12                                        FIGURE 16
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  14                      c.     The 2G Standard Does Not Require Ericsson’s Inter-RAT
  15                             Handover Scheme.
  16         137. Based on the patent specification, the file history and the technical
  17 specifications cited by Ericsson, the Essentiality Rank of Claim 1 is “3,” because
  18 practicing the 2G standard with the UE does not require at least the following
  19 limitation of Claim 1 under any reasonable interpretation: “receiving a cell neighbor
  20 list from said particular one of said first plurality of base stations serving said
  21 mobile station at said mobile station upon entering said second service location
  22 area.” This claim limitation formed the basis for the Notice of Allowance during
  23 prosecution.
  24         138. In particular, Ericsson’s argument to the patent office relied heavily on
  25 the alleged lack of disclosure in the prior art that the handover process “begins when
  26 the mobile station enters the service location area of one of the networks,” as shown
  27 in the following excerpts from applicants’ August 2, 2002 Office Action Response.
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  22 (Ex. 1329 at pp. 61–62.)
  23       139. Ericsson’s claim chart appears to suggest that the MEASUREMENT
  24 INFORMATION message meets this limitation. (Ex. 1358 at p. 1.) The claim chart
  25 does not point to any specific portion of the standard that requires this message to be
  26 sent “upon entering the second service location area.”
  27       140. In fact, the MEASUREMENT INFORMATION message is sent by the
  28 “preexisting cellular network” whenever the preexisting (e.g., 2G) cellular network

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   1 determines to send this information. Specifically, there is no requirement in the 2G
   2 standard that the message be sent “upon entering the second service location area.”
   3 In other words, the cited portion of the standard specifies a handover that operates
   4 the same way as in the prior art Ericsson distinguished during prosecution. (See,
   5 e.g., Section V.A.I above (discussing disavowal).)
   6        141. Thus, I found that the P10628 Family is not essential to practicing the
   7 2G standard.
   8                2.   Patent Family P08430 Is Not Essential to 3G.
   9        142. Ericsson alleges that the P08430 patent family is essential to the 3G
  10 standard. In its claim charts, Ericsson attempts to map the limitations of Claim 8 of
  11 U.S. Patent No. 6,185,244 (“the ’244 Patent”) to the 3G standard. (See, e.g., Ex.
  12 422.) The ’244 Patent is titled “Cell Searching in a CDMA Communications
  13 System,” was filed August 5, 1998, and was issued February 6, 2001. (Ex. 1369.)
  14                     a.     Tutorial on Cell Searching
  15        143. The P08430 Family is directed to cell synchronization (i.e.,
  16 synchronization between a UE and a base station in a cellular network). This is also
  17 known as “cell search.” (See generally Ex. 1639 at p. 171.)
  18        144. “Before any radio frequency communications or information transfer
  19 between a base station and a mobile station of the spread spectrum communications
  20 can occur, the mobile station must find and synchronize itself to the timing reference
  21 of that base station. This process is commonly referred to as ‘cell searching.’” (Ex.
  22 1369 at p. 11, 2:31–35.)
  23                     b.     Ericsson’s Cell Searching Scheme
  24        145. Claim 8 of the ’244 Patent recites a specific cell searching method
  25 (shown below).
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  14         146. As illustrated in Figure 6 of the ’244 Patent (below), in the claimed
  15 method, a UE receives a “plurality of consecutive symbols comprising [an]
  16 identifying code” and determines whether the identified code is a valid code word.
  17 If the identified code is invalid, the received symbols are cyclically shifted by a
  18 predetermined amount and determining whether the cyclically-shifted symbols
  19 comprise a valid code word. If the code word is valid, the number of how many
  20 cyclical shifts were required is outputted along with a message associated with the
  21 valid code word.
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  12                     c.     The 3G Standard Does Not Require Ericsson’s Cell
  13                            Searching Scheme.
  14        147. Based on the patent specification, the file history, and the technical
  15 specifications cited by Ericsson, Claim 8 of the ’244 Patent is not essential to the 3G
  16 standard. As shown below, the only portion of the standard pointed to in Ericsson’s
  17 claim chart does not require any of the limitations of Claim 8. For example, the
  18 cited portion of Annex C below does not require the claimed steps including “…
  19 cyclically shifting said received plurality of consecutive symbols by a predetermined
  20 amount ….”
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  24 (Ex. 422 at p. 2.)
  25       148. As shown below, Ericsson attempts to explain how the cited portion of
  26 the standard maps to Claim 8—but Ericsson’s “explanation” fails to bridge the gap
  27 between the claimed steps and the above-identified statement in Annex C.
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   4   (Ex. 422 at p. 2.)
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   6         149. Ericsson’s claim chart provides no evidence to support the conclusory
   7 comments that the “UE would need to perform these steps in order to establish
   8 communication with the network” and the “UE needs to cyclically shift the result of
   9 consecutive secondary SCH correlations in order to find a valid code-word, and
  10 hence the frame timing.” In addition, the cited Annex C is merely “Informative,”
  11 i.e., not required. Therefore, Annex C cannot support Ericsson’s assertion of
  12 essentiality. As shown below, under the ETSI Drafting Rules, features in
  13 “Informative” sections are by definition not required in order to comply with the 2G,
  14 3G, or 4G standards.
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       (Ex. 404 at p. 12.)
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  24                3.       Patent Family P21428 Is Not Essential to 4G.
  25         150. Ericsson alleges that the P21428 patent family is essential to the 4G
  26 standard. In its claim charts, Ericsson attempts to map the limitations of Claim 1 of
  27 U.S. Patent No. 8,285,294 (“the ’294 Patent”) to the 4G standard. (See, e.g., Ex.
  28 363.) The ’294 Patent is titled “Technique for Performing a Random Access

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   1 Procedure Over a Radio Interface,” was filed October 20, 2006, and was issued
   2 October 9, 2012. (Ex. 362.)
   3                      a.    Tutorial on Random Access Procedure
   4         151. The P21428 Family is directed to a random access procedure. (See
   5 generally Ex. 1639 at p. 634.) As explained in the ’294 Patent, a “mobile terminal
   6 has to perform a random access procedure in order to get access over the radio
   7 interface to the wireless network.” (Ex. 362 at p. 10, 2:13–15.) During the random
   8 access procedure, the UE sends synchronization information to the base station
   9 within a Random Access Channel (RACH). (Id. at 10, 2:25–38, 60–65.)
  10         152. The ’294 Patent identifies that “[t]here is a need for a technique for
  11 performing a random access procedure over a radio interface, which allows to
  12 flexibly provide time and/or frequency resources to the random access procedure.”
  13 (Ex. 362 at p. 11, 3:16–19.) In this regard, the ’294 Patent discloses that “instead of
  14 being prepared to receive access bursts over the entire available bandwidth [i.e., 20
  15 MHz], the bandwidth component 150 may set the access bandwidth to a smaller
  16 value, such that only a fraction of the available transmission bandwidth may be used
  17 for receiving access bursts. For example, the access bandwidth may be set to the
  18 minimum system bandwidth which has to be supported by equipment conforming to
  19 the 3GPP LTE standard, i.e., 1.25 MHz.” (Id. at 13, 8:66–9:8.)
  20                      b.    Ericsson’s Random Access Scheme
  21         153. The ’294 Patent is directed to a method of performing the random
  22 access procedure that allows setting flexible access bandwidths. The method is
  23 recited in Claim 1, shown below.
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  12        154. As recited in Claim 1, an access time slot for transmission of an access
  13 burst is selected, and then a first or second access bandwidth for a transmission
  14 channel is set for transmitting the access burst. The claim requires first and second
  15 access bandwidths that are different from one another in order to provide resources
  16 for random access in a flexible way. (See, e.g., Ex. 362 at p. 15, 12:55–67.) As the
  17 ’294 Patent teaches, the first access bandwidth may be 20 MHz, and the second
  18 access bandwidth may be 1.25 MHz. (Ex. 362 at p. , 8:66–9:8.) This example is
  19 illustrated below in Figure 17.
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                                        FIGURE 17 (PDX 69)
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   1                      c.     The 4G Standard Does Not Require Ericsson’s Random
   2                             Access Scheme.
   3         155. Based on the patent specification, the file history and the technical
   4 specifications cited by Ericsson, the Essentiality Rank of Claim 1 is “3,” because
   5 practicing the 4G standard with a UE does not require at least the following
   6 limitation under any reasonable interpretation: “setting one of a first access
   7 bandwidth or a second access bandwidth.”
   8         156. Ericsson’s claim chart for P21428 points to the TDD-LTE case where
   9 there can be 5 different formats for the random access preamble, specifically
  10 preamble formats 0–4. Ericsson’s claim chart maps the “first access bandwidth” to
  11 formats 0–3 and the “second access bandwidth” to format 4. (Ex. 363 at p. 5.) First,
  12 this mapping fails at least because regardless of which of these formats is selected,
  13 the access bandwidth is the same. (See, e.g., Ex. 371 at p. 43 (“Each random access
  14 preamble occupies a bandwidth corresponding to 6 consecutive resource blocks for
  15 both frame structures.”).) As this clearly shows, in all formats, the access
  16 bandwidth is the same—6 consecutive resource blocks. Because each resource
  17 block is 180 kHz, the access bandwidth is always 6*180 kHz = 1,080 kHz = 1.08
  18 MHz. Even though the guard band is 1,080 kHz – 1,049 kHz = 31 kHz in the first
  19 case, and 1,080 kHz – 1,043 kHz = 37 kHz in the second case, the access bandwidth
  20 is still just 1.08 MHz.
  21         157. Second, Ericsson’s position is that the first access bandwidth, for
  22 formats 0–3, is 1,049 MHz, and that the second access bandwidth, for format 4, is
  23 1,043 MHz (i.e., Ericsson does not count the guard bands in calculating the access
  24 bandwidths). (Ex. 363 at p. 5.) Ericsson’s position is wrong for several reasons.
  25 For example, shown below in Figure 18, the relatively miniscule difference between
  26 the first and second access bandwidths as alleged by Ericsson is clearly not what the
  27 patent teaches. That is, contrary to the patent’s teachings that the first access
  28 bandwidth may be 20 MHz and the second access bandwidth may be 1.25 MHz,

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   1 under Ericsson’s position there is basically no difference between the first and
   2 second access bandwidths.
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  19                                 FIGURE 18 (PDX 70)
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  21        158. In contrast to the method recited in Claim 1, the accused standard
  22 always uses 6 RBs. That is, a bandwidth provided for random access requests is not
  23 flexible—it is always 1,080 kHz irrespective of which of the accused random access
  24 preamble formats is selected. This is further confirmed by the patent’s specification,
  25 which recites “the available bandwidth not used for the RACH is used for the
  26 transmission of other data instead, for example user data and/or control data.” (Ex.
  27 362 at p. 15, 11:42–44.) As discussed above, however, the standard explicitly does
  28 not allow such usage, as it is always 6 RBs that are allocated to the RACH. Thus,

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   1 the claimed invention is not essential to practicing the 4G standard.
   2               4.     Patent Family P33858 Is Not Essential to 4G.
   3         159. Ericsson alleges that the P33858 patent family is essential to the 4G
   4 standard. In its claim charts, Ericsson attempts to map the limitations of Claim 53
   5 of U.S. Patent No. 8,750,808 (“the ’808 Patent”) to the 4G standard. (See, e.g., Ex.
   6 1361.) The ’808 Patent is titled “Configuration of Reference Signal Transmission
   7 Bandwidth,” was filed January 12, 2012, and was issued June 10, 2014. (Ex. 1376.)
   8                      a.    Tutorial on Positioning and Related Reference Signal
   9                            Measurement
  10         160. The P33858 Family is directed to UE positioning and related reference
  11 signal measurements in a wireless network. (See generally Ex. 1639 at p. 1356.)
  12         161. Figure 3 of the ’808 Patent (reproduced below) depicts a particular
  13 wireless network in which the UE (36) measures reference signals transmitted by
  14 cells (e.g., 42-1) that neighbor a serving cell (42-5) of the UE, for example to
  15 determine the UE’s position.
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                                    FIGURE 19 (PDX 71)
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  18        163. As explained in the ’808 Patent, “the UE measures the timing

  19 differences for downlink reference signals received from multiple distinct locations
  20 or neighboring cells.” (Ex. 1376 at p. 10, 3:12–14.) “[T]he UE has to reconfigure
  21 the receiver to enable measurements of cells with a larger bandwidth, which may be
  22 necessary to meet” accuracy requirements. This proves problematic because
  23 configuring a receiver to a larger bandwidth, to meet measurement accuracy
  24 requirements for cells with that larger bandwidth, may degrade measurement quality
  25 in other cells with either a smaller associated measurement bandwidth or with a
  26 smaller cell bandwidth.” (Id. at 12, 8:9–18.)
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   1                     b.    Ericsson’s Reference Signal Measurement Scheme
   2        164. The ’808 Patent aims to “advantageously address degradations to the
   3 quality of reference signal measurements and/or to the quality of serving cell data
   4 reception that would otherwise result from a wireless device measuring different
   5 cells’ reference signals over different bandwidths.” (Ex. 1376 at p. 12, 8:39–43.)
   6 Claim 53 (reproduced below) recites a method of measuring reference signals using
   7 assistance data obtained by the UE.
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  17        165. As illustrated in Figure 7 of the ’808 Patent below, the UE maintains
  18 assistance data indicating a reference-signal bandwidth that the UE is to measure. If
  19 the reference-signal bandwidth indicated by the assistance data (e.g., 10 MHz) is
  20 greater than the serving-cell bandwidth (e.g., 5 MHz), then the UE measures the
  21 reference signals over the serving-cell bandwidth (5 MHz) instead of the reference-
  22 signal bandwidth (10 MHz).
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  12                      c.    The 4G Standard Does Not Require Ericsson’s Reference
  13                            Signal Measurement Scheme.
  14         166. Based on the patent specification, the file history, and the technical
  15 specifications cited by Ericsson, I determined that Claim 53 of the ’808 Patent is not
  16 essential to the 4G standard. Specifically, I found that the 4G standard does not
  17 require at least the limitation “if the reference-signal bandwidth indicated in the
  18 assistance data is larger than a serving-cell bandwidth, actually measure said
  19 reference signals over the serving-cell bandwidth rather than the reference-signal
  20 bandwidth indicated in the assistance data” under any reasonable interpretation of
  21 the claim.
  22         167. With respect to this claim limitation, Ericsson’s claim chart relies on
  23 Table 9.1.10.1-1 of technical specification 36.133 (reproduced below).
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  12 (See Ex. 1371 at p. 133.)
  13       168. However, this Table specifies nothing more than a required accuracy
  14 for the reference signal time difference (“RSTD”) measurement. Specifically,
  15 according to Table 9.1.10.1-1, the RSTD accuracy requirement depends on the
  16 minimum PRS bandwidth among the serving-cell bandwidth, the PRS bandwidth of
  17 the reference cell, and the PRS bandwidth of the neighboring cell.
  18        169. Nevertheless, Table 9.1.10.1-1 does not specify over what bandwidth
  19 the UE must actually measure the reference signals. For example, if the reference
  20 signal bandwidth (e.g., 10 MHz) is larger than the serving-cell bandwidth (e.g., 5
  21 MHz), the Table does not require the UE to actually measure the reference signals
  22 over the serving-cell bandwidth (e.g., 5 MHz), as required by Claim 53. Rather,
  23 Table 9.1.10.1-1 merely specifies that whichever bandwidth is used, the RSTD
  24 accuracy must satisfy the applicable value (e.g., at least 6 if the minimum of the
  25 three bandwidths is the serving-cell bandwidth). In other words, even in the claimed
  26 situation where the serving-cell bandwidth is the minimum bandwidth, the Table
  27 does not show or require that the accuracy requirement can be achieved only by
  28 actually measuring the reference signals over the serving-cell bandwidth (e.g., 5

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   1 MHz), as opposed to over some other bandwidth (e.g., 7 MHz).
   2         170. Thus, I found the claimed invention is not essential to practicing the 3G
   3 standard.
   4                5.    Essentiality Analysis Results
   5         171. Figure 20 below illustrates the breakdown of the Essentiality Ranks for
   6 all family/standard pairs that Ericsson considers essential to the 2G, 3G, and/or 4G
   7 standards, including expired patents. As shown in the figure, of the 219
   8 family/standard pairs directed to the 2G, 3G, and/or 4G standards, only 136 are
   9 essential to the standards.
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                                      FIGURE 20 (PDX 72)
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             172. Figure 21 below illustrates the breakdown of the Essentiality Ranks for
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       all family/standard pairs that Ericsson considers essential to the 2G standard,
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       including expired patents.5 As shown in the figure, of the 41 family/standard pairs
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       As used in connection with Ericsson’s SEPs, “expired patents” refers to patents
  28 that expired as of February 1, 2016, when my original Expert Report was served.

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   1 directed to the 2G standard, only 29 are essential to the standard.
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  15                                 FIGURE 21 (PDX 73)
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  17        173. Figure 22 below illustrates the breakdown of the Essentiality Ranks for
  18 all family/standard pairs Ericsson considers essential to the 3G standard, including
  19 expired patents. As shown in the figure, of the 51 family/standard pairs directed to
  20 the 3G standard, only 33 are essential to the standard.
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  13                                 FIGURE 22 (PDX 74)
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  15        174. Figure 23 below illustrates the breakdown of the Essentiality Ranks for
  16 all family/standard pairs Ericsson considers essential to the 4G standard, including
  17 expired patents. As shown in the figure, of the 127 family/standard pairs directed to
  18 the 4G standard, only 74 are essential to the standard.
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                                     FIGURE 23 (PDX 75)
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  14         C.    Importance Analysis of Ericsson’s Alleged SEPs
  15         175. For any patent family that I gave an Essentiality Rank of “1” or “2,” I
  16 also analyzed the importance of the accused technology/key accused feature to the
  17 2G, 3G or 4G standard. In this section, I provide several examples of my
  18 Importance analysis to help illustrate how the Importance metric was determined,
  19 and also to provide examples of the rankings. I then provide a summary of the
  20 results of the analysis. Here I provide, by way of example, my analysis for
  21 Ericsson’s P06553_2G, P14596_2G, P14596_3G, P14596_4G, P23893_4G,
  22 P33108_4G, and P38458_3G family/standard pairs. The analysis for the remaining
  23 family/standard pairs is contained in the Appendices attached hereto as Exhibit
  24 1639.
  25               1.    Patent Family P06553 Is at Best Marginally Important to 2G.
  26         176. Ericsson alleges that the P06553 patent family is essential to 2G.
  27 Through its claim chart, Ericsson attempts to map the limitations of Claim 1 of U.S.
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   1 Patent No. 5,987,139 (“the ’139 Patent”) to 3GPP TS 03.20 v.8.0.0 §§ 4.2, C.1.
   2 (See, e.g., Ex. 1415.)
   3                      a.    Ericsson’s Ciphering Scheme
   4         177. The P06553 Family relates to a specific way of encrypting or
   5 “ciphering” information sent between a phone and the network. (See generally Ex.
   6 1321.) Based on the patent specification and the file history, I determined the key
   7 limitation of Claim 1 of the ’139 Patent to be “for each time slot used for
   8 transmission of said information, modifying said first encryption key in dependence
   9 on an ordinal number of the time slot so as to obtain a modified encryption key.”
  10 Ericsson attempts to map this key limitation to the following key accused feature in
  11 the 2G standard: Using time slot number to modify a ciphering key (Kc) to generate
  12 a slot-dependent key (Kcn). This key accused feature corresponds to the following
  13 section of the accused 2G standard.
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       (Ex. 1431 at p. 28.)
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  22         178. The charted US ’139 Patent and the section of the accused 2G GSM
  23 standard both point to the use of this ciphering scheme in what is called High-Speed
  24 Circuit Switched Data (HSCSD).
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  11 (Ex. 1418 at p. 6, 1:36–44.)
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  22 (Ex. 1431 at p. 28.)
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  24        179. None of the ’139 Patent, the accused 2G standard, or Ericsson’s
  25 corresponding claim chart mentions a technology other than HSCSD in connection
  26 with the claimed ciphering scheme.
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   1                     b.     Ericsson’s Ciphering Scheme Is at Best Marginally
   2                            Important to 2G.
   3        180. I assigned an Importance Rank of “3” to Ericsson’s patent family
   4 P06553, meaning that the key accused feature corresponding to Ericsson’s ciphering
   5 scheme is, at best, of marginal technical value or importance to the 2G standard. As
   6 explained above, the accused feature was used only for HSCSD in 2G, and the
   7 HSCSD technology was introduced in the 2G standard prior to the introduction of
   8 enhanced, packet-based 2G systems—i.e., GPRS and EDGE. (See Section III.B.2,
   9 supra.) The HSCSD technology was not adopted in many markets, if any. Instead,
  10 handset manufacturers primarily went straight to GPRS and EDGE solutions,
  11 limiting HSCSD to just a few HSCSD-capable handsets. (See Ex. 1616 at pp. 4–5.)
  12        181. Moreover, HSCSD was highly inefficient. The technology utilizes
  13 scarce radio resources, as the time slots are constantly allocated (even when no data
  14 is transmitted) in accordance with circuit-switched technology. This inefficiency
  15 was compounded with the higher cost network operators would have to charge for
  16 HSCSD as circuit switching for data (which is what HSCSD is), thus further
  17 negatively impacting the popularity of HSCSD. (See id.) Given the advantages and
  18 availability of 2G GPRS and EDGE, it is not surprising that HSCSD never took off.
  19 Indeed, this is confirmed by ETSI’s own assessment of this inefficient technology,
  20 shown in the excerpt below. Accordingly, the Importance of Ericsson’s ciphering
  21 scheme to 2G is marginal at best and, therefore, I assigned it an Importance Rank of
  22 “3.”
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  19 (Ex. 1417.)
  20               2.    Patent Family P14596 Is at Best Marginally Important to 2G, 3G,
  21                     and 4G.
  22        182. Ericsson alleges the P14596 patent family is essential to 2G, 3G, and
  23 4G. In its claim chart, Ericsson attempts to map the limitations of Claim 10 of U.S.
  24 Patent No. 7,181,218 (“the ’218 Patent”) to certain sections of the 2G, 3G, and 4G
  25 standards, including 3GPP TS 25.331 v. 8.16.0 §§ 8.3.6, 8.3.6.1, 8.3.6.3, 10.1, 10.2,
  26 10.2.16a, 10.3.3.48. (See, e.g., Ex. 1429 at p. 135.)
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   1                        a.   Tutorial on Inter-RAT Handover Messaging
   2        183. The P14596 Family generally relates to inter-RAT handover. (See
   3 generally Ex. 1639 at p. 470; Ex. 1639 at p. 475; Ex. 1639 at p. 480.) An inter-RAT
   4 handover is a process wherein the UE switches from a first radio access system
   5 having a first radio access technology (e.g., 2G GSM) to a second radio access
   6 system having a second radio access technology (e.g., 3G UMTS). (See Ex. 1617 at
   7 p. 7, 1:32–36.) According to the ’218 Patent, “[i]nter-RAT handover is normally
   8 initiated when the quality of a downlink radio connection of the first radio access
   9 network falls below a certain level.” (Id. at 7, 1:36–41.)
  10        184. In the inter-RAT handover procedure, a handover command message is
  11 sent to the UE to provide the UE with details of the radio resources to be used after
  12 the handover. (See Ex. 1617 at p. 7, 1:42–47.) For example, when the UE is
  13 switching from a 2G network to a 3G network, a handover message is sent by a base
  14 station controller of the 2G network to the UE. (Id. at 7, 1:47–56.) According to the
  15 ’218 Patent, the purported invention is “a technique for facilitating transmission of
  16 additional parameters in a handover command message in conjunction with inter-
  17 RAT handover without appreciably lengthening the handover command message.”
  18 (Id. at 8, 3:36–40.)
  19                        b.   Ericsson’s Inter-RAT Messaging Scheme
  20        185. Based on the patent specification and the file history, the key limitation
  21 of Claim 10 of the ’218 Patent is “deriving from the first parameter a value of
  22 second parameter pertinent to inter-network handover.” (Ex. 1617 at p. 12, cl. 10.)
  23 This key claim limitation is illustrated in Figure 4 of the ’218 patent below, where
  24 the first parameter is the Serving-Radio Network Temporary Identifier (S-RNTI 2)
  25 of information element 4-2, and the second parameter, which is derived from the
  26 first parameter, is an information element which facilitates distribution of load and
  27 transmission of traffic in the radio access network (e.g., a Default DPCH Offset
  28 Value). (See id. at 10, 8:28–34.)

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  12        186. According to the ’218 Patent, “the second parameter (P2, e.g., the
  13 Default DPCH Offset Value) is derived from the first parameter (P1, e.g., S-RNTI
  14 2) using the Expression P2=(P1 mod C1)*C2, wherein C1 is a first constant and C2
  15 is a second constant.” (Ex. 1617 at p. 10, 8:40-43.)
  16        187. This key claim limitation corresponds to the following key accused
  17 features in the 2G, 3G, and 4G standards: UE transmits measurement report and
  18 receives handover command message to obtain first parameter from which to derive
  19 the value of a second parameter, namely, the default DPCH offset value. (Ex. 1639
  20 at p. 471; Ex. 1639 at p. 476; Ex. 1639 at p. 482.)
  21                     c.     Ericsson’s Inter-RAT Handover Messaging Scheme Is at
  22                            Best Marginally Important to 2G, 3G, and 4G.
  23        188. I assigned an Importance Rank “3” to Ericsson’s patent family P14596,
  24 meaning that the key feature is, at best, of marginal technical value or importance to
  25 the 2G, 3G, and 4G standards. Before introduction of the key feature, the 3GPP TS
  26 25.331 standard allowed either having the DPCH offset value of zero or explicitly
  27 including a different value in a handover command message. (See Ex. 1613 at p.
  28 205.) In other words, the key feature relates to deducing the DPCH offset value

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   1 from another transmitted parameter without direct transmission of the DPCH offset
   2 value itself. Using an explicit value that is included in a handover command
   3 message was well-known and could provide additional flexibility at the relatively
   4 small expense of including only nine additional bits in the message. There are at
   5 least 109 bits associated with mandatory Information Elements (IEs) of a handover
   6 command message used in 2G, 3G, and 4G standards. (See Ex. 1614 at pp. 546–
   7 548.) In addition, there are even a larger number of bits associated with IEs that are
   8 optional. So, nine additional bits represent a negligibly small number of additional
   9 bits that could be transmitted to maintain flexibility even if the key feature were
  10 removed. Accordingly, the Importance of Ericsson’s inter-RAT handover
  11 messaging scheme to the 2G, 3G, and 4G standards is marginal at best and,
  12 therefore, I assigned it an Importance Rank of “3.”
  13               3.     Patent Family P33108 Is Moderately Important to 4G.
  14         189. Ericsson alleges that the P33108 patent family is essential to 4G.
  15 Through its claim chart, Ericsson attempts to map the limitations of Claim 1 of U.S.
  16 Patent No. 8,582,518 (“the ’518 Patent”) to the sections of the 4G LTE standard
  17 shown below. (See, e.g., Ex. 1360.)
  18         x     3GPP TS 36.213 v. 10.12.0 §§ 5.1.2.1, 10.1.1; and
  19         x     3GPP TS 36.331 v. 10.12.0 § 6.3.2.
  20                      a.     Tutorial on PUCCH Power Control
  21         190. The P33108 Family relates to PUCCH (Physical Uplink Control
  22 CHannel) uplink power control. (See generally Ex. 1639 at p. 1336.) “Uplink
  23 power control for LTE is the set of algorithms and tools by which the transmit
  24 powers for different uplink physical channels and signals are controlled to ensure
  25 that they, to the extent possible, are received with sufficient power . . . .” (Ex. 1416
  26 at p. 31.) As illustrated in Figure 24 below, this means that the transmission should
  27 be received with sufficient power to allow for proper demodulation of the
  28 corresponding information, but the transmit power should also not be unnecessarily

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   1 high, as that would cause interference to other transmissions in the same or other
   2 cells. (Id.)
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  18                                 FIGURE 24 (PDX 76)

  19        191. In LTE, the PUCCH is an uplink control channel used by the UE to
  20 send hybrid ARQ (HARQ) acknowledgments, indicating to the base station whether
  21 downlink transport blocks were successfully received or not; to send channel-state
  22 reports (e.g., CQI reports) aiding downlink channel-dependent scheduling; and for
  23 requesting resources for transmitting uplink data. (Ex. 1416 at p. 159.) Ericsson’s
  24 purported invention relates to a scheme for controlling the transmission power for
  25 the PUCCH channel.
  26                     b.     Ericsson’s PUCCH Power Control Scheme
  27        192. Based on the patent specification and the file history, the key
  28 limitations of Claim 1 of the ’518 Patent are “instructing the UE to apply a value for

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   1 h(nCQI, nHARQ) that depends on nHARQ according to the following linear function of
   2 nHARQ as a value for h(nCQI, nHARQ): h(nCQI, nHARQ) = (nHARQ / α) + β, wherein ‘α’ is a
   3 non-zero integer constant and |β| < 1”; and “wherein h(nCQI, nHARQ) is a first power
   4 control parameter based on the PUCCH format and affecting the transmit power of
   5 the PUCCH signal.” This equation for h(nCQI, nHARQ) is depicted in Figure 25
   6 below:
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                                            FIGURE 25
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  15           193. These key claim limitations correspond to the following key accused
  16 feature in the 4G LTE standard: A specific formula for one variable in the power
  17 control function for PUCCH format 1b6 and format 3, wherein the variable has a
  18 linear dependence on the number of HARQ bits scaled by a non-zero integer and
  19 added to a number with an absolute value less than one. This key accused feature
  20 corresponds to the section of the accused 4G standard shown below.7
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           Format 1b is relevant only under some conditions.
  27   7
      For brevity, only the case of Format 3 is shown. The relevant instances of Format
  28 1b are not shown here.

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   7 (Ex. 1433 at p. 17.)
   8                     c.     Ericsson’s PUCCH Power Control Scheme Is Moderately
   9                            Important to 4G.
  10         194. I assigned an Importance Rank of “2” to Ericsson’s patent family
  11 P33108, meaning that the accused technology/key feature is of moderate technical
  12 value or importance to the 4G standard.
  13         195. A prior version of the 4G LTE standard (i.e., the version before
  14 adoption of Ericsson’s purported ACK/NACK reporting scheme in LTE) used either
  15 no adjustment (h = 0) or a logarithmic function for PUCCH power control. (See,
  16 e.g., Ex. 1435 at pp. 12–14.) Ericsson’s PUCCH power control scheme using the
  17 linear function defined in Claim 1 of the ’518 Patent purports to have an improved
  18 fit to the signal-to-noise ratio (SNR) required to achieve a desired SNR number
  19 based on the number of HARQ (ACK/NACK) bits (“the SNR target increment
  20 values”). This is illustrated in Figure 26 below. (See, e.g., Ex. 1445 at p. 10.)
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                                          FIGURE 26
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  17         196. Figure 26 above illustrates how Ericsson’s linear function with α = 2
  18 and β = –0.5 (the red line) fits the PUCCH plots representing the target SNR
  19 increment values (the first three lines on the legend). (See Ex. 1445 at p. 10.)
  20 Figure 26 shows that Ericsson’s power control scheme (the red line) performs better
  21 than the power control scheme used in the prior version of the LTE (the blue line)
  22 for the number of ACK/NACK bits (x-axis) less than 6, but both power control
  23 schemes provide comparable fits for the number of A/N bits between about six and
  24 11 and also equal to one (the shaded regions). Accordingly, the importance of
  25 Ericsson’s PUCCH power control scheme to the 4G LTE standard is moderate
  26 compared to the PUCCH power control scheme used in the previous standard and,
  27 therefore, I assigned it an Importance Rank of “2."
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   1               4.    Patent Family P38458 Is at Best Marginally Important to 3G.
   2        197. Ericsson alleges that the P38458 patent family is essential to 3G. In its
   3 claim chart, Ericsson attempts to map the limitations of Claim 1 of U.S. Patent No.
   4 9,100,069 (“the ’069 Patent”) to the following section of the 3G standard: 3GPP TS
   5 25.212 v. 11.4.0 § 4.7.3E1.2. (See, e.g., Ex. 1365.)
   6                     a.     Tutorial on Channel Coding, Including Puncturing and
   7                            HS-DPCCH
   8        198. The P38458 Family relates to channel coding of control information
   9 generated by a mobile terminal (UE) and in particular to a specific puncturing
  10 scheme used in conjunction with using convolutional coding for control information
  11 sent on the HS-DPCCH. (See generally Ex. 1639 at p. 1430.)
  12        199. Channel coding (or “Error Control Coding”), along with the associated
  13 channel decoding, is a technique used for combating errors that occur in data
  14 transmission over noisy communication channels. The key idea is that the sender
  15 “encodes” a message in an agreed-upon redundant way, referred to as “an error-
  16 correcting code.” The redundancy allows the receiver to determine that certain
  17 errors have occurred and to correct those errors without retransmission. Not all
  18 errors can be identified and/or corrected. In general, the more redundancy there is
  19 and the more intelligently said redundancy is used, the more errors can be identified
  20 and corrected. Of course, such improved performance in terms of the ability to
  21 identify and correct errors comes at a price of more bits needing to be transmitted
  22 and/or more complexity.
  23        200. A convolutional code is a well-known and widely used type of error-
  24 correcting code. (See, e.g., Ex. 1448.) A convolutional code generates “parity bits”
  25 to create such redundancy in the data. It is not uncommon for the result of a
  26 convolutional coder to be a number of bits M, e.g., 44, while the existing channel
  27 structures are not well suited to transmit said number M of bits. However, said
  28 existing channel structures may be very well suited to transmit a somewhat smaller

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   1 number of bits N, e.g., 40. In such cases, a procedure known as “puncturing” is also
   2 applied to the encoded data (in the above example, the 44 bits) to remove some of
   3 the parity bits (4 bits in the example), resulting in 40 bits (and a weaker code, i.e.,
   4 one that is capable of correcting a smaller number of errors) that “fits well” within
   5 the existing transmission capabilities.
   6         201. Such compromises are well known and have been used in the prior art,
   7 including in an earlier version of the same Technical Specification TS 25.212 cited
   8 for the P38458 Family. For example, the combination of convolutional coding and
   9 associated puncturing was used for HS-SCCH. (Ex. 179 at p. 71.) Indeed, various
  10 different coding schemes (some including puncturing, others not needing it) are used
  11 in a variety of channels as detailed in a large number of sections of the relevant TS
  12 25.212 standard. (See, e.g., id. at 10-72, §§ 4.2, 4.5, 4.6, 4.7, 4.8, 4.9, 4.10 (each
  13 covering one or more coding schemes used in one or more channels).) One such
  14 channel is the HS-DPCCH.
  15         202. Specifically, HS-DPCCH is a control channel used for carrying uplink
  16 control information in conjunction with using High Speed Downlink Packet Access
  17 (“HSDPA”), which is an extension for enhanced downlink-data performance
  18 provided in an enhanced version (Release 5) of 3GPP. (Ex. 1451 at pp. 136–183.)
  19 A key characteristic of HSDPA is the use of Shared-Channel Transmission. (Id. at
  20 137.) The basic HS-DSCH structure is illustrated in the figure below. The use of
  21 shared-channel transmission implemented through the High-Speed Downlink Shared
  22 Channel (HS-DSCH) enables the possibility of rapidly allocating a large fraction of
  23 the downlink resources for transmission of data to a specific user. (Id.) As shown
  24 in the figure below, downlink data for different users (User #1, User #2, User #3,
  25 User #4) are allocated or scheduled with different channelization codes on 2-ms
  26 Transmission Time Intervals (TTIs).
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   8 (Ex. 1451 at p. 138.)
   9        203. For the operation of HS-DSCH, the UE needs to send to the base
  10 station various types of information, including CQI reports for indicating
  11 instantaneous downlink channel conditions at the UE, and such control information
  12 is carried on the uplink High-Speed Dedicated Physical Control Channel (HS-
  13 DPCCH). (Ex. 1381 at p. 23, 5:52–59.)
  14        204. The details of the coding schemes used for the HS-DPCCH, including
  15 the puncturing schemes, are detailed in one of the above-mentioned Section 4.7,
  16 titled “Coding for HS-DPCCH.” (Ex. 1379 at p. 98–134.)
  17        205. Figure 6 of the ’069 Patent below illustrates a puncturing pattern
  18 purportedly created using a puncturing scheme from a previous version of the 3G
  19 standard (3GPP TS 25.212 v. 10.2.0). In this example, the boxes marked with “X”
  20 represent punctured parity symbols.
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  26                     b.     Ericsson’s Puncturing Scheme
  27        206. Based on the patent specification and the file history, the key limitation
  28 of Claim 1 of the ’069 Patent is “the predefined puncturing pattern is rotationally

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   1 symmetric puncturing pattern, wherein for each bit n included in the puncturing
   2 pattern there exists another bit n’ that is also included in the puncturing pattern,
   3 wherein n’ = N + 1 – n, where N is the bit length of Z1.” This limitation was the
   4 only novel aspect of Claim 1. (See Ex. 1380 at pp. 188–199 (rejecting the claims
   5 that did not contain the specific puncturing pattern); see also pp. 218–221.)
   6         207. The claimed symmetric puncturing pattern is illustrated in Figure 7 of
   7 the ’US 069 Patent reproduced below:
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  13         208. Through its claim chart, Ericsson attempts to map this key claim
  14 limitation to the portion of the accused 3G standard shown below.
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       (See, e.g., Ex. 1365 at p. 4; Ex. 1379 at p. 117.)
  20
  21         209. As explained in the relevant Appendix to my opening report (See, e.g.
  22 Ex. 1639 at p. 1430.), however, I determined the Essentiality Rank for Claim 1 of
  23 the ’069 Patent to be “3,” meaning the claim is not essential to the 3G standard
  24 under any reasonable claim construction. This is because Ericsson’s claim chart
  25 cites to a specific way of generating the correct 40-bit output sequence in the
  26 standard, but there are other ways to generate the 40-bit sequence that would comply
  27 with the standard without employing the claimed steps. Thus, under ETSI’s
  28 definition of “ESSENTIAL,” the claim is not essential. (See Ex. 223 at p. 7.)

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   1                      c.     Ericsson’s Puncturing Scheme Is at Best Marginally
   2                             Important to 3G.
   3         210. Even if Claim 1 is assumed to be essential to the accused 3G standard
   4 (which it is not), I assigned an Importance Rank of “3” to Ericsson’s patent family
   5 P38458, meaning that the key accused feature (i.e., the symmetric puncturing
   6 pattern) is, at best, of marginal technical value or importance to the 3G standard.
   7 The accused symmetric puncturing pattern is only used in one of a plethora of
   8 coding options for the HS-DPCCH. (Ex. 1379 at pp. 98–112.) Many of those
   9 coding options do not employ the claimed convolutional encoding and/or the
  10 symmetric puncturing pattern. In particular, the claimed symmetric puncturing
  11 pattern is at best relevant to “Type A” within subsection 4.7.3E1.2.7. As shown
  12 below, however, in the very same subsection, a “Type B” coding scheme uses a
  13 puncturing pattern that does not meet the claimed symmetric puncturing pattern.
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       (Ex. 1379 at p. 117.)
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  20         211. The Type A coding scheme takes 44 bits (i.e., d0, d1, …, d43) and
  21 punctures four bits (i.e., d0, d3, d41, d43) to obtain the symmetric puncturing pattern
  22 illustrated in Figure 9 of the ’069 Patent below.
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   8         212. The Type B coding scheme, on the other hand, takes 51 bits (i.e., d0, d1,
   9 …, d50) and punctures 11 bits (i.e., d0, d2, d3, d4, d6, d44, d45, d46, d47, d48, d50) to
  10 obtain the non-symmetric puncturing pattern illustrated in Figure 27 below:
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  15                         FIGURE 27: Type B Puncturing Scheme
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             213. In sum, the accused 3G standard discloses other well-known non-
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       symmetric puncturing schemes with performance comparable to that of the key
  18
       accused feature. Accordingly, the key accused feature (i.e., the symmetric
  19
       puncturing pattern) is at best of marginal technical value or importance to the 3G
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       standard and, therefore, I assigned it an Importance Rank of “3.”
  21
                    5.      Importance Analysis Results
  22
             214. Figure 28 below illustrates the breakdown of the Importance Ranks for
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       all family/standard pairs Ericsson considers essential to the 2G, 3G, and 4G
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       standards, including expired patents.
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  15                                 FIGURE 28 (PDX 77)
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  17        215. Figure 29 below illustrates the breakdown of the Importance Ranks for
  18 all family/standard pairs Ericsson considers essential to the 2G standard, including
  19 expired patents.
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  15                                 FIGURE 29 (PDX 78)
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  17        216. Figure 30 below illustrates the breakdown of the Importance Ranks for
  18 all family/standard pairs Ericsson considers essential to the 3G standard, including
  19 expired patents.
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  15                                 FIGURE 30 (PDX 79)

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  17        217. Figure 31 below illustrates the breakdown of the Importance Ranks for
  18 all family/standard pairs Ericsson considers essential to the 4G standard, including
  19 expired patents.
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                                     FIGURE 31 (PDX 80)
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  16         D.    Contribution Analysis of Ericsson’s Alleged SEPs
  17         218. For any patent family that I gave an Essentiality Rank of “1” or “2,” I
  18 also analyzed the contribution of the key accused feature to the 2G, 3G or 4G
  19 standard relative to available alternatives. In this section, I provide a number of
  20 examples of my Contribution analysis to help illustrate how the Contribution metric
  21 was determined, and also to provide examples of the rankings. I then provide a
  22 summary of the results of the analysis. Here I provide, by way of example, my
  23 analysis for Ericsson’s P08153_3G, P31988_4G, P23893_4G, P33108_4G,
  24 P25336_3G, and P28747_4G Family/Standard pairs. The analysis for the remaining
  25 family/standard pairs is contained in the Appendices attached hereto as Exhibit
  26 1639.
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   1               1.    Patent Family P08153 Provides No Improvement to 3G Relative
   2                     to Available Alternatives.
   3        219. Ericsson alleges that the P08153 patent family is essential to 3G. In its
   4 claim chart, Ericsson attempts to map the limitations of Claim 9 of U.S. Patent No.
   5 6,073,005 (“the ’005 Patent”) to the sections of the 3G standard below. (See, e.g.,
   6 Ex. 1363.)
   7        x      3GPP TS 22.101 v. 9.0.0 §§ 10.1, 10.1.1;
   8        x      3GPP TS 24.008 v. 9.0.0 § 4.4.4.6; and
   9        x      3GPP TS 25.331 v. 9.0.0 § 8.1.1.5, 10.3.1.11.
  10                     a.     Ericsson’s Emergency Calling Scheme
  11        220. The P08153 Family relates to emergency calling procedures. (See
  12 generally Ex. 1639 at p. 131.) As discussed in the ’005 Patent, the best known
  13 emergency number in the United States is 9-1-1, but there are other emergency
  14 numbers in different regions in the United States and in other countries. (Ex. 1422
  15 at p. 8, 4:59–5:5.) The US ’005 Patent alleges that it would be desirable for the
  16 mobile terminal to evaluate a dialed number input by user (e.g., 9-1-1) to identify
  17 emergency call placement and make the emergency call even while the user is in a
  18 region or country where a different emergency number is used. (See id. at 9,
  19 5:18-27.) The P08153 Family purportedly addresses this problem with a specific
  20 emergency calling scheme.
  21        221. Based on the patent specification and the file history, the key limitation
  22 of Claim 9 of the ’518 Patent is “comparing a dialed number with emergency call
  23 numbers stored in a group in said [radio communication] data base [of emergency
  24 call numbers, wherein said emergency call numbers are grouped by country]
  25 associated with said received identification [of a country in which said radio
  26 communication device is currently operating]....” (See Ex. 1422 at p. 10, cl. 9.)
  27 This key claim limitation corresponds to the following key accused feature in the 3G
  28 standard: Recognition of an emergency number by the mobile handset and placing

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   1 the emergency call. This key accused feature corresponds to the portion of the
   2 accused 3G standard shown below.
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  10 (Ex. 1576. at pp. 18–19.)
  11        222. Ericsson’s emergency calling scheme is illustrated by way of example
  12 in Figure 32 and Figure 33 below:
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       FIGURE 32: First Illustration of Ericsson’s Emergency Calling Scheme (PDX
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  25        223. By way of example, suppose a user who resides the United States,
  26 where the emergency number is 9-1-1, travels to the UK, where the emergency
  27 number is 9-9-9. (See Ex. 1422 at p. 9, 5:18–21.) According to the P08153 Family,
  28 the user’s Mobile Terminal includes a database or look-up table for storing the

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   1 emergency call numbers and information about the corresponding countries. (See
   2 id. at 9, 5:6–13.) The mobile terminal can also determine its current location (e.g.,
   3 the UK) by reading the country code sent on a broadcast channel of the cellular
   4 network in which it is operating. (See id. at 9, 5:28–30.)
   5        224. Figure 33 below illustrates how emergency calls are made under
   6 Ericsson’s scheme. When the user inputs a number, the mobile terminal can
   7 compare that number with the emergency number from the user’s home country
   8 (e.g., 9-1-1) and, if a match is found, the mobile terminal uses the current country
   9 code where the user is located to index the mobile terminal’s database or look-up
  10 table and substitute the correct emergency number (e.g., 9-9-9) based on the user’s
  11 location. (See id. at 9, 5:39–53.) The call is then made using the substituted
  12 emergency number.
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  27     FIGURE 33: Second Illustration of Ericsson’s Emergency Calling Scheme
  28                                        (PDX 82)
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   1                      b.    Ericsson’s Emergency Calling Scheme Provides No
   2                            Improvement to 3G Relative to Available Alternatives.
   3        225. I assigned a Contribution Rank of “4” to Ericsson’s patent family
   4 P08153, meaning that the key accused feature corresponding to Ericsson’s
   5 emergency calling control scheme provides no improvement to the 3G standard
   6 relative to available alternatives.
   7        226. For example, U.S. Patent No. 5,602,901 assigned to Motorola (“the
   8 Motorola Patent”) discloses an emergency calling scheme involving receiving
   9 information regarding mobile terminal, and determining, based on that location,
  10 what emergency number to dial. (Ex. 1421.)
  11        227. Under Motorola’s alternative emergency calling scheme, the
  12 emergency number is determined at the network rather than at the mobile terminal.
  13 Here, the emergency call numbers are stored on the network side, for example, in
  14 the data storage means 166 of the emergency service unit 160, as shown in Figure 3
  15 of the Motorola Patent below.
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  25        228. To store an emergency call number database on the network rather than
  26 locally on the mobile terminal is a highly viable and modular alternative solution.
  27 The only difference from Ericsson’s solution is the location of the emergency call
  28 number database/look-up table. In fact, storing the emergency call number database

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   1 on the network is advantageous because doing so allows for greater flexibility. For
   2 example, emergency call numbers can be easily changed/updated. Accordingly, the
   3 key feature provides no net improvement to the 3G standard compared to
   4 Motorola’s alternative solution and, therefore, I assigned it a Contribution Rank of
   5 “4.”
   6               2.     Patent Family P31988 Provides No Improvement to 4G Relative
   7                      to Available Alternatives.
   8         229. Ericsson alleges that the P31988 patent family is essential to 4G. In its
   9 claim chart, Ericsson attempts to map the limitations of Claim 27 of U.S. Patent No.
  10 8.965,414 (“the ’414 Patent”) to the sections of the 4G LTE standard shown below.
  11 (See, e.g., Ex. 1427.)
  12         x     3GPP TS 36.331 v. 10.16.0 §§ 5.5.1, 5.5.7.1, 6.2.2, 6.3.5, 6.5.1.1
  13               6.5.1.2;
  14         x     3GPP TS 36.355 v. 10.12.0 §§ 3.1, 5.2.1, 5.3.1;
  15         x     3GPP TS 36.133 v. 10.18.0 § 8.1.2.1; and
  16         x     3GPP TS 36.305 v. 10.5.0 § 7.1.2.5.
  17                      a.    Tutorial on OTDOA and Inter-Frequency Measurements
  18                            of Position Reference Signals
  19         230. The P31988 Family generally relates to a way of determining a mobile
  20 terminal’s location in a 4G LTE network, called “Observed Time Difference of
  21 Arrival” (OTDOA) standardized by 3GPP and more specifically to inter-frequency
  22 measurements of position reference signals in OTDOA. (See generally Ex. 1639 at
  23 p. 1287.)
  24         231. As described in the Background of the ’414 Patent, with OTDOA, a
  25 mobile terminal measures the timing differences for downlink references signals
  26 received from multiple distinct locations (e.g., base stations). (Ex. 1425 at p. 12,
  27 3:24–29.) For each measured neighbor cell, the mobile terminal (UE) measures a
  28 Reference Signal Time Difference (RSTD), which is the relative timing difference

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   1 between a neighbor cell and the reference cell. The UE measures the timing of the
   2 received downlink reference signals using assistance data received from a Location
   3 Services (LCS) server, and the resulting measurements are used to locate the UE in
   4 relation to the neighboring cells.
   5         232. As illustrated in Figure 3 of the ’414 Patent below, the UE’s position
   6 estimate is found as the intersection 430 of hyperbolas 440 corresponding to the
   7 measured RSTDs. (See Ex. 1425 at p. 12 , 3:51–58.)
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  23         233. The RSTD measurement is of two types: (1) an intra-frequency RSTD
  24 measurement and (2) an inter-frequency RSTD measurement. The inter-frequency
  25 RSTD measurement is performed when at least one of the reference cell i and the
  26 neighbor cell j is on a different carrier frequency as the cell serving the mobile
  27 terminal. (See Ex. 1425 at p. 12 4:37–48; p. 14, 8:49–54.) Ericsson’s purported
  28 invention is directed to a specific way to perform the inter-frequency RSTD

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   1 measurement for OTDOA.
   2                     b.    Ericsson’s OTDOA Inter-Frequency Measurement Scheme
   3                           and the Accused Feature in the Standard.
   4        234. Based on the patent specification and the file history, the key limitation
   5 of Claim 27 of the ’414 Patent is “wherein said transmitted indication includes
   6 information about timing of occurrence of reference signals to be used for said
   7 inter-frequency measurement.” This limitation is illustrated in Figure 34 below:
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  22          FIGURE 34: Illustration of the Key Claim Limitation (PDX 83)

  23        235. Through its claim chart, Ericsson attempts to maps this key claim
  24 limitation to the following key accused feature in the 4G standard: Configuring
  25 measurement gaps for performing inter-frequency measurements. This key accused
  26 feature corresponds to the portion of the accused 4G standard shown below.
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   7 (Ex. 1440 at p. 118.)
   8        236. For the reasons set forth in Appendix to my opening report, the
   9 Essentiality Rank for Claim 27 is “2,” meaning the claim is not essential to the 4G
  10 standard under a proper construction. (Ex. 1639 at p. 1287.) In particular, the
  11 phrase “wherein said transmitted indication includes information about timing of
  12 occurrence of reference signals to be used for said inter-frequency measurement,”
  13 when construed properly in view of the ordinary meaning of the phrase and the
  14 prosecution history of the ’414 Patent, does not correspond to the accused feature in
  15 the 4G standard discussed above—i.e., the UE transmitting information “related” to
  16 reference signals, i.e., measPRS-Offset, which specifies a requested gap offset so
  17 that the UE has time to perform inter-frequency RSTD measurements.
  18                     c.     The Accused Key Feature Provides No Improvement to 4G
  19                            Relative to Available Alternatives.
  20        237. Even if the key claim limitation is assumed to correspond to the key
  21 accused feature in the 4G standard (which it does not), I assigned a Contribution
  22 Rank of “4” to Ericsson’s patent family P31988, meaning that the key accused
  23 feature provides no improvement to the 4G standard relative to available
  24 alternatives.
  25        238. For example, TDoc R2-111144 indicates that the 3GPP working group
  26 considered three alterative solutions regarding what other information to include in
  27 the message InterFreqRSTDMeasurementIndication. (Ex. 1424 at p. 1.)
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   1         239. Section 2.1 of this TDoc discusses such alternatives, where “Alt 1” and
   2 “Alt 2a” are non-infringing alternatives, even under Ericsson’s interpretation of the
   3 claim. For example, as shown below, “Alt 1” describes that the eNB can be relied
   4 upon to make a gap offset decision itself, and “Alt 2a” provides information
   5 regarding “frequency(ies).
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       (Ex. 1424 at p. 1.)
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  15         240. Although it appears “Alt 1” did not have much support, the opinions
  16 were evenly divided between “Alt 2a” and “Alt 2b.” (See id. at 1–2.) Moreover, as
  17 shown below, although “Alt 2b” (inclusion of PRS offset information) was
  18 eventually adopted, Ericsson, Nokia (NSN), and Alcatel-Lucent (ALU) preferred
  19 “Alt 2a” to “Alt 2b,” while CATT and Huawei found “Alt 2a” to be an acceptable
  20 alternative solution.
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  28 (See id. at 3.)

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   1         241. In particular, as shown below, Ericsson agreed with Nokia and Alcatel-
   2 Lucent that the “Alt 2a” solution of sending frequency information was better than
   3 the “Alb 2b” solution that was adopted.
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  12 (Ex. 1424 at p. 2.)
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             242. In view of the above, the key accused feature, which corresponds to
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       “Alt 2b,” provides no improvement to the 4G standard compared to “Alt 2a,” which
  15
       is a non-infringing alternative preferred by Ericsson, Nokia, and Alcatel-Lucent, and
  16
       found to be an acceptable alternative by CATT and Huawei and I, therefore, I
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       assigned it a Contribution Rank of “4.”
  18
                   3.      Patent Family P23893 Provides No Improvement to 4G Relative
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                           to Available Alternatives.
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             243. Ericsson alleges that the P23893 patent family is essential to 4G. In its
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       claim chart, Ericsson attempts to map the limitations of Claim 1 of U.S. Patent No.
  22
       8,134,940 (“the ’940 Patent”) to the sections of the 4G LTE standard below. (See,
  23
       e.g., Ex. 1429 at pp. 327–337.)
  24
             x     3GPP TS 36.201 v. 8.3.0 § 4.2.1;
  25
             x     3GPP TS 36.321 v. 8.5.0 §§ 5.3.2.1, 5.3.2.2;
  26
             x     3GPP TS 36.213 v. 8.8.0 § 10.1;
  27
             x     3GPP TS 36.331 v. 8.16.0 §§ 5.2.1.2, 6.2.2; and
  28
             x     3GPP TS 36.211 v. 8.9.0 §§ 4, 4.2.
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   1                     a.     Tutorial on ACK/NACK Feedback Reporting
   2         244. The P23893 Family relates to ACK/NACK feedback reporting in the
   3 Time Division Duplex (TDD) mode of LTE (“TDD-LTE”). (See generally Ex.
   4 1639 at p. 788.) In LTE, a predefined radio frame of 10 ms is divided into ten sub-
   5 frames of 1 ms duration each. (See Ex. 1444 at p. 6, 2:4–6.) In TDD-LTE, there are
   6 in total ten downlink (“DL”)8 and uplink (“UL”)9 sub-frames available for data
   7 transmission during one radio frame, which can thus be transmitted only one at a
   8 time on a common frequency band F. (Id. at 6, 2:11–14.) DL and UL transmissions
   9 can be configured in TDD on a cell basis depending on the traffic demands in either
  10 direction. For example, the ’940 Patent suggests that the UL/DL allocation can be
  11 configured to eight DL sub-frames and two UL sub-frames during one radio frame,
  12 as illustrated in Figure 35 below. (Id. at 6, 2:22–28.)
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                                     FIGURE 35 (PDX 84)
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  26     “Downlink” or DL refers a communication link or channel for transmitting
       information from a base station to a mobile terminal or User Equipment (“UE”).
  27   9
       “Uplink” or UL refers a communication link or channel for transmitting
  28 information from a UE to a base station.

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   1        245. Data blocks are transmitted in the UL and DL sub-frames. For
   2 example, a base station can transmit data blocks to UEs in each sub-frame, and a UE
   3 can be assigned resources for a data block in DL sub-frames. (Ex. 1444 at p. 6,
   4 2:22–28.) Further, UEs can transmit data blocks in assigned resources in UL sub-
   5 frames to the base station. (Id. at 6, 2:1–3.)
   6        246. A data-receiving party (UE or base station) sends feedback reports to
   7 indicate whether or not it has correctly received data blocks in assigned sub-frames.
   8 (Id. at 7, 3:1–3.) For example, if a data block is received correctly in an assigned
   9 sub-frame, the data-receiving party sends an acknowledgment “ACK,” and if the
  10 data block contained errors, it sends a negative acknowledgment “NACK.” (Id.)
  11        247. Figure 2 of the ’940 Patent (annotated version reproduced below)
  12 shows a prior-art ACK/NACK reporting scheme, where an asymmetric connection
  13 is configured with eight successive DL sub-frames (0–7) followed by two UL sub-
  14 frames (8–9). In this example, the minimum delay period needed for processing is
  15 assumed to be one sub-frame. Under this assumption, feedback reports for data
  16 received in sub-frames 0–6 are all transmitted in sub-frame 8 and the feedback
  17 report for sub-frame 7 is transmitted in sub-frame 9 (due to the one sub-frame delay
  18 period). (Id. at 8, 5:3–13.)
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  27                         Figure 2 of the ’940 Patent (PDX 132)
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   1         248. According to the ’940 Patent, this prior-art ACK/NACK reporting
   2 scheme allegedly requires a more complex channel structure to handle a great
   3 number of feedback reports (i.e., ACK/NACK messages) in a single sub-frame and
   4 allow a single terminal to transmit feedback reports for multiple DL sub-frames, as
   5 is done in sub-frame 8 above. (Ex. 1444 at p. 8, 5:14–18.)
   6                      b.    Ericsson’s ACK/NACK Reporting Scheme
   7         249. Based on the patent specification and the file history, the key limitation
   8 of Claim 1 of the ’940 Patent is “scheduling feedback reports in available transmit
   9 (TX) sub-frames according to a predetermined spreading rule also known by the
  10 data sending party, dictating that the feedback reports are spread out or distributed
  11 evenly over the available TX sub-frames.” This key claim limitation is illustrated in
  12 Figure 36 below:
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                                     FIGURE 36 (PDX 130)
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  22         250. This key claim limitation corresponds to the following key accused
  23 feature in the 4G LTE standard: Dictating that ACK/NACK feedback reports are
  24 spread out or distributed evenly over the available UL sub-frames in TDD-LTE.
  25 This key accused feature corresponds to the portion of the accused 4G standard
  26 shown below.
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   8 (Ex. 1434 at p. 72, Table 10.1-1.)
   9                     c.     Ericsson’s ACK/NACK Feedback Reporting Scheme
  10                            Provides No Improvement to 4G Relative to Available
  11                            Alternatives.
  12        251. As discussed in Section V.D.2 above, the key accused feature in the 4G
  13 LTE standard corresponding to the key limitation of Claim 1 of the ’940 Patent is
  14 the even distribution of the ACK/NACK feedback reports over the available UL
  15 sub-frames in TDD-LTE. (Id. at 72.) An example of evenly distributing
  16 ACK/NACK Reports according to the ’940 Patent is shown below in Figure 37.
  17 (See Ex. 1444 at p. 3, Fig. 3.)
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        FIGURE 37: Even Distribution of ACK/NACK Feedback Reports (PDX 131)
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  27        252. I assigned a Contribution Rank of “4” to Ericsson’s patent family
  28 P23893, meaning that the key accused feature corresponding to Ericsson’s

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   1 ACK/NACK feedback reporting scheme provides no improvement to the 4G
   2 standard relative to available alternatives. I discuss below two non-infringing
   3 alternative solutions—(1) a first solution that supported the Contribution Rank “4”
   4 (no improvement), and (2) a second solution that supported the Contribution Rank
   5 of “3” (marginal improvement).
   6        253. The first non-infringing alternative supporting the Contribution Rank of
   7 “4” is an admitted-prior-art solution of uneven distribution or spreading of
   8 ACK/NACK feedback reports, which is illustrated in Figure 38 below (an annotated
   9 version of Figure 2 of the ’940 Patent) and described in its related text reproduced
  10 below.
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  18             FIGURE 38: First Admitted Prior Art Solution (PDX 132)

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  28 (See Ex.1444 at p. 8, 5:3–13.)

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   1         254. Using this first admitted-prior-art solution has the advantage of the
   2 mobile terminal (UE) being able to send more ACK/NACK reports to the base
   3 station sooner, thus freeing up data slots or sub-frames later on the frame. On the
   4 other hand, sending a large number of feedback reports in a single sub-frame would
   5 leave less resources for data transmission in that sub-frame, potentially delaying the
   6 uplink data until the next sub-frame, and could require increased transmit power
   7 and/or feedback resources. In any case, the average data transmission rate over the
   8 two sub-frames would be the same. Accordingly, Ericsson’s ACK/NACK reporting
   9 scheme, on balance, is of equal utility to this admitted-prior-art ACK/NACK
  10 feedback reporting solution, and thus provides no improvement to the 4G standard
  11 relative to this solution.
  12         255. The second non-infringing alternative, supporting the Contribution
  13 Rank of “3,” is another admitted-prior-art solution of using a fixed, equal number of
  14 downlink slots before each single uplink slot, which is illustrated in Figure 39 below
  15 (based on Figure 1b of the ’940 Patent).
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                 FIGURE 39: Second Admitted Prior Art Solution (PDX 85)
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  25         256. This admitted-prior-art solution would advantageously result in less
  26 latency in the ACK (since the UE would not need to wait more than 4 sub-frames
  27 before sending the ACK/NACK), but would have the disadvantage of more frequent
  28 switching between uplink and downlink slots. This is less efficient because every

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   1 switch between DL and UL subframes needs to be accompanied by a guard period,
   2 during which no data can be sent. Accordingly, Ericsson’s ACK/NACK feedback
   3 reporting scheme, on balance, provides only a marginal improvement to the 4G
   4 standard relative to this second admitted-prior art solution and, therefore, I assigned
   5 it a Contribution Rank of “3.”
   6               4.    Patent Family P33108 Provides No Improvement to 4G Relative
   7                     to Available Alternatives.
   8         257. The P33108 Family relates to uplink power control for the PUCCH.
   9 (See generally Ex. 1639 at p. 1336.) This family was provided as an example of
  10 Importance Analysis in Section V.C.3 above. The tutorial on PUCCH power
  11 control and Ericsson’s specific scheme related to the same, as set forth above,
  12 provide context for the following Contribution Analysis for P33108.
  13         258. The key accused feature for P33108 is a specific formula for one
  14 variable—h (nCQI, nHARQ, nSR)—in the power control function for PUCCH format 1b
  15 and format 3, where the variable has a linear dependence on the number of HARQ
  16 bits scaled by a non-zero integer and added to a number with an absolute value less
  17 than one. (See Ex. 1433; see also Section V.C.3, supra.)
  18         259. I assigned a Contribution Rank of “4” to Ericsson’s patent family
  19 P33108, meaning that the key accused feature corresponding to Ericsson’s PUCCH
  20 power control scheme provides no improvement to the 4G standard relative to
  21 available alternatives. For example, CATT proposed two alternative power curve-
  22 fitting methods in the form of two linear equations for the value of the h function.
  23 (Ex. 1446 at p. 2.) CATT’s formulas for PUCCH format 3 are shown below.
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  28 (Id. at 2.)

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   1        260. Both of CATT’s formulas are non-infringing alternatives because the
   2 value of α is not a “non-zero integer” and the absolute value of β is not less than 1.
   3 This key distinction between Ericsson’s formula and CATT’s formulas is illustrated
   4 below:
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  10                             Ericsson’s Formula (PDX 127)
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  19                           CATT’s First Formula (PDX 128)
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  28                         CATT’s Second Formula (PDX 129)
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   1        261. CATT’s two non-infringing formulas are represented as solid magenta
   2 lines in Figure 40 and Figure 41, respectively, below:
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  15                 FIGURE 40: Curve Fit for First CATT’s Formula
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  28                FIGURE 41: Curve Fit for Second CATT’s Formula
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   1         262. Figure 42 below presents a side-by-side comparison between
   2 Ericsson’s and CATT’s formula in terms of their abilities to fit to the target SNR
   3 values.
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   5              Ericsson’s Formula                       CATT’s Second Formula
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  15      FIGURE 42: Comparison of Ericsson’s and CATT’s Formulas (PDX 86)

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  17         263. This comparison clearly demonstrates that Ericsson’s formula and
  18 CATT’s second non-infringing formula provide comparable fits to the target SNR
  19 values. Accordingly, Ericsson’s PUCCH uplink power control scheme provides no
  20 improvement to the 4G standard relative to CATT’s non-infringing PUCCH uplink
  21 power control solution and, therefore, I assigned it a Contribution Rank of “4.”
  22               5.     Patent Family P25336 Provides No Improvement to 3G Relative
  23                      to Available Alternatives.
  24         264. Ericsson alleges that the P25336 patent family is essential to 3G. In its
  25 claim chart, Ericsson attempts to map the limitations of Claim 1 of EP 2,238,801
  26 (“the EP ’801 Patent”) to the following sections of the 3G standard: 3GPP TS
  27 36.321 v. 8.17.0 §§ 11.8.1.9, 9.2.5.3.2, 11.8.1.6. (See, e.g., Ex. 1364.)
  28

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   1                       a.    Tutorial on E-DCH
   2          265. The P25336 Family relates to a procedure for releasing enhanced
   3 dedicated channels (E-DCH). (See generally Ex. 1639 at p. 963.)
   4          266. To facilitate effective resource utilization, the UE in a 3G network can
   5 be in several different states, including idle mode, CELL_PCH, UPA_PCH,
   6 CELL_FACH, and CELL_DCH. (Ex. 1451 at pp. 123–124.) CELL_FACH is a
   7 higher connectivity state where the UE does not have dedicated channels allocated
   8 but can send and receive small amounts of data on the Forward Access Channel
   9 (“FACH”) and the Random Access Channel (“RACH”). (Id.) CELL_DCH is the
  10 state used for all except the smallest amounts of data exchange. (Id.) In the
  11 CELL_DCH state, the UE is allocated a dedicated channel and must continuously
  12 transmit and receive at least the control parts. (Id.)
  13          267. E-DCH is an enhanced dedicated uplink channel in the High Speed
  14 Uplink Packet Access (HSUPA) protocol, which is an extension to 3G UMTS for
  15 fast uplink data transmissions. Use of the E-DCH in the CELL_FACH state was
  16 introduced in Release 8 of 3GPP. (Id. at 130.) Before then, the E-DCH was
  17 normally used in the CELL_DCH state. (See Ex. 1637 at ¶ 3.) In the CELL_DCH
  18 state, one separate E-DCH resource can be allocated per user. (See id.) In the
  19 CELL_FACH state, on the other hand, a pool of E-DCH resources (“common E-
  20 DCH resources”) can be temporarily assigned to a user. (See id.) Ericsson’s
  21 purported invention addresses how to release the E-DCH in the CELL_FACH state
  22 for a particular user so that the common E-DCH resources can be allocated to other
  23 users.
  24                       b.    Ericsson’s E-DCH Release Scheme
  25          268. Based on the patent specification and the file history, the key limitation
  26 of Claim 1 of the EP ’801 Patent is “signaling (203) to the radio base station a
  27 release of a common Enhanced Dedicated Channel, E-DCH, resource on Layer 1
  28 and Layer 2 fields used in a CELL_DCH state for other purposes.” This limitation

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   1 corresponds to the following key accused feature in the 4G standard: The UE
   2 signaling to the base station release of E-DCH in the CELL_FACH by using a
   3 specific field that is used for other purposes in the CELL_DCH state. This key
   4 accused feature corresponds to the portions of the accused 3G standard shown
   5 below.
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       (Ex. 1367 at pp. 146–148.)
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  16         269. This key accused feature is illustrated by way of example in Figure 43
  17 below. The UE in the CELL_FACH state first releases the common E-DCH
  18 resources. According to the key feature, the UE then signals the release to the base
  19 station using a specific field that, when the UE is operating in the CELL_DCH state,
  20 is used for other purposes.
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  10             FIGURE 43: Ericsson’s E-DCH Release Scheme (PDX 87)
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  12                       c.   The Key Accused Feature Provides No Improvement to 3G
  13                            Relative to Available Alternatives.
  14        270. I assigned a Contribution Rank of “4” to Ericsson’s patent family
  15 P25336, meaning that the key accused feature corresponding to Ericsson’s E-DCH
  16 release scheme provides no improvement to the 3G standard relative to available
  17 alternatives. For example, as shown below, Qualcomm’s TDoc R2-074390
  18 proposes a E-DCH release scheme where the base station—not the UE—initiates
  19 the release decision, based on inactivity on the user’s uplink channel. The base
  20 station sends a release message to the UE, and in response, the UE releases the
  21 channel.
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  26 (Ex. 1636 at p. 5.)
  27        271. As shown below, the EP ’801 Patent describes Qualcomm’s solution in
  28 a similar fashion.

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       (Ex. 1637 at ¶ 8.)
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  11         272. Qualcomm’s non-infringing alternative E-DCH release scheme is
  12 illustrated in Figure 44 below. In particular, according to Qualcomm’s alternative
  13 solution, the base station senses that the E-DCH resources assigned to the UE are no
  14 longer needed. The base station then sends a release message to the UE. In
  15 response, the UE releases the E-DCH resources.
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  15            FIGURE 44: Qualcomm’s E-DCH Release Scheme (PDX 88)

  16         273. Qualcomm’s non-infringing alternative solution would result in some
  17 delay in releasing the E-DCH but no significant practical degradation in
  18 performance. For example, if a BSR (buffer status report) is indicating zero bytes to
  19 be transmitted at the UE, Qualcomm’s alternative solution would still prevent the
  20 base station from wastefully assigning any unneeded E-DCH resources to the UE
  21 because the base station would correctly sense inactivity on the user’s uplink
  22 channel, i.e., sense that no resources are needed. Thus, there is no real loss.
  23         274. The small potential delay in deactivating the E-DCH in accordance
  24 with Qualcomm’s solution would not have a material impact, and in any case is
  25 offset by additional flexibility that the base station would have in that case.
  26 Specifically, for example, if the traffic conditions are low (e.g., at 3 AM) and a
  27 specific UE indicates (via a BSR) that no more resources are needed, the base
  28 station could make the intelligent decision to refrain from releasing the channel for

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   1 some period of time, allowing for the possibility that the same UE might want to
   2 engage in more uplink transmissions soon. If in fact that turns out to be the case,
   3 speed is gained. If not, while resources appear to be wasted, in fact that is not the
   4 case—when there is nothing to transmit (because most people are asleep at 3 AM),
   5 not being able to transmit is irrelevant, i.e., there is no “waste.” Thus, in short,
   6 Qualcomm’s non-infringing alternative solution would have some advantages over
   7 Ericsson’s solution and potentially some disadvantages, which offset each other.
   8         275. Accordingly, the key accused feature corresponding to Ericsson’s E-
   9 DCH release scheme provides no net improvement to the 3G standard compared to
  10 Qualcomm’s alternative solution and, therefore, I assigned it a Contribution Rank of
  11 “4.”
  12               6.     Patent Family P28747 Provides No Improvement to 4G Relative
  13                      to Available Alternatives.
  14         276. Ericsson alleges that the P28747 patent family is essential to 4G. In its
  15 claim chart, Ericsson attempts to map the limitations of Claim 1 of U.S. Patent No.
  16 8.913,565 (“the ’565 Patent”) to the following sections of the 4G LTE standard:
  17 3GPP TS 36.321 v. 9.3.0 §§ 5.4.4, 5.4.5. (See, e.g., Ex. 1430.)
  18                      a.     Tutorial on Scheduling Requests
  19         277. The P28747 Family relates to a specific way of triggering the UE’s
  20 transmission of scheduling requests (“SRs”) for uplink resources. (See generally
  21 Ex. 1639 at p. 1163.)
  22         278. The base station in an LTE network needs to know whether the UE has
  23 data to transmit and should be given uplink transmission resources for data
  24 transmission. (Ex. 1375 at p. 12, 1:64–67.) If the UE has data to transmit to the
  25 base station, it indicates its need for resources using a scheduling request (“SR”),
  26 which is a simple flag the UE sends to the base station to request resources for
  27 uplink transmission. (Id.; Ex. 1416 at pp. 345–346.) This is illustrated in Figures
  28 45, 46, and 47 below. In Figure 45, the arrival of data at the UE’s buffer triggers an

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   1 SR to be transmitted. (See Ex. 1375 at p. 12, 1:64–2:6; see also Ex. 1416 at pp.
   2 344–346, Fig. 13.3.)
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   7         FIGURE 45: Data Arrival Triggers Scheduling Request (PDX 89)
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                 FIGURE 46: Scheduling Request Is Transmitted (PDX 90)
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  14        279. In Figure 46 (above), the SR is transmitted. Figure 47 (below) shows
  15 that the SR is scheduled to be repeated periodically if the UE does not receive a
  16 resource grant by the next SR opportunity (possibility). (Ex. 1375 at p. 12, 2:7–10;
  17 Ex. 1416 at pp. 344-345, Fig. 13.3.)
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                    FIGURE 47: Scheduling Request Repeated (PDX 91)
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  25        280. If the UE has already received a resource grant in response to an SR,
  26 then it can request additional uplink resources by sending a buffer status report
  27 (BSR) rather than an SR, as illustrated below in Figure 48 (see purple uplink
  28 transmission). (Ex. 1375 at p. 12, 2:11–26.) A BSR provides information about

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   1 data received into the UE’s buffer, including whether and how much resources are
   2 needed. (Id.)
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  10            FIGURE 48: No Repeated SR Needed Due to BSR (PDX 92)
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  12        281. Nevertheless, as shown in Figure 49 below, if the SR opportunity
  13 occurs after the grant is received but before the BSR is sent, an unnecessary SR may
  14 be transmitted (the blue SR transmitted between the red resource grant and the
  15 purple uplink transmission). (Ex. 1375 at p. 13, 3:42–55.) To address this issue,
  16 Ericsson’s purported solution in the P28747 Family attempts to reduce the
  17 unnecessary transmission of SRs by imposing certain conditions that must be met
  18 for an SR to be sent. (Id.)
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  27                 FIGURE 49: Unnecessary SR Transmission (PDX 93)
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   1                      b.    Ericsson’s SR Trigging Scheme
   2         282. Based on the patent specification and the file history, I determined the
   3 key limitation of Claim 1 of the ’565 Patent to be “sending a scheduling request to
   4 the base station when a next scheduling request opportunity occurs, only if the
   5 buffer contains data that has both not been accounted for in a buffer status report,
   6 which reports the size of said buffer to the base station, and will not be included
   7 directly in a currently scheduled uplink data transmission.” Through its claim chart,
   8 Ericsson attempts to map this key claim limitation to the following key accused
   9 feature in the 4G standard: Sending an SR when specific conditions are met—i.e.,
  10 only when buffered data is new and unscheduled. This key accused feature
  11 corresponds to the portion of the accused 4G standard shown below.
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       (Ex. 1438 at p. 25.)
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  18         283. By conditioning the sending of SRs on transmission data being new
  19 and unscheduled, Ericsson’s scheme avoids the UE sending an SR whenever it has
  20 data, regardless of whether the data is new or unscheduled. Figure 50 below
  21 illustrates an example of Ericsson’s scheme, and particularly the cancellation of the
  22 unnecessary SR that was sent after the resource grant is received in Figure 49 above.
  23 In this particular example, the data is already scheduled at the time of the SR
  24 opportunity after the grant is received (e.g., the BSR is built before the SR
  25 opportunity). Thus, Ericsson’s solution cancels and does not send the SR (hence,
  26 the red “X” below).
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   9              FIGURE 50: Ericsson’s SR Triggering Scheme (PDX 94)

  10                     c.     Ericsson’s SR Triggering Scheme Provides No
  11                            Improvement to 4G Relative to Available Alternatives.
  12        284. I assigned a Contribution Rank of “4” to Ericsson’s patent family
  13 P28747, meaning that the key accused feature corresponding to Ericsson’s SR
  14 triggering scheme provides no improvement to the 4G standard relative to available
  15 alternatives.
  16        285. For example, a Change Request proposed by ASUSTeK’s before
  17 Ericsson filed its provisional application for the ’565 Patent in the P28747 Family
  18 presents a non-infringing alternative that solves the same problem as the key
  19 accused feature corresponding to Ericsson’s SR triggering scheme. (Ex. 1443.)
  20 Namely, as shown below, ASUSTeK’s proposed edit to § 5.4.4 cancels all pending
  21 SRs if there is no triggered BSR.
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       (Id. at 2.)
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  17          286. There is no triggered BSR when all pending data can be accommodated
  18 by the uplink grant. That is, if a BSR was triggered at some point in the past (e.g.,
  19 when the grant was received in Figure 50 above) but there has been an allocation in
  20 the meantime and there is no additional data for transmission in the logical channels,
  21 then ASUSTeK’s proposed change cancels all BSRs (as well as RACH procedures).
  22 (Id. at 3.) For example, ASUSTeK proposed modifying § 5.4.5 as shown below.
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  27 (Id. at 3.)
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   1         287. In the example of Figure 50, by canceling the triggered BSR, the SR
   2 would also be cancelled because all pending SRs shall be cancelled when there is no
   3 triggered BSR. In particular, triggered BSRs are cancelled when all pending data
   4 can be accommodated by granted resources or when the BSR is included in a packet
   5 for transmission. If a BSR was triggered but there has been a resource grant and
   6 there is no data that cannot be accommodated for the scheduled transmission that
   7 includes a BSR, then the proposal cancels all triggered BSRs, thus also cancelling
   8 pending SRs. Thus, ASUSTeK’s prior alternative solution addresses the same
   9 problem as Ericsson’s SR triggering scheme (i.e., unnecessary SR transmission).
  10        288. Moreover, it is clear from the redlined edits to § 5.4.4 and § 5.4.5 in
  11 ASUSTeK’s Change Request shown below, that ASUSTeK’s proposed changes
  12 would have required relative minor modifications to two sub-sections of a single TS.
  13 Similarly, TDoc R2-095380, which I understand to be Ericsson’s contribution that
  14 purportedly correlates to the ’565 Patent, also shows that the key accused feature in
  15 redline affected the single sub-section of the same TS, and did so in a relatively
  16 minor way.
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  17 (Ex. 1452 at p. 2.)
  18       289. Accordingly, Ericsson’s narrow solution could have been easily
  19 replaced with ASUSTeK’s in the 4G standard without materially impacting other
  20 parts of the standard. Because Ericsson’s SR triggering scheme provides no
  21 improvement to the 4G standard compared to ASUSTeK’s prior alternative solution,
  22 I assigned it a Contribution Rank of “4.”
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   1               7.    Contribution Analysis Results
   2        290. Figure 51 below illustrates the breakdown of the Contribution Ranks
   3 for all family/standard pairs Ericsson considers essential to the 2G, 3G, and/or 4G
   4 standards, including expired patents.
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  19                                FIGURE 51 (PDX 95)
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   1        291. Figure 52 below illustrates the breakdown of the Contribution Ranks
   2 for all family/standard pairs Ericsson considers essential to the 2G standard,
   3 including expired patents.
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                                     FIGURE 52 (PDX 96)
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   1        292. Figure 53 below illustrates the breakdown of the Contribution Ranks
   2 for all family/standard pairs Ericsson considers essential to the 3G standard,
   3 including expired patents.
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                                     FIGURE 53 (PDX 97)
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   1        293. Figure 54 below illustrates the breakdown of the Contribution Ranks
   2 for all family/standard pairs Ericsson considers essential to the 4G standard,
   3 including expired patents.
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  19                                 FIGURE 54 (PDX 98)
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  21        E.     Overall Results of the SEP Analysis
  22        294. Figure 55 below illustrates the breakdown of the Importance and
  23 Contribution Ranks for 146 family/standard pairs that Dr. Jayant and I determined to
  24 have an Essentiality Rank of “1” or “2” with respect to the 2G, 3G, and/or 4G
  25 standards. To be conservative, Figure 55 also includes expired patents, as well as 10
  26 family/standard pairs with an Essentiality Rank of “2” even though these pairs are
  27 not essential to the standards under a proper claim construction.
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  24                                FIGURE 55 (PDX 99)
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  26        295. As shown in Figure 55 above, only eight or 3.7% of the 219
  27 family/standard pairs directed to the 2G, 3G, and/or 4G standards have an
  28 Importance Rank of “1” and a Contribution Rank of “1.” These eight

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   1 family/standard pairs (represented by the green bubble) are directed to accused
   2 technologies and key features that are technically valuable to the relevant standards.
   3 In addition, the key features for these eight family/standard pairs are technically
   4 valuable to the relevant standards relative to alternatives that were available at the
   5 times the key features were adopted into the standards.
   6         296.   Furthermore, of the 219 family/standard pairs, only five or 2.3%
   7 (represented by the yellow bubble) are directed to accused technologies and key
   8 features that are of moderate technical value or importance to the relevant standards.
   9 Moreover, the key features for these five family/standard pairs provide moderate
  10 improvements to the standards relative to alternatives that were available at the
  11 times the key features were adopted into the standards.
  12         297. In other words, the vast majority (206 or 94%) of Ericsson’s 219
  13 family/standard pairs directed to the 2G, 3G, and/or 4G standards are not technically
  14 valuable. First, 73 of these 219 family/standard pairs (or 33.3%) have an
  15 Essentiality Rank of “3” and thus are not essential to the 2G, 3G, and 4G standards
  16 under any reasonable claim construction. (See Figure 55 above.) Second, of the
  17 remaining 146 family/standard pairs with an Essentiality Rank of “1” or “2,” 133
  18 pairs (or 60.7%) (represented by red bubbles) are directed to accused technologies
  19 or key features that are of little or no importance to the relevant standards and/or
  20 provide at best marginal improvements to the standards relative to alternatives that
  21 were available at times the key features were adopted into the standards.
  22         298. For example, eight family/standard pairs have an Importance Rank of
  23 “1” and a Contribution Rank of “4.” For these family/standard pairs, the accused
  24 technologies and the key features of these pairs are technically valuable to the
  25 relevant standards. Nevertheless, the key features for these family/standard pairs
  26 provide no improvement to the relevant standards relative to alternatives that were
  27 available at the times the key features were adopted into the standards. Therefore,
  28 these family/standard pairs provide little to no overall technical value to the

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   1 standards.
   2         299. For 2G in particular, Figure 56 below illustrates the breakdown of the
   3 Importance and Contribution Ranks for 30 family/standard pairs that were
   4 determined to have an Essentiality Rank of “1” or “2.” To be conservative, I
   5 included five families for which all the patents are expired and one patent
   6 family/standard pair with an Essentiality Rank of “2.” As shown in Figure 56, of
   7 the 30 family/standard pairs , 26 pairs (or 87%) (represented by the red bubbles) are
   8 directed to accused technologies or key features that are of little or no importance to
   9 the 2G standard and/or provide at best marginal improvements to the standard
  10 relative to alternatives that were available at times the key features were adopted
  11 into the 2G standard. Thus, these 26 family/standard pairs provide little to no
  12 intrinsic technical value to the standard.
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  24                             FIGURE 56 (PDX 100)

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   1         300. For 3G in particular, Figure 57 below illustrates the breakdown of the
   2 Importance and Contribution Ranks for 35 family/standard pairs that were
   3 determined have an Essentiality Rank of “1” or “2.” To be conservative, I included
   4 two families for which all the patents are expired and two patent family/standard
   5 pairs with an Essentiality Rank of “2.” As shown in Figure 57, of the 35
   6 family/standard pairs, 30 pairs (or 86%) (represented by the red bubbles) are
   7 directed to accused technologies or key features that are of little or no importance to
   8 the 3G standard and/or provide at best marginal improvements to the standard
   9 relative to alternatives that were available at times the key features were adopted
  10 into the 3G standard. Thus, these 30 family/standard pairs provide little to no
  11 intrinsic technical value to the standard.
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  24                             FIGURE 57 (PDX 101)

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   1         301. For 4G in particular, Figure 58 below illustrates the breakdown of the
   2 Importance and Contribution Ranks for 81 family/standard pairs that were
   3 determined to have an Essentiality Rank of “1” or “2.” To be conservative, I
   4 included seven patent family/standard pairs with an Essentiality Rank of “2.” As
   5 shown in Figure 58, of the 81 family/standard pairs, 77 pairs (or 95%) (represented
   6 by the red bubbles) are directed to accused technologies or key features that are of
   7 little or no importance to the 4G standard and/or provide at best marginal
   8 improvements to the standard relative to alternatives that were available at times the
   9 key features were adopted into the 4G standard. Thus, these 81 family/standard
  10 pairs provide little to no intrinsic technical value to the standard.
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  24                             FIGURE 58 (PDX 102)

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   1        302. Table 5 below provides the results of the Essentiality, Importance, and
   2 Contribution analysis of Ericsson’s 219 family/standard pairs. This includes Dr.
   3 Jayant’s analyses of 20 family/standard pairs directed to speech coding.
   4
   5                                 TABLE 5 (PDX 103)
   6                    SUMMARY OF SEP ANALYSIS FINDINGS
   7        Ericsson
                         Standard      Essentiality    Importance     Contribution
             Family
   8
            P04787          3G              3               —               —
   9
             P04817         2G              1               1               3
  10
             P04940         2G              3               —               —
  11         P05544         2G              1               3               4
  12         P05687         2G              1               2               4
  13         P05860         3G              1               3               4
  14         P05935         2G              1               1               1
  15         P06199         2G              1               2               4
  16         P06199         3G              1               2               4
  17         P06203         3G              1               1               3

  18         P06203         4G              1               1               4
             P06425         2G              3               —               —
  19
             P06553         2G              1               3               3
  20
             P06691         2G              3               —               —
  21
             P06691         4G              3               —               —
  22
             P06697         4G              3               —               —
  23         P06699         2G              3               —               —
  24         P06891         3G              3               —               —
  25         P07288         2G              1               1               4
  26         P07567         4G              3               —               —
  27         P07592         3G              3               —               —
  28         P07669         3G              3               —               —

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   1                               TABLE 5 (PDX 103)
   2                   SUMMARY OF SEP ANALYSIS FINDINGS
   3        Ericsson
                        Standard    Essentiality   Importance     Contribution
             Family
   4
            P07707         2G            3              —               —
   5
             P07761        2G            3              —               —
   6
             P07782        2G            3              —               —
   7         P07873        2G            1               3               3
   8         P07873        4G            1               3               3
   9         P07925        4G            3              —               —
  10         P08153        3G            1               1               4
  11         P08167        3G            3              —               —
  12         P08333        3G            3              —               —
  13         P08333        4G            3              —               —

  14         P08338        3G            1               3               4
             P08425        3G            3              —               —
  15
             P08430        3G            3              —               —
  16
             P08575        3G            3              —               —
  17
             P08769        4G            3              —               —
  18
             P08804        2G            3              —               —
  19         P08804        4G            3              —               —
  20         P09037        2G            1               3               3
  21         P09040        4G            3              —               —
  22         P09085      2G, 3G          1               3               4
  23         P09262        2G            1               2               3
  24         P09262        3G            1               2               3
  25         P09262        4G            1               2               3
             P09286      2G, 3G          1               3               4
  26
             P09632        3G            3              —               —
  27
             P09646        2G            2               1               4
  28

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   1                               TABLE 5 (PDX 103)
   2                   SUMMARY OF SEP ANALYSIS FINDINGS
   3        Ericsson
                        Standard    Essentiality   Importance     Contribution
             Family
   4
            P09715         3G            3              —               —
   5
             P09715        4G            3              —               —
   6
             P09716        3G            1               2               4
   7         P10310      2G, 3G          1               3               3
   8         P10334      2G, 3G          1               3               4
   9         P10335      2G, 3G          1               2               3
  10         P10628        2G            3              —               —
  11         P10628        4G            3              —               —
  12         P10762        2G            1               1               4
  13         P10774      2G, 3G          1               3               4

  14         P10808        3G            1               3               4
             P10808        4G            1               3               4
  15
             P10867        3G            2               2               2
  16
             P10867        4G            2               2               2
  17
             P10896        2G            3              —               —
  18
             P10991      2G, 3G          1               3               3
  19         P10992      2G, 3G          1               1               1
  20         P10993        2G            1               3               3
  21         P11151        2G            1               1               4
  22         P11289        4G            3              —               —
  23         P11451        3G            1               1               4
  24         P11451        4G            1               2               3
  25         P11538        3G            3              —               —
             P11899        3G            1               2               4
  26
             P11899        4G            1               2               4
  27
             P11904        2G            1               2               4
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   1                               TABLE 5 (PDX 103)
   2                   SUMMARY OF SEP ANALYSIS FINDINGS
   3        Ericsson
                        Standard    Essentiality   Importance     Contribution
             Family
   4
            P12207         3G            1               1               1
   5
             P12947        3G            3              —               —
   6
             P12947        4G            3              —               —
   7         P13088        2G            1               3               4
   8         P13459        4G            3              —               —
   9         P14592        4G            3              —               —
  10         P14596        2G            1               3               4
  11         P14596        3G            1               3               4
  12         P14596        4G            1               3               4
  13         P14897        3G            1               3               4

  14         P14897        4G            1               3               4
             P15300        3G            1               2               4
  15
             P15300        4G            1               3               4
  16
             P17631        4G            1               3               3
  17
             P18216        3G            1               3               4
  18
             P18674        4G            1               3               3
  19         P18728        4G            1               1               4
  20         P18740        4G            3              —               —
  21         P19103        4G            3              —               —
  22         P19208        4G            1               3               4
  23         P19559        3G            1               2               2
  24         P19911        3G            1               1               1
  25         P20021        4G            3              —               —
             P20058        2G            1               3               4
  26
             P20671        3G            3              —               —
  27
             P20741        4G            3              —               —
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   1                               TABLE 5 (PDX 103)
   2                   SUMMARY OF SEP ANALYSIS FINDINGS
   3        Ericsson
                        Standard    Essentiality   Importance     Contribution
             Family
   4
            P21172         3G            1               3               4
   5
             P21239        2G            1               3               4
   6
             P21428        4G            3              —               —
   7         P21430        4G            1               3               4
   8         P21738        4G            1               3               4
   9         P21787        4G            3              —               —
  10         P22430        4G            3              —               —
  11         P22621        3G            1               3               4
  12         P22817        2G            3              —               —
  13         P23016        3G            2               3               4

  14         P23018        4G            1               3               3
             P23034        4G            3              —               —
  15
             P23041        3G            1               1               4
  16
             P23384        4G            1               1               3
  17
             P23412        4G            1               2               3
  18
             P23415        4G            3              —               —
  19         P23426        4G            1               3               4
  20         P23563        4G            2               2               4
  21         P23614        4G            3              —               —
  22         P23633        4G            3              —               —
  23         P23682        4G            1               3               3
  24         P23893        4G            1               3               4
  25         P23894        4G            1               3               4
             P23985        4G            2               3               4
  26
             P24000        4G            1               1               4
  27
             P24058        4G            3              —               —
  28

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   1                               TABLE 5 (PDX 103)
   2                   SUMMARY OF SEP ANALYSIS FINDINGS
   3        Ericsson
                        Standard    Essentiality   Importance     Contribution
             Family
   4
            P24228         4G            1               1               4
   5
             P24241        4G            1               2               4
   6
             P24459        4G            1               3               3
   7         P24466        4G            1               3               4
   8         P24557        4G            3              —               —
   9         P24673        4G            1               3               4
  10         P24698        4G            1               3               3
  11         P24860        4G            1               3               4
  12         P24916        4G            1               3               3
  13         P24985        4G            1               3               3

  14         P25005        4G            3              —               —
             P25238        4G            1               1               4
  15
             P25317        4G            1               2               4
  16
             P25318        4G            3              —               —
  17
             P25336        3G            1               3               4
  18
             P25409        4G            2               3               4
  19         P25476        4G            1               3               4
  20         P25496        4G            1               2               4
  21         P25642        4G            1               3               4
  22         P25658        4G            1               3               4
  23         P25936        4G            3              —               —
  24         P25949        4G            3              —               —
  25         P25975        2G            1               2               3
             P25990        4G            3              —               —
  26
             P25999        4G            1               3               3
  27
             P26030        3G            1               1               3
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   1                               TABLE 5 (PDX 103)
   2                   SUMMARY OF SEP ANALYSIS FINDINGS
   3        Ericsson
                        Standard    Essentiality   Importance     Contribution
             Family
   4
            P26071         4G            1               3               4
   5
             P26132        4G            1               3               3
   6
             P26261        4G            1               1               1
   7         P26379        4G            1               3               4
   8         P26648        4G            1               2               4
   9         P26715        4G            1               1               3
  10         P26724        4G            3               3               4
  11         P26744        4G            1               2               4
  12         P26967        4G            2               3               3
  13         P26993        4G            1               2               4

  14         P27011        4G            3              —               —
             P27172        4G            1               2               3
  15
             P27363        3G            3              —               —
  16
             P28186        2G            1               1               1
  17
             P28235        4G            1               3               4
  18
             P28281        4G            3              —               —
  19         P28627        4G            1               3               4
  20         P28747        4G            1               3               4
  21         P29338        4G            3              —               —
  22         P29465        4G            1               1               1
  23         P29482        4G            3               3               4
  24         P30030        4G            1               3               4
  25         P30565        4G            3              —               —
             P30749        4G            1               3               4
  26
             P30980        4G            1               1               4
  27
             P31006        4G            3              —               —
  28

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   1                               TABLE 5 (PDX 103)
   2                   SUMMARY OF SEP ANALYSIS FINDINGS
   3        Ericsson
                        Standard    Essentiality   Importance     Contribution
             Family
   4
            P31172         2G            1               2               2
   5
             P31186        4G            1               3               4
   6
             P31189        4G            1               3               4
   7         P31649        4G            3              —               —
   8         P31755        4G            1               2               2
   9         P31773        4G            1               2               3
  10         P31923        4G            1               1               4
  11         P31931        4G            3              —               —
  12         P31948        4G            3              —               —
  13         P31988        4G            2               1               4

  14         P32066        4G            1               2               3
             P32173        4G            3               3               4
  15
             P32205        4G            2               3               3
  16
             P32468        4G            3               3               4
  17
             P32498        4G            1               3               4
  18
             P32787        4G            1               3               3
  19         P32817        4G            1               3               4
  20         P33108        4G            1               2               4
  21         P33465        4G            1               3               4
  22         P33485        3G            1               3               4
  23         P33858        4G            3              —               —
  24         P34406        4G            1               2               4
  25         P34420        4G            1               2               4
             P34422        4G            1               2               4
  26
             P34426        4G            1               2               3
  27
             P35090        4G            1               1               3
  28

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   1                                  TABLE 5 (PDX 103)
   2                     SUMMARY OF SEP ANALYSIS FINDINGS
   3         Ericsson
                          Standard      Essentiality     Importance      Contribution
              Family
   4
             P35129           4G              1               3                3
   5
             P35168           3G              1               3                4
   6
             P35575           4G              1               3                4
   7         P35592           3G              1               3                4
   8         P37106           4G              3               3                4
   9         P37869           4G              1               2                3
  10         P38458           3G              3               3                4
  11
  12         F.    Review of Uncharted Ericsson Patent Families
  13         303. Of the 235 relevant patent families that Ericsson contends are essential
  14 to the 2G, 3G, and/or 4G standards and had designated as being relevant to UE,
  15 Ericsson did not provide claim charts for 43 families before I served my opening
  16 report. I refer to these as the “43 uncharted patent families.” Ericsson identified
  17 seven of the 43 uncharted patent families as being directed to the 2G standard, 11
  18 patent families as being directed to the 3G standard, and 25 patent families as being
  19 directed to the 4G standard. All but one of the 43 uncharted patent families are
  20 directed to the air interface.
  21         304. I did not perform an in-depth SEP Analysis of the 43 uncharted
  22 families as I did with the 180 charted patent families. I did, however, review some
  23 of the patents and, in many cases the pending applications, and the respective
  24 standards for the 43 uncharted patent families identified by Ericsson. For the
  25 uncharted families I reviewed, I did not find any of the patented technologies more
  26 likely to be valuable in terms of essentiality, importance, and contribution relative to
  27 the patented technologies in the 180 charted patent families that I analyzed in detail.
  28         305. Within the 43 uncharted patent families, at least 10 patent families

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   1 contain a pending U.S. patent application that, according to the most recent USPTO
   2 information at the time I submitted my expert report, stood rejected as not
   3 containing patentable material.
   4        306. Of the 11 alleged 3G-related uncharted patent families, two, or about
   5 18%, had rejected, non-issued U.S. applications. Of the 25 alleged 4G-related
   6 uncharted patent families, eight, or about 32%, had rejected, non-issued U.S.
   7 applications.
   8        307. Furthermore, it is my understanding that companies like Ericsson that
   9 generate significant revenue by licensing their patents tend to chart the patents
  10 deemed more valuable. For instance, such patent-licensing companies typically sue
  11 or threaten to sue other companies with patent infringement lawsuits to pressure
  12 them into licensing agreements. Naturally, one would expect the patent-licensing
  13 companies to select and chart SEPs that are more likely to read on the accused
  14 products or standard. Accordingly, there is nothing indicating to me that the 43
  15 uncharted patent families are more likely to be technically valuable relative to the
  16 192 charted patent families.
  17 VI.    INDUSTRY-WIDE ESSENTIALITY ANALYSIS OF 2G, 3G and 4G
  18        USER EQUIPMENT PATENTS
  19        A.       Objective and Team
  20        308. In connection with my objective of assisting the Court in determining
  21 FRAND rates for Ericsson’s portfolios of alleged 2G, 3G, and 4G SEPs, I conducted
  22 an Industry-Wide Essentiality Analysis of all declared-essential patent families.
  23 This analysis provides a benchmark to which I understand Ericsson’s SEP portfolio
  24 is to be compared. There were two major steps in the Industry-Wide Essentiality
  25 Analysis.
  26        309. The first step was a Patent Census. The Patent Census involved
  27 determining basic information about the global universe of all patents declared
  28 essential to the 2G, 3G, and/or 4G standards by all assignees, as well as Ericsson’s

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   1 relative position among the holders of such declared-essential patents.
   2         310. The second step was an Essentiality Assessment. The Essentiality
   3 Assessment is separate and distinct from the SEP Analysis described above in
   4 Section V.A and V.B. Whereas the SEP Analysis involved analyzing Ericson’s
   5 alleged SEPs using claim charts Ericsson has provided in this case, the Essentiality
   6 Assessment involved determining which of the declared-essential patents identified
   7 in the Patent Census includes a claim that is essential to the 2G, 3G, and/or 4G
   8 standards with respect to User Equipment (UE). Unlike the SEP Analysis, the
   9 Essentiality Assessment was not based on standards identified in claim charts, but
  10 instead primarily involved comparing declared-essential patents the standards
  11 identified in IPR declarations the patent holders have submitted to ETSI. Thus, in
  12 addition to determining essentiality for declared-essential patents, the Essentiality
  13 Assessment involved determining, for each of the 2G, 3G, and 4G standards, ratios
  14 of (a) essential patents to (b) declared-essential patents on a per-assignee basis.
  15 These ratios are also referred to as “essentiality ratios.”
  16         311. Due to the number of patents involved in the Patent Census and
  17 Essentiality Assessment studies, TCL’s counsel in this litigation, the law firm of
  18 Sheppard, Mullin, Richter & Hampton LLP, commissioned Ernst & Young of India
  19 (“EY India”) to assist with the Patent Census, and Concur IP, a technical consulting
  20 company located in India, to assist with the Essentiality Assessment. The team at
  21 EY India was led by Mr. Nitin Agrawal, whose qualifications are set forth in his
  22 curriculum vitae. (Ex. 1602.) The EY India team has substantial experience in
  23 patent analytics, and the team members have educational backgrounds in various
  24 engineering disciplines.
  25         312. For the Essentiality Assessment, Sheppard Mullin engaged Concur IP’s
  26 team of engineers, led by Sachin Sinha, to assist in analyzing the essentiality of
  27 declared-essential patents. I worked with Dr. Zhi Ding to supervise Concur IP’s
  28 work in the Essentiality Assessment. Dr. Ding provided details regarding his

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   1 supervision of Concur IP, in his February 1, 2016 Expert Report submitted in this
   2 case, which I have reviewed and fully agree with. I also understand that Dr. Ding
   3 will be including these details in his Witness Declaration.
   4        313. Dr. Ding’s qualifications are set forth in his Witness Declaration. The
   5 Concur IP team was also well qualified to perform the Essentiality Assessment. For
   6 example, Mr. Sinha holds a Bachelor of Technology in Electronics and
   7 Communications Engineering. He has over nine years of experience in IP
   8 consulting services performing patent evaluation, analysis, and research, in addition
   9 to over one year experience working with one of the largest telecommunications
  10 operators in India. His primary expertise is mapping patents to products and
  11 technical standards, particularly cellular communications standards, to determine
  12 potential infringement or essentiality. In the past, he has led some of the most
  13 comprehensive studies on cellular SEPs. Major companies have relied upon these
  14 studies for important business decisions, patent negotiations, and international
  15 arbitrations. Mr. Sinha’s curriculum vitae provides additional information regarding
  16 his qualifications and relevant experience. (Ex. 1598.)
  17        314. Sanjay Nama, Samkeet Mehta, and Vivek Sharma, other members of
  18 the Concur IP team that participated in the Essentiality Assessment under Mr.
  19 Sinha’s lead, are also qualified for the work. (See Exs. 1596, 1597, 1599.) Mr.
  20 Nama holds a Bachelor of Technology in Electrical Engineering, and has over seven
  21 years of experience in IP consulting, including patent landscape analysis and
  22 mapping patents to technical standards (particularly the 3G and 4G standards). (Ex.
  23 1599.) Mr. Mehta holds a Master’s of Science in Electrical engineering from
  24 UCLA, as well as a Bachelor of Engineering in Electronics and
  25 Telecommunications, and has over three years of experience in IP services,
  26 including with essentiality analysis for patents relating to 3GPP standards such as
  27 3G and 4G, and with IEEE wireless network standards. (Ex. 1596.) Mr. Sharma
  28 holds a Bachelor in Technology in Electronics and Communication Engineering,

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   1 and has over six years of experience in IP consulting, including patent-to-standard
   2 mapping and patent landscape analysis in the domain of cellular communications.
   3 (Ex. 1597.)
   4        315. In connection with my oversight and supervision of both the Patent
   5 Census and the Essentiality Assessment, I spent a week in New Delhi. During this
   6 time, I met extensively with Mr. Agrawal and the EY India team and planned many
   7 details regarding the Patent Census. I also met extensively with Sachin Sinha and
   8 his team at Concur IP during my trip to India. Following my meetings with EY
   9 India and Concur IP, I continued to supervise the EY India team directly through
  10 regularly scheduled weekly teleconferences that included TCL’s counsel, and
  11 through further discussion as needed. Similarly, I participated, along with Dr. Ding
  12 and counsel for TCL, in regularly scheduled conference calls and ad hoc discussions
  13 with Concur IP regarding the progress and results of the Essentiality Assessment.
  14        B.     Step 1—Patent Census
  15        316. I now discuss the process and results of the Patent Census, which at a
  16 high level involved determining basic information about the global universe of all
  17 patents declared essential to the 2G, 3G, and/or 4G standards by all assignees.
  18               1.    Patent Census Process
  19        317. The Patent Census analysis is based on publicly available information
  20 from the ETSI IPR database and the European and U.S. Patent Office databases.
  21 The starting point for information covered in the Census was the ETSI IPR database.
  22 Under my supervision, EY India performed the Census on all (at the time,
  23 153,000+) patents and patent applications declared to ETSI as being essential. My
  24 understanding is that EY India extracted the relevant information from ETSI on
  25 September 15, 2015.
  26                     a.    Gathering and De-Duplicating Data
  27        318. As explained above, ETSI is a key international cellular standard-
  28 setting organization that maintains standards for 2G (GSM, GPRS & EDGE), 3G

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   1 (UMTS), and 4G (LTE) cellular technology. ETSI provides an online electronic
   2 database of all patent declarations submitted to it. These declarations can be
   3 downloaded, organized, and tracked in a spreadsheet. The EY India team extracted
   4 the information from all the declarations as stored on the ETSI IPR database as of
   5 September 15, 2015. At the time, there were over 1,800 patent declarations to
   6 extract. Because some patents are declared multiple times (e.g., the same patent
   7 may be listed in two or more declarations), the EY team de-duplicated the data.
   8 After de-duplication, 119,850 patents and applications remained.
   9                     b.     Adding in Family Members
  10        319. According to ETSI rules, if a patent or patent application is declared
  11 essential, then the other members of the same patent family are deemed to be
  12 declared essential. Therefore, for each declared-essential patent, the EY India Team
  13 determined which additional family members had not been expressly declared
  14 essential. This was done using the INPADOC database. “INPADOC” stands for
  15 INternational PAtent DOcumentation Center, and is a database produced and
  16 maintained by the European Patent Office. It is a frequently-used, and probably the
  17 best-recognized, source of patent family information. As shown in Table 6 and
  18 Figure 59 below, this step resulted in an additional 34,030 patents and applications
  19 added to the Census, for a grand total of 153,880 patents and applications either
  20 expressly declared essential or considered declared due to ETSI’s patent family rule.
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   1
                                                              No. of
   2                     ETSI Patent Declarations
                                                              Patents
   3
                  Explicitly declared to ETSI                 119,850
   4
   5              Considered declared by implicit rule         34,030

   6              Total declarations to ETSI                  153,880
   7
                          TABLE 6: The Patent Census Includes
   8
             Family Members of Declared Patents, Per ETSI Rules (PDX 104)
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  26           FIGURE 59: Patents Explicitly Declared Essential to ETSI v.
  27        Patent Family Members Implicitly Considered Essential (PDX 105)
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   1        320. This large number of patents and applications was known to include
   2 patents that have expired and thus (in my understanding) have no value. In addition,
   3 my understanding is that pending patent applications also confer no value to the
   4 extent they have not been granted and thus confer no exclusionary rights. In order
   5 to perform a useful analysis, we determined the distribution of this set of patents and
   6 applications into mutually exclusively and collectively exhaustive subsets. Namely,
   7 the data showed that about 82,533 of the 153,880 patents and applications were
   8 issued and as of January 1, 2009, had not expired. Another 68,309 were un-issued
   9 patent applications. The final 3,038 were patents that expired before January 1,
  10 2009. This is depicted in Table 7 and Figure 60 below.
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   1                                                           Issued/Expired
   2                                                              Patents &
                              Declaration Status
                                                                  Published
   3                                                            Applications
   4
                    Issued & Not Expired Patents                    82,533
   5
   6                Expired Patents                                  3,038
   7
   8                Published Applications                          6,8309
   9
                    Grand Total                                    153,880
  10
  11            x The Patent Census is further divided into three different
  12              categories: (1) Issued and Not Expired Patent, (2) Expired
                  Patent, and (3) Published Applications. Only about 2% of
  13              the dataset is identified as expired based on the following
  14              expiration criteria:
                x All non-U.S. patents, and all U.S. patents filed on or after
  15
                  June 8, 1995, that are more than 20 years past the priority
  16              date.
                x All U.S. patents filed before June 8, 1995, that are both more
  17
                  than 20 years past the priority date and more than 17 years
  18              past the issuance date.
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  20                   TABLE 7: Patents/Applications by Status (PDX 106)
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                   FIGURE 60: Patents/Applications by Status (PDX 107)
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  17         321. The expiration dates were calculated based on the criteria set forth
  18 above in Table 7. Neither patent term extensions nor terminal disclaimers were
  19 considered, because doing so would require looking at information for each patent
  20 individually and thus would have been prohibitively time-consuming. The Census
  21 results should not be substantially affected by this approach, for several reasons.
  22 First, the method treats all companies equally. Second, term extensions extend
  23 patent terms, usually by less than two years in the U.S., while terminal disclaimers
  24 reduce patent terms, thus helping net out imprecision. Third, the census contains a
  25 relatively small number of expired patents, i.e., almost 2%.
  26                      c.    Grouping Patents and Applications into Families
  27         322. The next step in the Patent Census was to group the 153,880 patents
  28 and applications into families, again using the INPADOC database. As explained

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   1 above, considering patents on a family basis makes sense for several reasons. First,
   2 the ETSI policy itself groups patents this way. Second, patents in the same family
   3 typically relate to the same invention. For example, companies often seek patents
   4 containing identical claims in different countries, while continuation applications in
   5 the same country are based on the same patent specification and contain related
   6 claims. However, a divisional application is considered by the U.S. Patent Office to
   7 represent a new invention. Therefore, patents resulting from divisional applications
   8 were placed in new families. This process resulted in a total of 20,156 post
   9 divisional families, including 1,276 divisional families. While most patent families
  10 contain a handful of patents, a few patent families contain hundreds of patents.
  11        323. Each of the 20,156 post divisional patent families was then classified
  12 into five groups:
  13               1)    Families with at least one issued and non-expired patent
  14                     (calculated as of January 1, 2009) and having an English
  15                     language member;
  16               2)    Families with at least one issued and non-expired patent,
  17                     without an English language member;
  18               3)    Families with only expired members;
  19               4)    Families with only published applications (i.e., no issued
  20                     patents); and
  21               5)    Patents or patent applications whose family information
  22                     is not available from the INPADOC database.
  23        324. The primary purpose of this family classification was to identify patent
  24 families that did not require further analysis, because they did not contain any issued
  25 patents, contained only expired patents, or could not be classified based on
  26 INPADOC information.
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   1                      d.    Gathering Additional Data for Each Patent Family
   2        325. Using the ETSI declarations, as well as the Thomson Innovation
   3 extended patent database and Derwent World Patents Index (two patent information
   4 databases to which the EY India Team had access), additional data was gathered
   5 about each patent family that includes both issued patents and pending applications
   6 (which I will, for convenience, refer to collectively as “patents”). The data included
   7 the assignees of the patents, the standards that the patents were declared essential to,
   8 the ETSI projects that the patents were declared essential to (e.g., LTE), the patents’
   9 issuance status, as well as the patents’ priority dates and expiration dates. This data
  10 was used to determine the distribution of the families across each of the five groups
  11 defined above. The results of the distribution are depicted graphically below in
  12 Figure 61 and shown further below in Table 8.
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  17         FIGURE 61: Classification of Patents into Five Groups (PDX 108)
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   1                                                          No. of Patents/
                                Group
   2                                                           Applications
   3           [1] Families with at least one issued
   4               and non-expired patent (calculated
                                                                      11,469
                   as of January 1, 2009), and having
   5               an English-language member
   6
   7           [2] Families with at least one issued
                   and non-expired patent, without an                 3,288
   8               English-language member
   9
  10           [3] Families with only expired
                                                                       719
                   members
  11
  12           [4] Families with only published
                                                                      3,585
  13               applications (i.e., no issued patents)

  14
               [5] Patents or patent applications whose
  15               family information is not available                1,095
  16               from the INPADOC database

  17
  18          TABLE 8: Classification of Patents into Five Groups (PDX 109)
  19
  20                     e.     Classifying Each Patent Family by Cellular Generation
  21                            (2G, 3G, 4G)
  22        326. Next, each patent family was classified as relevant to 2G (e.g., GSM),
  23 3G (UMTS), and/or 4G (LTE), based mainly on the standards to which the family
  24 (i.e., at least one member of the family) was declared essential. For example, if a
  25 company declared that a patent was relevant to standards 3GPP TS 25.212 and TS
  26 36.212 (whether in the same or different declarations), the patent was classified as
  27 “3G” and “4G,” because these two Technical Specifications relate to these
  28 respective “generations.” The information relating the generations to a given

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   1 standard or Technical Specification is publically available on 3GPP’s web site. In
   2 some instances, the ETSI declarations did not clearly identify a particular Technical
   3 Specification or standard, but instead, the patent was declared essential to “2G,”
   4 “3G,” and/or “4G.” In those instances, the ETSI declaration was considered
   5 accurate for purposes of the Patent Census.
   6                       f.    Designating Patent Families for Further Analysis
   7         327. In another aspect of the Patent Census, the 11,469 families having an
   8 issued, non-expired patent and an English language member were designated for
   9 further analysis by a separate team of engineers led by Mr. Sachin Sinha of Concur
  10 IP. In particular, Concur IP was instructed to analyze these 11,649 patent families
  11 to determine: (1) which patent families contained at least one UE claim, and (2)
  12 whether or not a declared-essential UE family is essential. (See Ex. 551 at p. 1.) In
  13 the next Section (VI.B.2), I present the distribution of declared-essential UE patent
  14 families (i.e., the patent families identified in the Patent Census (i.e., step (1)), by
  15 generation, across all the assignees. (Ex. 445.) Later on, in Section VI.C.1, I
  16 discuss in detail the methodology and results of Concur IP’s Essentiality
  17 Assessment that determined whether or not the identified patent families containing
  18 at least one UE claim are essential (as opposed to just declared-essential—i.e., step
  19 (2)).
  20                2.     The Patent Census Shows Ericsson’s Share of Declared-Essential
  21                       2G, 3G, and 4G Families is Relatively Small.
  22         328. The Patent Census shows that as of September 15, 2015, there were
  23 over 153,000 patents and applications declared essential to the 2G, 3G, and/or 4G
  24 cellular standards at issue in this litigation. As described above, these patents were
  25 organized into families. There were 11,469 “relevant” families identified (i.e.,
  26 families with at least one issued and non-expired patent as of January 1, 2009,
  27 having an English-language member). The results of the Patent Census are
  28 presented on a generation basis, separately for 2G, 3G, and 4G. Further, the total

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   1 number of declared-essential families is “split” into families that have UE claims
   2 (“UE families”) and those that do not have any UE claims (“non-UE families”). For
   3 UE families, I provide Ericsson’s holdings and its position among top UE family
   4 assignees.
   5        329. For 2G, the total number of declared-essential families was determined
   6 to be 2,398, of which 1,182 (about 49%) were found to be UE families. Of the
   7 1,182 UE families, Ericsson ranked third with 107 families, or about 9%. The
   8 absolute numbers for UE families for the top 15 assignees is shown in Table 9
   9 below, and a graphical representation giving the relative contributions of each
  10 company are shown in the accompanying Figure 62 further below. As shown
  11 below: Nokia was found to hold the most 2G declared-essential families, with 224
  12 (almost 19%); Qualcomm was next, with 175 families (almost 15%); and Ericsson
  13 was third with 107 families (i.e., about 9%).
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   1                                              No. of 2G UE
                             Assignee
   2                                                Families
                       NOKIA                           224
   3
                       QUALCOMM                        175
   4                   ERICSSON                        107
   5                   INTERDIGITAL                    87
   6                   BLACKBERRY                      86
                       GOOGLE                          80
   7
                       HUAWEI                          51
   8                   NTT                             21
   9                   NEC CORP                        22
  10                   APPLE                           23
                       LG                              23
  11
                       SAMSUNG                         19
  12
                       PANASONIC                        9
  13                   TEXAS
                                                        1
  14                   INSTRUMENTS
                       SHARP                            0
  15
                       ALL OTHERS                      254
  16                        TOTAL                     1,182
  17
  18             TABLE 9: 2G Declared-Essential UE Families (PDX 110)
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  15                             FIGURE 62 (PDX 111)

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   1        330. For 3G, the total number of declared-essential families was determined
   2 to be 5,127, of which 2,947 (about 57%) were found to be UE families. Of the 2,947
   3 UE families, Ericsson ranked fourth with 199 families, or about 7%. The absolute
   4 numbers for UE families for the top 15 assignees is shown in the Table 10 below,
   5 and a graphical representation giving the relative contributions of each company are
   6 shown in the accompanying Figure 63 further below. As shown below: Qualcomm
   7 was found to hold the most 3G declared-essential families, with 520 families
   8 (almost 18%); Nokia was number two, with 339 families (almost 12%); Interdigital
   9 was number three, with 267 families (about 9%) and Ericsson was fourth, with 199
  10 families (almost 7%).
  11                                                 No. of 3G UE
                               Assignee
  12                                                   Families
                        QUALCOMM                          520
  13
                        NOKIA                             339
  14                    INTERDIGITAL                      267
  15                    ERICSSON                          199
  16                    GOOGLE                            164
                        SAMSUNG                           157
  17
                        LG                                146
  18
                        BLACKBERRY                        101
  19                    HUAWEI                            99
  20                    NTT                               74
  21                    NEC CORP                          66
                        PANASONIC                         47
  22
                        APPLE                             37
  23                    TEXAS
                                                           23
  24                    INSTRUMENTS
                        SHARP                              8
  25
                        ALL OTHERS                        700
  26
                             TOTAL                       2,947
  27
  28             TABLE 10: 3G Declared Essential UE Families (PDX 112)
                                              168
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  15                             FIGURE 63 (PDX 113)
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   1        331. For 4G, the total number of declared-essential families was determined
   2 to be 7,638, of which 5,024 (about 66%) were found to be UE families. Of the
   3 5,024 UE families, Ericsson ranked fifth with 311 families, or about 6%. The
   4 absolute numbers for UE families for the top 15 assignees is shown in the Table 11
   5 below, and a graphical representation giving the relative contributions of each
   6 company are shown in the accompanying Figure 64 below. As shown below:
   7 Qualcomm was found to hold the most declared-essential 4G families, with 654
   8 (about 13%); Samsung was number two, with 649 families (almost 13%); Nokia
   9 was number three, with 414 families (about 8%); Google was number four, with 321
  10 families (about 6%); and Ericsson was fifth, with 311 families (i.e., about 6%).
  11                                                 No. of 4G UE
                                Assignee
  12                                                   Families
  13                     QUALCOMM                          654
                         SAMSUNG                           649
  14
                         NOKIA                             414
  15                     GOOGLE                            321
  16                     ERICSSON                          311
  17                     LG                                293
  18                     INTERDIGITAL                      286
                         NTT                               205
  19
                         HUAWEI                            191
  20                     SHARP                             145
  21                     PANASONIC                         143
  22                     BLACKBERRY                        132
                         APPLE                             118
  23
                         NEC CORP                          109
  24                     TEXAS
                                                           94
  25                     INSTRUMENTS
                         ALL OTHERS                       959
  26
                             TOTAL                        5024
  27
  28               TABLE 11: 4G Declared Essential Families (PDX 114)
                                               170
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                                     FIGURE 64 (PDX 115)
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  16         332. The Patent Census also shows that Ericsson’s patent portfolio has
  17 experienced a relative decline. Even though Ericsson’s absolute number of patent
  18 families has grown (e.g., from 107 in 2G, to 199 in 3G, and then 311 in 4G), the
  19 relative strength of Ericsson’s portfolio has declined over time. For example, for 2G
  20 Ericsson was third with 9% of the total share; for 3G it was fourth with 7% of the
  21 total share; and for 4G it was fifth with 6% of the total share. In my opinion, three
  22 primary reasons for Ericsson’s relative decline are: (1) a substantial number of
  23 patents expiring, (2) a substantial number of patents being divested, and (3)
  24 increased patenting by companies other than Ericsson.
  25         C.    Step 2—Industry-Wide Essentiality Assessment
  26         333. Having discussed the distribution of declared-essential UE patent
  27 families identified in the Patent Census, I now turn to the process and results of the
  28 Essentiality Assessment. The Essentiality Assessment involved analyzing declared-

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   1 essential UE patent families to determine whether or not these patent families are
   2 essential.
   3               1.     Essentiality Assessment Process
   4         334. The purpose of the Essentiality Assessment was to determine whether
   5 industry-wide patents declared to be essential to cellular standards are essential with
   6 respect to User Equipment (UE). The Essentiality Assessment included two distinct
   7 sub-steps. The first sub-step was to determine whether each patent family identified
   8 in the Patent Census contains at least one patent having at least one claim directed to
   9 UE (e.g., mobile devices). This sub-step was applied to those declared-essential
  10 patent families that were designated for further analysis in connection with the
  11 Patent Census. (See Section VI.B, supra.) As I understand it, the TCL products that
  12 will be subject to the license agreement determined in this case are limited to User
  13 Equipment.
  14         335. Thus, the first sub-step of the Essentiality Assessment involved a
  15 review of the English language issued patents and published applications in each
  16 family identified in the Patent Census until a “pure UE” claim was found. (Ex. 551
  17 at p. 1.) For purposes of this analysis, a pure UE claim is an independent claim in a
  18 patent or published application that has all the limitations performed by a UE. If a
  19 pure UE claim was found within a family, then the family was tagged as a UE
  20 family. If all the English language issued patents within the family were reviewed
  21 and no pure UE claim was found, then the family was tagged as a non-UE family.
  22         336. Many of the families identified in the Patent Census do not have any
  23 claims directed to User Equipment. Thus, this first sub-step consisted of narrowing
  24 the scope of the analysis to only the sub-set of families relevant in this case. In
  25 particular, of the 11,469 declared-essential families identified in the Patent Census,
  26 Concur IP identified a total of 7,106 UE families.
  27         337. The second sub-step in the Essentiality Assessment was to analyze the
  28 essentiality of a statistically significant, random sampling of the UE families

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   1 identified in the first sub-step. In this regard, within each of the standards (i.e., 2G,
   2 3G, 4G), one-third of the identified 7,106 UE families were randomly selected
   3 separately for each of the top 15 assignees. Specifically, the random selection was
   4 made from the identified 7,106 UE patent families separately for each of the 2G,
   5 3G, and 4G standards using the “RAND” function in Microsoft Excel. (See Ex.
   6 1594.) Also, the random selection was made separately for each of the top 15 UE
   7 patent family assignees. Outside of the top 15 assignees, all remaining UE patent
   8 families were grouped together (e.g., labeled as “others”), and one third of those
   9 were randomly sampled separately for each of the 2G, 3G, and 4G standards. A
  10 total of 2,600 UE families were selected in this manner. Table 12 below shows the
  11 total numbers of declared-essential UE families relevant to each of the standards for
  12 each of the top 15 assignees, as well as the corresponding number of families
  13 randomly selected (for a total of 2,600 selected UE families, or ~33% of the total
  14 number of identified families within each assignee and standard).
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   1                         All UE    Relevant          Relevant           Relevant
            Company                                33%              33%                33%
                            families   to GSM            to UMTS            to LTE
   2                          988        175        58      520      173       654      218
        QUALCOMM
   3    SAMSUNG               725         19         6      157      52        649      216
        NOKIA                 608        224        75      339      113       414      138
   4                          485        107        36      199      66        311      104
        ERICSSON
   5    INTERDIGITAL          464         87        29      267      89        286       95
        GOOGLE                431         80        27      164      55        321      107
   6    LG                    412         23         8      146      49        293       98
   7    NIPPON
        TELEGRAPH &           257         21        7       74        25       205      68
   8    TELEPHONE
        HUAWEI                242         51        17       99       33       191      64
   9    BLACKBERRY            178         86        29      101       34       132      44
  10    PANASONIC             176          9         3       47       16       143      48
        NEC CORP              152         22         7       66       22       109      36
  11    SHARP                 145          0         0        8       3        145      48
  12    APPLE                 131         23         8       37       12       118      39
        TEXAS
                              124         1         0       23        8        94       31
  13    INSTRUMENTS
        OTHERS                1588       254        85     700       233      959      319
  14                          7106       1182      395     2947      983      5024     1673
        ALL
  15
                TABLE 12: UE Families by Standard and Assignee (PDX 116)
  16
  17         338. For the 2,600 randomly selected UE families, the Essentiality
  18 Assessment primarily involved a direct comparison between a patent’s claims and
  19 the relevant cellular standard specifications. (See Ex. 551 at p. 1.) The Essentiality
  20 Assessment was supervised by me and Dr. Ding, with Dr. Ding providing the day-
  21 to-day supervision and feedback. Additional details regarding the methodology
  22 employed for the Essentiality Assessment are described in Dr. Ding’s Witness
  23 Declaration, as well as his February 1, 2016 Expert Report. (See id at 1.)
  24               2.     The Essentiality Assessment Results Confirm Ericsson’s
  25                      Relatively Small Share of User Equipment SEPs.
  26         339. The Industry-Wide Essentiality Analysis revealed no surprises, in that
  27 Ericsson’s share of the total set of essential UE patents was found to be consistent
  28 with its share of all declared-essential patent families.

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   1                     a.     2G Essentiality Assessment Results
   2        340. Table 13 below shows the number of Ericsson UE patent families
   3 found essential to 2G according to the methodology of the Essentiality Assessment
   4 discussed above. (Ex. 1336, Ex. 1594.) As shown in Table 13, Ericsson’s fraction
   5 of essential 2G UE patent families was found to be about 10% (45/446). This is just
   6 slightly higher than Ericsson’s 9% (107/1,182) share of all 2G declared-essential
   7 UE families. Furthermore, the ratio of essential industry-wide 2G UE families to all
   8 declared-essential 2G UE families was 37.7% (446/1,182), while the corresponding
   9 Ericsson fraction was marginally higher at 42.1% (45/107). The range of ratios of
  10 found-essential to declared-essential families across all major declarants (holding
  11 more than 5% of total declarations) was 13% at the lowest end and 57% at the
  12 highest end. Thus, for 2G, Ericsson’s essentiality ratio is marginally above the
  13 mean and well within the range of values across major declarants.
  14
  15                                                                 Ratio of Ericsson
              2G (UE)           All Assignees         Ericsson
                                                                         to Total
  16
         No. of declared
                                     1,182               107                 9%
  17     families
  18     Est. no. of families
                                      446                45                 10%
         found essential
  19     Ratio of essential         37.7%              42.1%
                                                                             —
  20     to total                 (446/1,182)         (45/107)
  21
          TABLE 13: 2G UE Declared Essential v. Potentially Essential (PDX 117)
  22
  23                     b.     3G Essentiality Assessment Results
  24        341. Table 14 below shows the number of Ericsson UE families found
  25 essential to 3G according to the Essentiality Assessment. (Ex. 1336, Ex. 1594.) As
  26 shown in Table 14, Ericsson’s fraction of essential 3G UE families was found to be
  27 7% (81/1,166). This is statistically indistinguishable from Ericsson’s 7%
  28 (199/2,947) share of all 3G declared-essential UE families. Furthermore, the ratio

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   1 of essential industry-wide 3G UE families to all declared-essential 3G UE families
   2 was found to be 39.6% (1,166/2,947), while the corresponding Ericsson fraction was
   3 marginally higher at 40.7% (81/199). The range of ratios of found-essential to
   4 declared-essential families across major declarants was 12% at the lowest end and
   5 69% at the highest end. Thus, for 3G, Ericsson’s essentiality ratio is marginally
   6 above the mean, and well within the range of values across major declarants.
   7
   8                                                                  Ratio of Ericsson
                  3G             All Assignees         Ericsson
                                                                          to Total
   9
         No. of declared
                                     2,947                199                 7%
  10     families
  11     Est. no. of families
                                     1,166                81                  7%
         found essential
  12     Ratio of essential          39.6%              40.7%
                                                                               —
  13     to total                (1,166/2,947)         (81/199)
  14
            TABLE 14: 3G Declared Essential v. Potentially Essential (PDX 118)
  15
  16                      c.    4G Essentiality Assessment Results
  17         342. Table 15 below shows the number of Ericsson UE families found
  18 essential to 4G according to the Essentiality Assessment. (Ex. 1336, Ex. 1594.) As
  19 shown in Table 15, Ericsson’s fraction of essential 4G UE families was found to be
  20 about 6% (108/1,796). This is statistically indistinguishable from Ericsson’s 6%
  21 (311/5,024) share of all declared-essential UE families. Furthermore, ratio of
  22 essential industry-wide 4G UE families to all declared-essential 4G UE families was
  23 35.7% (1,796/5,024), while the corresponding Ericsson fraction was slightly lower
  24 at 34.7% (108/311). The range of ratios of found-essential to declared-essential
  25 across major declarants was 20% at the lowest end and 56% at the highest end.
  26 Thus, for 4G, Ericsson is at a statistical tie with the mean, and well within the range
  27 of values across major declarants.
  28

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   1                                                                 Ratio of Ericsson
                  4G              All Assignees         Ericsson
   2                                                                     to Total
          No. of declared
   3                                  5,024               311               6%
          families
   4      Est. no. of families
                                      1,796               108               6%
          found essential
   5
          Ratio of                    35.7%               34.7%
   6                                                                         —
          essential/total         (1,796/5,024)         (108/311)
   7
            TABLE 15: 4G Declared Essential v. Potentially Essential (PDX 119)
   8
   9                      d.     UE Industry-Wide Essentiality Analysis Conclusions
  10        343. For 2G, Ericsson’s share of all essential UE families was 10%. For 3G,
  11 Ericsson’s portfolio was weaker than for 2G, as its fractional share dropped from
  12 10% to 7%. Lastly, for 4G, Ericsson’s share of essential UE families, at 6%,
  13 weakened even more, to almost half of what it was for 2G. This finding also
  14 confirms that the relative strength of Ericsson’s portfolio has declined over time.
  15                      e.     My Analysis of Ericsson’s SEP Portfolio is Consistent with
  16                             Concur IP’s Industry-Wide Essentiality Assessment.
  17        344. As described above in Sections II.A and II.B, while Dr. Jayant and I
  18 analyzed Ericsson’s 192 claim-charted families for essentiality (i.e., in connection
  19 with the SEP Analysis), Dr. Ding and Concur IP analyzed essentiality for a sample
  20 set of industry-wide declared-essential UE families (i.e., in connection with the
  21 Essentiality Assessment). This sampled set of industry-wide declared-essential
  22 families included 33% of Ericsson’s 2G, 3G, and 4G declared-essential UE families.
  23 As such, a number of families were analyzed both on the one hand by Dr. Jayant or
  24 me, and on the other hand by Concur IP under Dr. Ding’s supervision. The analysis
  25 of these families is summarized in Table 16, below.
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  27
  28

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   1 TABLE 16: Essentiality Findings by Kakaes/Jayant and Concur IP (PDX 120)
   2                              Kakaes /
                                                Concur IP
   3    Family No.                 Jayant                              Ding
                     Patent No.                  Found    Agreement?
          (Std)                    Found                             Reviewed
   4                                            Essential
                                  Essential
   5      P06691        US
                                     No             Yes         No           No
           (4G)      5,806,007
   6      P07288        US
                                    Yes             No          No           No
   7       (2G)      5,812,968
          P07925        US
   8                                 No             Yes         No           Yes
           (4G)      6,189,123
   9      P08338        US
                                    Yes             Yes         Yes          No
           (3G)      6,173,162
  10      P09262        EP
                                    Yes             No          No           Yes
  11       (2G)      1,062,825
          P09262        EP
  12                                Yes             Yes         Yes          Yes
           (3G)      1,062,825
  13      P09286        US
                                    Yes             Yes         Yes          No
         (2G, 3G)    6,029,125
  14
          P10310        US
                                    Yes             Yes         Yes          No
  15     (2G, 3G)    6,192,335
          P10335        US
  16                                Yes             Yes         Yes          No
         (2G, 3G)    6,275,798
  17      P10867        US
                                     No             Yes         No           No
           (4G)      6,643,813
  18
          P10992        US
  19                                Yes             Yes         Yes          No
         (2G, 3G)    6,424,938
  20      P11899        EP
                                    Yes             Yes         Yes          No
           (3G)      1,169,804
  21      P12947        US
                                     No             No          Yes          No
  22       (3G)      6,535,925
          P14596        US
  23                                Yes             No          No           No
           (3G)      7,181,218
  24      P14897        EP
                                    Yes             Yes         Yes          No
           (3G)      1,360,860
  25      P14897        EP
                                    Yes             Yes         Yes          No
  26       (4G)      1,360,860
          P17631        US
  27                                Yes             Yes         Yes          No
           (4G)      7,489,705
  28

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   1                              Kakaes /
                                                Concur IP
        Family No.                 Jayant                              Ding
   2                 Patent No.                  Found    Agreement?
          (Std)                    Found                             Reviewed
                                                Essential
   3                              Essential
   4     P18216          EP
                                    Yes             Yes         Yes          No
          (3G)       1,614,306
   5     P18728         US
                                    Yes             Yes         Yes          No
   6      (4G)       7,904,093
         P19208          EP
   7                                Yes             Yes         Yes          No
          (4G)       1,714,506
   8     P20741         US
                                     No             No          Yes          No
          (4G)       8,923,423
   9     P21787         US
                                     No             Yes         No           No
  10      (4G)       8,180,408
         P22621         US
  11                                Yes             Yes         Yes          No
          (3G)       8,718,695
  12     P23016         US
                                     No             No          Yes          No
          (3G)       8,176,376
  13     P23018         US
                                    Yes             No          No           No
  14      (4G)       8,102,805
         P23412          EP
  15                                Yes             Yes         Yes          No
          (4G)       2,123,011
  16     P23563         US
                                     No             No          Yes          No
          (4G)       8,503,942
  17
         P23614         US
                                     No             No          Yes          No
  18      (4G)       8,693,566
         P23682         US
  19                                Yes             Yes         Yes          No
          (4G)       8,594,029
  20     P23894         US
                                    Yes             No          No           No
  21      (4G)       8,699,375
                        US
  22                 8,717,996;
         P24459
  23                                Yes             No          No           Yes
          (4G)
                        US
  24                 8,169,992
  25     P24557         US
                                     No             No          Yes          No
          (4G)       8,195,179
  26     P24673         US
                                    Yes             Yes         Yes          No
  27      (4G)       7,986,681
         P24916         US
  28                                Yes             Yes         Yes          No
          (4G)       8,214,710
                                              179
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   1                              Kakaes /
                                                Concur IP
        Family No.                 Jayant                              Ding
   2                 Patent No.                  Found    Agreement?
          (Std)                    Found                             Reviewed
                                                Essential
   3                              Essential
   4     P25238         US
                                    Yes             Yes         Yes          No
          (4G)       8,699,997
   5     P25496         US
                                    Yes             Yes         Yes          No
   6      (4G)       8,682,371
         P25949         EP
   7                                 No             No          Yes          Yes
          (4G)       2,260,667
   8     P26030         US
                                    Yes             Yes         Yes          Yes
          (3G)       8,606,277
   9     P26379         US
                                    Yes             Yes         Yes          No
  10      (4G)       8,279,834
         P26744         EP
  11                                Yes             Yes         Yes          No
          (4G)       2,301,296
  12     P26993         EP
                                    Yes             No          No           Yes
          (4G)       2,225,908
  13     P27363         US
                                     No             No          Yes          No
  14      (3G)       7,924,754
         P28281         US
  15                                 No             No          Yes          No
          (4G)       8,837,396
  16     P29338         US
                                     No             No          Yes          No
          (4G)       8,014,311
  17
         P31172         US
                                    Yes             Yes         Yes          No
  18      (2G)       8,537,765
         P31923         EP
  19                                Yes             Yes         Yes          Yes
          (4G)       2,564,228
  20     P31931         US
                                     No             No          Yes          No
  21      (4G)       8,634,365
         P32468         US
  22                                 No             Yes         No           No
          (4G)       8,738,041
  23     P33858         US
                                     No             No          Yes          Yes
          (4G)       8,750,808
  24     P34422         EP
                                    Yes             Yes         Yes          No
  25      (4G)       2,705,626
         P34426         EP
  26                                Yes             Yes         Yes          No
          (4G)       2,705,685
  27     P35090         US
                                    Yes             Yes         Yes          Yes
          (4G)       8,750,230
  28

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   1                                 Kakaes /
                                                   Concur IP
        Family No.                    Jayant                              Ding
   2                  Patent No.                    Found    Agreement?
          (Std)                       Found                             Reviewed
                                                   Essential
   3                                 Essential
   4     P35592           EP
                                        Yes            No            No            No
          (3G)         2,742,606
   5     P37869           US
                                        Yes            No            No            Yes
   6      (4G)         9,054,846
         P38458           US
   7                                    No             No            Yes           No
          (3G)         9,100,069
   8
   9        345. In particular, Concur IP analyzed 55 of Ericsson’s claim-charted
  10 family-standard-pairs using the methodology discussed above and in Dr. Ding’s
  11 Witness Declaration and Expert Report. As shown in Table 16 above, Dr. Jayant
  12 and my determinations regarding essentiality were in agreement with Concur IP’s
  13 determinations for 41 of these 55 family-standard-pairs. Additionally, for four of
  14 the families—P07925 (4G), P09262 (2G), P10867 (4G), and P35592 (3G)—the
  15 disagreement resulted not from an error in the technical analysis but from an
  16 information asymmetry as between Dr. Jayant and me on the one hand, and Concur
  17 IP on the other hand.
  18        346. For P09262 (2G), and more specifically EP 1,062,825, Ericsson’s IPR
  19 declaration form specifies only “GSM” for the accused ETSI project, and does not
  20 list any of the standard specifications cited in Ericsson’s claim chart. (See Ex. 1456;
  21 Ex. 1357.) In particular, Ericsson’s 2G claim chart for claim 1 of EP 1,062,825
  22 (which is the claim I found to be essential) cites 3GPP TS 04.08 v. v. 7.21.0 §§
  23 3.3.1.1.4.1, 9.1.11, and 10.5.1.7; and 3GPP TS 09.31 v. v. 8.0.0 § 5.1.1. (Ex. 1357.)
  24 I considered the standards cited in the claim chart, whereas Concur IP considered
  25 the standards associated with the IPR declaration form. For the standards associated
  26 with the IPR declaration form, Concur IP relied on an extraction of this information
  27 from the ETSI database. My understanding is that for EP 1,062,825, such an
  28 extraction does not include more specific standards than what is listed in the IPR

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   1 declaration form—i.e., GSM. In my opinion, the disagreement regarding
   2 essentiality for P09262 (2G) as between myself and Concur IP arises not from a
   3 technical error on Concur IP’s part but from the fact that Ericsson’s claim chart is
   4 much more specific than its IPR declaration.
   5         347. For P35592, Concur IP likewise relied on information regarding
   6 Ericsson’s IPR declaration form as extracted from the ETSI database. For this
   7 family, my understanding is Concur IP’s Essentiality Assessment considered only
   8 TS 23.308, which I understand is the only standard that extracts from the ETSI
   9 database for EP 2,742,606 (the member of P35592 I found essential). Whereas
  10 Concur IP considered the standards extracted from the ETSI database, I considered
  11 the standards cited in Ericsson’s claim chart. Ericsson’s 3G claim chart for claim 1
  12 of EP 2,742,606 (which is the claim I found essential) cites 3GPP TS 25.331 v.
  13 11.1.0 §§ 8.2.2.3, 8.6.6.4; 3GPP TS 25.214 v. 11.0.0 §§ 10, 10.1; and 3GPP TS
  14 25.308 v. 11.8.0 § 9. (Ex. 1362.) Thus, even though the IPR declaration itself cites
  15 the following 3G standards: TS 25.331 v. 11.1.0 § 8; TS 25.214 v. 11.0.0 § 10; and
  16 TS 125.308 v. 11.8.0 § 9, Concur IP considered the extracted standard, and not all
  17 standards listed in the IPR declaration. (Ex. 1449 at p. 8.) My understanding is that
  18 such an inconsistency on ETSI’s database is relatively rare. Accordingly, in my
  19 opinion, the disagreement regarding essentiality for P35592 (3G) as between myself
  20 and Concur IP arises not from a technical error on Concur IP’s part but from an
  21 issue related to ETSI’s database extraction interface.
  22         348. For P07925 and P10867, my Essentiality Analysis included a
  23 consideration of the file history, whereas Concur IP did not consider file histories.
  24 Overall, my consideration of the file histories in connection with my Essentiality
  25 Analysis of Ericsson’s SEP portfolio affected my analysis in only a minor number
  26 of instances. In fact, based on a comparison of mine and Dr. Jayant’s SEP Analysis
  27 and Concur IP’s Essentiality Assessment, the impact of considering the file histories
  28 on essentiality determinations turned out to be minimal. The consideration of file

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   1 histories affected only two (or 3.6%) of the 55 family/standard pairs common
   2 between the two analyses. This confirms my expectation, which is based on my
   3 years of experience evaluating declared-essential patents, that not considering file
   4 histories had at most a de minimis impact on the accuracy of the Essentiality
   5 Assessment.
   6         349. Accounting for the above issues for these four Ericsson families, there
   7 were 10 remaining families for which Dr. Jayant or I disagreed with Concur IP in
   8 terms of essentiality. As Table 16 shows, there were seven disagreements where Dr.
   9 Jayant or I found a patent essential and Concur IP found the same patent non-
  10 essential. This is roughly 12.7% of the total 55 overlapping family-standard-pairs.
  11 Additionally, there were three disagreements where Dr. Jayant or I found a patent
  12 non-essential and Concur IP found the same patent essential. This is roughly 5.5%
  13 of the total 55 overlapping family-standard-pairs.
  14         350. As discussed in Dr. Ding’s Witness Declaration and February 1, 2016
  15 Expert Report, Dr. Ding determined that Concur IP’s error rate in determining that a
  16 family was non-essential was 11.8%. Dr. Ding also determined Concur IP’s error
  17 rate in determining that a family was essential was 4.4%. Accordingly, the
  18 percentage of disagreements in essentiality determinations that Dr. Jayant and I had
  19 with Concur IP is consistent with the error rates Dr. Ding determined. Additionally,
  20 relative to the large number of industry-declared families Concur IP analyzed, the
  21 number of Ericsson families at issue here is statistically less significant.
  22         351. Overall, I agree with Dr. Ding that even in light of these small numbers
  23 of errors, Concur IP’s Essentiality Assessment implemented a fair, reasonable, and
  24 technically sound process for assessing the landscape of a company’s contribution
  25 and position in terms of its standard-essential patent portfolio that the company itself
  26 had self-declared to be a SEP. Moreover, none of the above changes the ultimate
  27 opinions regarding the Essentiality Assessment that Dr. Ding and I have expressed
  28 in this case, nor does it affect my opinions regarding my analysis of Ericsson’s SEP

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   1 portfolio.
   2        D.     OVERALL ASSESSMENT OF ERICSSON’S ALLEGED SEP
   3               PORTFOLIO
   4        352. The Patent Census and related Essentiality Assessment both
   5 demonstrate that Ericsson’s contribution to IP in the mobile communications space
   6 has been declining. The percentage of Ericsson declarations and the percentage of
   7 Ericsson patents found to be essential has been declining from 2G to 3G to 4G, as
   8 seen in Table 17 below. That is, Ericsson’s percentage of declared essential patents
   9 has steadily declined from 9% for 2G, to 7% for 3G, to 6% for 4G. A similar
  10 decline is present with respect to Ericsson’s percentage of essential patents from
  11 10% for 2G, to 7% for 3G, to 6% for 4G.
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  13                        Metric                     2G         3G          4G
  14         Ericsson’s declared-essential patent
             families as a percentage of all           9%         7%          6%
  15         declared-essential families
  16         Ericsson’s patent families found to
  17         be essential as a percentage of all
                                                      10%         7%          6%
             families found to be essential
  18         (sample-based)
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                                     TABLE 17 (PDX 121)
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  21        353. Ericsson’s patent position has weakened from generation to generation.
  22 This is not surprising considering the specifics of how technology has developed
  23 and who the main players in the wireless industry have been over the years. “3G,”
  24 as used in this case, is a “marriage” of two different and incompatible 2G
  25 technologies. Specifically, GSM was a superb 2nd Generation system. GSM’s
  26 TDMA-based air interface was indeed a great engineering development, but it had
  27 one major drawback: it was TDMA-based. On the infrastructure side, including the
  28 overall network architecture (both the RAN and the Core Network components),

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   1 GSM was state of the art at the time, with significant developments that provided,
   2 among other numerous benefits, a whole new level of mobility services for users
   3 traveling literally just about anywhere around the globe.
   4         354. On the other hand, the U.S.-developed 2nd Generation system based on
   5 Qualcomm’s CDMA technology, which became the IS-95 standard, used a whole
   6 new concept for the air interface. This concept provided significantly more benefits
   7 than GSM could, and in fact more benefits then any TDMA-based technology could.
   8 However, the “network” side of IS-95 was inferior, largely due to the fact that IS-95
   9 had to be backwards compatible with AMPS, the then existing 1st Generation
  10 analog system, according to U.S. law.
  11         355. In order to better appreciate the interrelationship of 3G, UMTS,
  12 WCDMA, and 3GPP, one needs to backtrack a bit and consider at least the major
  13 milestone events that took place before 3GPP developed what we today call UMTS
  14 or WCDMA. June 1998 is an important date in the process that led to what we now
  15 call “3G.” That was the deadline by which interested parties had to submit to the
  16 ITU-R their proposals for Radio Transmission Technologies for IMT-2000.
  17         356. IMT-2000 stands for “International Mobile Telecommunications for the
  18 year 2000” (and beyond). Broadly speaking, IMT-2000 was a set of objectives that
  19 would be desirable going forward to a “next” generation system, broadly called “3rd
  20 Generation,” or “3G,” since the GSM technology had, more or less de-facto, gotten
  21 the label of “2nd Generation,” or “2G.” IMT-2000 was intentionally silent as to
  22 how these objectives would be met, and effectively was an open call to the industry,
  23 researchers, universities, standard-setting organizations, etc., to come up with ideas
  24 to achieve these objectives.
  25         357. One of the key features of the “new system” was that it would be “data-
  26 centric” while not abandoning voice communications, a feature that was known to
  27 be of continuing importance to end users. This was a significant shift from 2nd
  28 Generation systems, which were voice-centric, with data being an “add-on.” This

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   1 was true for the two most widespread 2nd Generation systems, namely GSM, which
   2 was developed mostly in Europe, and the IS-95 system, developed in the United
   3 States.
   4        358. In response to the IMT-2000 report, the international community
   5 generated no less than 15 proposals, of which 10 were for the terrestrial aspect of
   6 IMT-2000 and the remaining five for the satellite aspect of IMT-2000. (Ex. 1333;
   7 Ex. 1331.) Of the 10 terrestrial proposals, eight were based on a CDMA technique
   8 for the air interface, and the remaining two were based on a TDMA technique for
   9 the air interface. TDMA was well understood, and the then de-facto worldwide
  10 GSM standard was indeed a very good implementation of the concepts of TDMA, a
  11 technology Ericsson has supported and advocated.
  12        359. However, the international community had begun to understand the
  13 benefits of CDMA, which is why eight of the proposals were based on CDMA and
  14 only two were based on TDMA. The concept of CDMA had been developed into a
  15 standard, essentially single-handedly by Qualcomm. Qualcomm faced a lot of
  16 criticism in its early days, as many believed and insisted that this concept “would
  17 not work.” Ericsson was amongst the most vocal critics of CDMA, instead
  18 supporting a TDMA 2nd Generation system in the US called IS-54, and its later
  19 development to IS-136, which had some similarity to GSM. Not surprisingly,
  20 Ericsson did not make any meaningful contribution to the development of early
  21 commercial CDMA systems, and I did not see any Ericsson SEPs that are directed
  22 to any fundamental aspects of this technology. IS-136 enjoyed limited success in
  23 the Americas, but the superiority of CDMA made IS-136 essentially extinct a
  24 number of years ago. However, the adoption of IS-95 in South Korea and then later
  25 in the United States quickly proved that the idea of CDMA, counter-intuitive as it
  26 may have been for many at the time, did work. In fact, I was personally involved
  27 through my work at training hundreds of engineers in all continents as to how
  28 CDMA worked.

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   1         360. The fact that eight of the 10 proposals were based on CDMA speaks
   2 volumes about CDMA. These eight proposals had many similarities and some
   3 differences. As it turns out, based on their commonalities, they could be logically
   4 grouped into three groups. The first group consisted of five of the proposals,
   5 namely WIMS W-CDMA, W-CDMA, CDMA II, UTRA, and NA: W-CDMA. The
   6 second group consisted of CDMA2000 and CDMA I. And the third group consisted
   7 of only TD-SCDMA.
   8         361. Without getting into the technical details, the original hope of having
   9 one global standard was not going to materialize. While the “3rd Generation
  10 Partnership,” or 3GPP, was formed with exactly that objective, irreconcilable
  11 differences between the supporters of the first group and those of the second group
  12 quickly became apparent. Thus, 3GPP worked on harmonizing the five proposals of
  13 the first group into what became UMTS, again, often referred to as WCDMA
  14 (which as we can see was a common acronym in three of the five proposals). At
  15 essentially the same time, the supporters of the second group formed what is known
  16 as 3GPP2 and harmonized those two proposals into what is now called CDMA2000.
  17 Note that both CDMA2000 and the TD-SCDMA system are often also referred to as
  18 “3G” systems, though my understanding is that they are explicitly not part of this
  19 litigation.
  20         362. In summary, one of ETSI’s proposals was based on CDMA and was
  21 one of the five that were harmonized into UMTS. Thus, any argument that UMTS
  22 is based on GSM is demonstrably false, in particular for the air interface. UMTS is
  23 a CDMA air interface, and a lot about CDMA was learned via the IS-95 standard
  24 and related work. Furthermore, the technical aspects of UMTS are largely based on
  25 the ARIB proposal, which was called “WCDMA,” which explains the common
  26 convention of referring to it as WCDMA, as well as with the more formal name of
  27 UMTS. Accordingly, a company’s technical contribution to 2G does not necessarily
  28 translate to a technical contribution to 3G. Since most of the relevant patents relate

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   1 to the air interface and the air interface for 3G is fundamentally different from that
   2 for 2G (CDMA versus TDMA respectively), Ericsson's contribution to 3G is
   3 relatively minor compared to that of other companies such as Qualcomm.
   4         363. Ericsson’s contribution to 4G/LTE is also no better than average, if
   5 even that. The basis for 4G/LTE technology is called Orthogonal Frequency
   6 Division Multiple Access, or OFDMA. Ericsson did not invent it. In addition, the
   7 LTE standards themselves “borrowed” in large part from a competing set of
   8 standards called WiMAX (Worldwide Interoperability for Microwave Access) that
   9 were developed slightly earlier.
  10         364. OFDMA, the core of 4G LTE standards, is actually quite old. The first
  11 paper on OFDM (OFDMA is a multi-user access scheme employing the OFDM
  12 technology) was in 1966 by R.W. Chang, and a related patent issued in 1970. (Ex.
  13 1332.) Additionally, for example, Digital Video Broadcasting, or DVB, used
  14 OFDM in the 1980s, and OFDMA was proposed for the return channel in a Digital
  15 Video Broadcasting project in the 1990s.
  16         365. Furthermore, WiMAX is an OFDMA cellular mobile communication
  17 technology developed primarily to provide residential internet connectivity. (See
  18 Section IX, infra.) However, WiMAX added further enhancements, including
  19 mobility-enabled cellular-like applications. WiMAX has been standardized by the
  20 Institute of Electrical and Electronics Engineers (IEEE) under the technical name
  21 IEEE 802.16e. This IEEE 802.16e standard was published in 2005, and was
  22 adopted as 3G technology by the International Telecommunications Union (ITU) in
  23 2007.
  24         366. To meet the needs of users for higher data services, IEEE 802.16e was
  25 designed to use OFDMA technology. For similar reasons, LTE system adopted
  26 OFDMA technology. Later, IEEE 802.16e continued its evolution to IEEE
  27 802.16m, in order to meet requirements of IMT-Advanced set by the ITU.
  28         367. In October 2010, ITU-R approved two industry-developed technologies

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   1 as 4G candidates: LTE-Advanced and WirelessMAN-Advanced (802.16m).
   2 However, LTE-Advanced eventually won the 4G competition due to most operators
   3 supporting the continued evolution of 3GPP standards.
   4         368. Therefore, any suggestion that LTE is based on GSM is false. GSM
   5 was a TDMA system, whereas LTE is an OFDMA system, and the two are
   6 fundamentally different. Furthermore, any suggestion that Ericsson played an
   7 important role in the development of LTE is not supported by the facts. Ericsson
   8 did play a role, but the importance of this role is quantified by the analysis that I
   9 performed. As my findings show, overall, Ericsson’s contributions have been
  10 marginal, as discussed in detail and summarized below. Moreover, the U.S.
  11 company Motorola and the Japanese company NTT DoCoMo are both widely
  12 regarded as playing key roles in “inventing” LTE. NTT DoCoMo first proposed
  13 LTE in 2004, for example. (Ex. 1335.)
  14         369. Ericsson’s relative decline can also be seen by comparing the
  15 cumulative number of patents that have been issued over time as a function of the
  16 patent’s priority date, graphically illustrated in Figure 65 below. The number of
  17 such patents, as a function of priority date was calculated as part of my analysis and
  18 is shown below. Although Ericsson’s portfolio and the overall universe have been
  19 growing, Ericsson’s percentage peaked in about 2000 and has been on a steady
  20 decline since then.
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                                    FIGURE 65 (PDX 122)
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  19        370. The detailed analysis of the Ericsson portfolio I undertook as part of
  20 this case confirms that Ericsson’s portfolio does not contain any breakthrough
  21 patents. The Importance and/or Contribution Ranks of most of the patents are at or
  22 close to the lowest “grade.” Very few essential patents were ranked a “1” both for
  23 Importance and Contribution, specifically six family/standard pairs. Out of a total
  24 of 199 family/standard pairs I analyzed, this represents only 3%.
  25        371. None of these six family/standard pairs represent any major
  26 breakthrough in technology. The reason they merited the highest rank is that
  27 removing the claimed technology from the cited standard would have significant
  28 impact, making the Importance Rank a “1,” and no alternatives were proposed

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   1 and/or considered, making the Contribution Rank a “1.” However, that does not
   2 mean the alleged inventions provided fundamental advancements. In fact, they did
   3 not, and I will explain why using two examples of patents that were given an
   4 Essentiality/Importance/Contribution Rank of 1/1/1.
   5        372. First, consider patent family P12207, which Ericsson provided a claim
   6 chart for claim 11 of U.S. Patent No. 6,781,970.
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  28 (Ex. 1366 at p. 9, 10:12–48.)

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   1        373. This may appear like a complicated mathematical solution to a difficult
   2 problem. However, to a person of ordinary skill in the art, it is actually quite
   3 straight forward and not so groundbreaking.
   4        374. In plain language and using an analogy, imagine that one is making a
   5 family monthly budget. In any one month one could spend one of five values for
   6 food, e.g., $0, $100, $200, $300, and $400, which I will refer to as F1, F2, F3, F4,
   7 and F5, respectively. Food is analogous to Transport Channel 1, where 5 is the
   8 number of Transport Formats available for Transport Channel 1, i.e., the number of
   9 options for the Transport Channel.
  10        375. Similarly, one could spend one of four values for travel, e.g., $0, $50,
  11 $100, $400, which I will refer to as T1, T2, T3, and T4, respectively. Travel is
  12 analogous to Transport Channel 2, where 4 is the number of Transport Formats
  13 available for Transport Channel 2.
  14        376. And finally, one could spend one of six values to pay debt, e.g., $0,
  15 $50, $100, $150, $200, and $250, which I will refer to as D1, D2, D3, D4, D5, and
  16 D6, respectively. Debt payment is analogous to Transport Channel 3, where 6 is the
  17 number of Transport Formats available for Transport Channel 3. Let us assume that
  18 we have 3 Transport Channels (although in general one could have more than that).
  19        377. Now in any one month, I could mix and match the values of food,
  20 travel, and debt payment in any one of a number of different combinations and I
  21 would want to be able to convey the chosen combination to my “communicating”
  22 partner, say, my wife. The number of possible combinations I would have to be able
  23 to communicate is: (5 choices for food) * (4 choices for travel) * (6 choices for debt
  24 payment) = 5 * 4 * 6 = 120. So far, this is a trivial problem in combinatorics.
  25        378. But let us assume an additional constraint. My wife and I know that in
  26 any given month, we cannot spend more than our total income of, say, $800. We
  27 can use that to reduce the number of combinations (down from 120) that are
  28 available in any given month. For example, it is clear that if we use F4 ($400) for

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   1 food and T4 ($400) for travel, we must use D1 ($0) for debt payment, because any
   2 other value for debt payment would result in a combination exceeding our total
   3 income of $800. A number of combinations are not viable because they exceed the
   4 $800 limit.
   5        379. The total income of $800 is analogous to the total available “room” for
   6 transmitted bits in Ericsson’s charted claim. The formula in the charted claim
   7 capitalizes on the foregoing notion, and formulates the details of how that
   8 information is conveyed with a smaller number of bits than would otherwise be
   9 possible.
  10        380. While the formula merits an Importance Rank of 1 and a Contribution
  11 Rank of 1, based on my methodology for assessing these ranks—i.e., the
  12 significance of the impact of removing the claimed technology from the cited
  13 standard, and the availability of alternatives, respectively—the formula is basic and
  14 was well-known in mathematics, and is not remotely groundbreaking. Furthermore,
  15 the formula is not a key factor in the operation of the communication system.
  16 CDMA in general and UMTS in particular have a lot of complexity that is far more
  17 fundamental than a nice arithmetical scheme of representing a smaller-than-
  18 otherwise set of possibilities or combinations.
  19        381. As a second example, consider patent family P29465, which Ericsson
  20 provided a claim chart for claim 19 of U.S. Patent No. 8,902,811.
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  11 (Ex. 1377 at p. 14, 10:24–39.)
  12         382. This patent has been classified into the “Advanced Features/Carrier
  13 Aggregation” category discussed in this report. Thus, on its face, it appears to be a
  14 valuable patent. But a closer look reveals this to be untrue.
  15         383. The subject matter of carrier aggregation is indeed a new and important
  16 area of development within 4G. But the question is narrower: what is the novelty
  17 of this patent to that general area? In order to answer that question, we need to take
  18 a step back.
  19         384. In many systems (e.g., GSM and LTE), accurate timing, at least relative
  20 timing, between the base station and the mobile is of paramount importance. By
  21 “accurate timing” I mean that from the base station’s point of view, the signals from
  22 the different mobiles arrive at precisely the time they should. If they arrive sooner
  23 than they should, they will interfere with the previous signal(s). If they arrive later
  24 than they should, they will interfere with the subsequent signal(s). How does one
  25 ensure that the mobile transmits at precisely the right time, so that its signal reaches
  26 the base station not too early and not too late? The solution has been known for at
  27 least 25 years, as it was used in GSM: it is called Timing Advance and works as
  28 follows.

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   1         385. At certain predetermined times, the mobile sends a very short-lasting
   2 signal at what the mobile thinks is the correct time. Often times, the mobile’s
   3 perception of timing will be wrong because of “propagation delay”: even if all else
   4 is perfect, it takes some time for a signal to travel from the base station to the mobile
   5 and then from the mobile to the base station. This “round trip delay,” call it X, will
   6 be the amount of time that the mobile is “too late,” i.e., the amount of delay before
   7 the signal transmitted by the mobile reaches the base station. That delay needs to be
   8 compensated for. Indeed, it is compensated for by the base station transmitting a
   9 message to the mobile, called the “Time Advance Message,” in which the mobile is
  10 informed to advance its clock by X units of time—that is, start the next transmission
  11 X units of time sooner than it would have done. This, in turn, brings the mobile’s
  12 transmission in line with what it should be.
  13         386. Of course, the mobile can, and usually will, move towards or away
  14 from the base station, thereby changing the value of the propagation delay, i.e., of
  15 the amount X which it needs to compensate for. Indeed, this was also known.
  16 There is ongoing feedback from the base station to the mobile that informs the
  17 mobile whether to move up or down its clock on a regular, ongoing basis, thereby
  18 keeping it “in line.”
  19         387. None of the foregoing is part of the claim-charted patent, and Ericsson
  20 does not assert that it is. This was all known for at least 25 years. The only new
  21 thing is that with the introduction of carrier aggregation, if the mobile uses two or
  22 more carriers, which may or may not belong to the same cell, a way should be
  23 devised to keep them all “in line.” For example, assume we have three carriers, and
  24 that one of them, C1, is used by base station 1, BS1; while two of them, C2 and C3,
  25 respectively, are used by base station 2, BS2. The propagation delays related to C2
  26 and C3 will be the same, because they are related to the same base station, BS2, and
  27 will generally be different from the propagation delays related to C1, as C1 is
  28 related to a different base station, BS1, located a different distance from the mobile

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   1 than BS2. The claim simply requires an “indication” that the timing adjustment for
   2 C2 is also applicable to C3 and is thus applied to C3 as well.
   3         388. Considering the issue more generally, the “novelty” of the claim-
   4 charted patent is that the carriers transmitted to/from the same location are
   5 “grouped” together, and once a mobile obtains the correct timing for one of them, it
   6 knows that such timing applies to all carriers in the group. Of course, the timing
   7 advance for carriers in another group would need to be established independently for
   8 that group, but once again, only one of the members would be enough: once you get
   9 the right timing for one of the members of a given group you know the timing for all
  10 of the members of that group.
  11         389. It is clear that the patent has little to do with any fundamental
  12 advancement of carrier aggregation techniques. The grouping of carriers that are
  13 known to have the same propagation delays in corresponding groups is a simple
  14 extension of well-known techniques, plus a bit of common sense. Thus, despite the
  15 fact that the Essentiality Rank, the Importance Rank, and the Contribution Rank of
  16 the charted claim are all “1,” in fact the claimed invention does not represent a
  17 fundamental advancement.
  18         390. The two examples above illustrate how even the purportedly higher
  19 “quality” patents in Ericsson’s portfolio are not valuable.
  20         391. The next example shows how trivial some of Ericsson’s “inventions”
  21 are. One of the standard/family pairs that I found to be Essential (i.e., the
  22 Essentiality Rank is “1”) is P35575_4G. Ericsson charted claim 1 of U.S. Patent
  23 No. 8,837, 410 (“the ’410 patent”) for this pair. I assigned this family/standard pair
  24 an Importance Rank of “3” and a Contribution Rank of “4.”
  25
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  13 (Ex. 1370 at p. 26, 19:15–33.)
  14        392. This claim is also related to carrier aggregation, an important
  15 technology. But the claimed invention itself does not represent a fundamental
  16 advancement. It simply contemplates that two types of information are to be
  17 transmitted: (1) ACK/NACK, (acknowledgements of successful or not successful
  18 reception of data); and (2) Channel-state Information (information about what the
  19 channel characteristics are, so that the base station can make more prudent
  20 decisions). Then, according to Ericsson’s interpretation of the standards, the claim
  21 contemplates determining if both types of information fit in the room available in
  22 the transmission of that information. Finally, the claim requires that if enough room
  23 is indeed available, to transmit both types of information. The claim requires
  24 nothing more.
  25        393. In short, the claimed invention is merely common sense. It boils down
  26 to the following steps: Decide if you are planning on transmitting two things.
  27 Decide if you have room to transmit those two things. If you do have the room,
  28 transmit them. Simply put, this alleged invention does not represent a fundamental

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   1 advancement.
   2        394. As with the previous example, most of Ericsson patents merit an
   3 Importance Rank of 3 and a Contribution Rank of 4, demonstrating that Ericsson’s
   4 portfolio is generally unimportant and not valuable.
   5 VII. INDUSTRY-WIDE 2G, 3G and 4G INFRASTRUCTURE FAMILY
   6        ANALYSIS
   7        395. The team of engineers led by Mr. Sinha of Concur IP also analyzed the
   8 patent families belonging to LG, Samsung, HTC, ZTE, Apple, and Ericsson with an
   9 issued, non-expired patent and an English-language family member and determine,
  10 for each of these six companies, how many such patent families included at least
  11 one patent having at least one “pure non-UE claim” directed to infrastructure (e.g., a
  12 base station or core network). (Ex. 1426.) Such patent families with at least one
  13 pure non-UE claim are referred to as “infrastructure families.” The results of this
  14 industry-wide 2G, 3G and 4G infrastructure family analysis are summarized in
  15 Tables 18, 19, 20 and 21 below. I understand that these results support Dr. Lynde’s
  16 PSR calculations.
  17        396. The total number of overall infrastructure families declared essential to
  18 the 2G, 3G, and/or 4G standards, for each of Samsung, LG, HTC, ZTE, Apple, and
  19 Ericsson, is shown in Table 18 below along with the total number of all declared
  20 families for those six companies. (Ex. 1453.)
  21
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   1                                       DECLARED                INFRASTRUCTURE
                ASSIGNEE
   2                                       FAMILIES                    FAMILIES
         Samsung                              965                        823
   3
         LG                                     514                          358
   4
         HTC                                    75                           33
   5
   6     ZTE                                    195                          139

   7     Apple                                  193                          155

   8     Ericsson                               867                          720

   9
         TABLE 18: Overall Infrastructure Families for Six Companies (PDX 123)
  10
  11          398. The total number of 2G infrastructure families (declared essential to at
  12 least the 2G standard ) for each of Samsung, LG, HTC, ZTE, Apple, and Ericsson, is
  13 shown in Table 19 below along with the total number of all 2G declared families for
  14 those six companies (See id.):
  15
  16            ASSIGNEE                   DECLARED                INFRASTRUCTURE
                                           FAMILIES                    FAMILIES
  17
         Samsung                              40                          31
  18
         LG                                     32                           16
  19
         HTC                                    14                            7
  20
         ZTE                                    24                           21
  21
         Apple                                  36                           26
  22
         Ericsson                               267                          218
  23
  24       TABLE 19: 2G Infrastructure Families For Six Companies (PDX 124)
  25
  26
  27
  28

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   1          399. The total number of 3G infrastructure families (declared essential to at
   2 least the 3G standard) for each of Samsung, LG, HTC, ZTE, Apple, and Ericsson, is
   3 shown in Table 20 below along with the total number of all 3G declared families for
   4 those six companies (See id.):
   5
   6            ASSIGNEE                   DECLARED                INFRASTRUCTURE
                                           FAMILIES                    FAMILIES
   7
         Samsung                              219                        174
   8
         LG                                     172                          134
   9
         HTC                                    23                           13
  10
         ZTE                                    35                           30
  11
         Apple                                  65                           51
  12
         Ericsson                               452                          372
  13
  14       TABLE 20: 3G Infrastructure Families for Six Companies (PDX 125)
  15
  16          400. The total number of 4G infrastructure families (declared essential to at
  17 least the 4G standard) for each of Samsung, LG, HTC, ZTE, Apple, and Ericsson, is
  18 shown in Table 21 below along with the total number of all 4G declared families for
  19 those six companies (See id.):
  20
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   1                                       DECLARED                 INFRASTRUCTURE
                ASSIGNEE
   2                                       FAMILIES                     FAMILIES
         Samsung                              841                         727
   3
         LG                                     345                            228
   4
         HTC                                     57                            27
   5
   6     ZTE                                    191                            136

   7     Apple                                  169                            139

   8     Ericsson                               498                            428

   9
            TABLE 21: 4G Infrastructure Families for Six Companies (PDX 126)
  10
  11          402. Although essentiality ratios for infrastructure patent families were not
  12 directly evaluated, I fully expect the UE essentiality ratios and the infrastructure
  13 essentiality ratios to be substantially the same in most cases. My opinion is based
  14 on the nature of mobile communications and my understanding through analysis of
  15 how mobile communication patent claims are drafted.
  16          403. Two main components of a mobile communications network and are
  17 the base stations and the UEs, which I refer to as the “two ends” of a
  18 “communication link.” In the downlink, a base station generates and transmits a
  19 signal, for example a control signal and/or a data signal, and the UE receives and
  20 processes the signal. In the uplink, the UE generates and transmits a signal and a
  21 base station receives and processes the signal. Consistent with the interoperability
  22 objectives of the standards, the vast majority of the standards-essential patents
  23 directed to mobile communications contains claims that describe such UE-to-base
  24 station interactions in a given downlink or uplink direction. That is, most standards-
  25 essential patents would include claim describing the interaction from a UE’s point of
  26 view (i.e., a pure UE claim), a base station’s point of view (i.e., a pure non-UE
  27 claim), or both (i.e., a system claim). In a nutshell, the essentiality analysis boils
  28 down to whether the 2G, 3G, or 4G standards require such UE-to-base station

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   1 interactions described in the patent claims.
   2         404. Given this dynamic, it is reasonable to expect that in most instances,
   3 pure UE, pure non-UE, and system claims mapped to a particular standardized
   4 technology would rise or fall together. That is, if a pure UE claim directed to a
   5 particular standardized technology involving the UE-to-base station interaction is
   6 found to be essential to the standard, a pure non-UE claim directed to the named
   7 technology is expected to be also essential to the standard, or vice versa. As such,
   8 the essentiality ratio of pure UE claims is expected to be substantially the same as
   9 the essentiality ratio of pure non-UE claims. Similarly, the essentiality ratio of UE
  10 families that include at least one pure UE claim is expected to be substantially the
  11 same as the essentiality ratio of the infrastructure families that include at least one
  12 pure non-UE claim.
  13         405. That does not mean that where any one claim, patent, or even patent
  14 family is essential to one end of the communication link, it is always essential to the
  15 other. In other words, while at the “microscopic” level of one claim or patent the
  16 essentiality determinations for each end of the communication link are independent
  17 determinations, statistically the two ends are balanced, or symmetric. I have
  18 observed this statistical symmetry in many patent portfolios that I have analyzed
  19 over the years, and given the nature of the underlying technical issues, it is not
  20 surprising that from a “macroscopic” perspective such a symmetry exists.
  21 VIII. ERICSSON’S RELIANCE ON “APPROVED CONTRIBUTIONS” AS A
  22         MEASURE OF PATENT STRENGTH
  23         406. I understand that Ericsson has shown a preference for a particular
  24 method of estimating the strength of a given party’s alleged SEP portfolio referred
  25 to as “contribution counting.” As I understand it, this methodology focuses on
  26 counting the number of “approved” technical submissions made by a given member
  27 of the standardization organization, and then treating that member’s relative share of
  28 the approved technical submissions as a proxy for that member’s share of standard-

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   1 essential patents. Within ETSI and 3GPP, such submissions are referred to as
   2 TDocs. But TDocs are not patents, and there is virtually no correlation between the
   3 content of a TDoc and the scope of any patent claims owned by a company like
   4 Ericsson. For a contribution analysis to accurately estimate the strength of an
   5 alleged SEP portfolio, there must be a technical basis to match the contributions to
   6 one or more patents within the portfolio.
   7         407. To determine whether there is any correlation between approved
   8 technical contributions and standard-essential patents, I calculated the correlation
   9 coefficient between two data sets: the Working Groups relevant to Ericsson’s
  10 alleged SEPs based on Ericsson’s claim charts, and the Working Groups associated
  11 with the listing of TDocs identified by Ericsson as constituting “approved”
  12 contributions. For the second data set, I relied on the listing of over 18,000 TDocs
  13 Ericsson identified and alleges were approved for inclusion into the standards. (See
  14 Ericsson’s First Supplemental Response to Plaintiff’s Fourth Set of Interrogatories
  15 (No. 35).) As each Working Group is responsible only for certain technical
  16 specifications, the lack of correlation between these two data sets shows that
  17 Ericsson’s alleged SEPs could only potentially relate to a small fraction of the over
  18 18,000 alleged “approved” contributions Ericsson identified. Given the lack of
  19 correlation between the data sets, contribution counting provides virtually no
  20 evidence as to the strength of a given SEP portfolio.
  21         A.    Correlation Methodology
  22         408. I developed an approach to identify if any correlation exists between
  23 Ericsson’s TDocs and its alleged SEP portfolio that categorizes the data based on
  24 the standard specifications identified in Ericsson’s claim charts. Ericsson admits
  25 that it “does not maintain, in the ordinary course of business, a list correlating [the
  26 over 18,000] approved technical proposals with its patent applications, patents
  27 issued, or patent family members.” (Id.) To correlate a single TDoc of those
  28 identified by Ericsson to one or more patents within the alleged SEP portfolio would

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   1 require in-depth analysis of not only the TDoc itself, but of each patent as well.
   2 Given the size of Ericsson’s alleged SEP portfolio and the large number of TDocs
   3 identified, a full analysis is impractical. However, any relationship between TDocs
   4 and patents can be identified based on the relevant Working Groups associated with
   5 (1) the alleged SEPs and (2) the TDocs.
   6         409. Each Working Group is responsible for a particular set of standard
   7 specifications, and the TDocs identify in which Working Group it was submitted,
   8 considered, and possibly adopted. Typically, technical contributions are
   9 incorporated into each standard specification based on at least one TDoc submitted
  10 to the responsible Working Group. Importantly, a non-responsible Working Group
  11 cannot revise a technical specification. Based on this structure, it is possible to
  12 determine the correlation between the identified TDocs and Ericsson’s alleged SEP
  13 families. By focusing on the standard specification identified by Ericsson and the
  14 relevant Working Groups, I avoided subjectivity as to which Working Group covers
  15 which technical category. Another technical expert, Dr. Matthew Valenti, assisted
  16 in developing this method, as well as analyzing the resulting data.
  17         410. Moreover, calculating the correlation coefficient based on relevant
  18 Working Groups will provide an indication of the reliability of indiscriminately
  19 using the approved contributions in establishing the strength and essentiality of
  20 Ericsson’s alleged SEP portfolio. By “indiscriminately,” I refer to the use of all of
  21 Ericsson’s approved contributions to determine the strength and essentiality of
  22 Ericsson’s alleged SEP portfolio. As I discussed earlier with respect to the Industry-
  23 Wide Essentiality Analysis and the SEP Analysis, only those patents with at least
  24 one claim directed towards User Equipment are relevant to my analysis in this
  25 litigation. In identifying the over 18,000 TDocs, Ericsson does not categorize which
  26 TDocs are relevant to technical contributions for User Equipment. Accordingly, by
  27 determining the correlation between Working Groups relevant to the patent families
  28 and those identified by Ericsson’s list of TDocs, it is possible to determine whether

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   1 Ericsson is seeking to support its position regarding the relative strength of its UE-
   2 directed portfolio by relying on unrelated technical contributions which may or may
   3 not be patented.
   4         411. As I discussed earlier, approved contributions incorporated into a
   5 specific standard specification are only embodied within a TDoc submitted to the
   6 responsible Working Group. Therefore, the Working Groups relevant to each of the
   7 219 family/standard pairs are identifiable based on the standard specifications on
   8 which Ericsson alleges the patent family reads. For example, Ericsson asserts that
   9 P08167 reads on the 3GPP technical specification 25.211, version 6.0.0, which is
  10 one of the standard specifications for which the RAN Working Group 1 is
  11 responsible. In order for the claimed subject matter of P08167 to be included within
  12 the standard specification, a TDoc embodying the claimed subject matter must have
  13 been submitted to and approved by RAN Working Group 1. Therefore, RAN
  14 Working Group 1 is a relevant Working Group for P08167.
  15         412. I limited my analysis to those family/standard pairs for which Ericsson
  16 provided claim charts. In this way, the identification of relevant Working Groups is
  17 based on Ericsson’s own assertions as to which standard specifications each patent
  18 family/standard pair reads on. To attempt to identify relevant Working Groups,
  19 without Ericsson’s assertion as to the standard specifications each patent
  20 family/standard pair is relevant to, would require an in-depth analysis of the patents
  21 of the uncharted patents families, as well as all standard specifications available
  22 from ETSI and 3GPP. This would interject subjectivity into the correlation analysis
  23 that I wanted to avoid. Instead, I wanted to use an objective metric not requiring
  24 any judgement calls by myself or Dr. Valenti as to what is the relevant standard
  25 specifications for a patent family.
  26         413. To identify the relevant Working Groups for each of the 219
  27 family/standard pairs, I first identified the responsible standard specifications for
  28 each Working Group from the 3GPP website. This information is available for four

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   1 currently open Technical Specifications Groups, or “TSGs.” These TSGs are RAN,
   2 which I mentioned earlier, GSM EDGE Radio Access Network, or “GERAN,” Core
   3 Network and Terminals, or “CT,” and Service and System Aspects, or “SA.” Each
   4 of these TSGs include various Working Groups. For example, RAN is divided into
   5 six Working Groups. For example, the RAN Working Group 1 I discussed earlier is
   6 known as Radio Layer 1, or “R1.”
   7          414. When a TSG or a Working Group is closed, the specifications for
   8 which the closed unit was responsible are either withdrawn, or the responsibility for
   9 the technology is migrated to a Working Group that is open. 3GPP’s website
  10 maintains this information, including a record of all specifications released. For
  11 those Ericsson TDocs identified that were submitted to closed Working Groups, I
  12 identified the currently open Working Group that accepted responsibility for some,
  13 if not all, of the technology specifications of the closed Working Group.
  14          415. After identifying the responsible standard specifications for each
  15 Working Group, I then determined which Working Groups are relevant to each of
  16 the 219 family/standard pairs based on the standard specifications identified by
  17 Ericsson in the representative claim charts. In the context of this correlation
  18 analysis, I make no admissions regarding whether any of the claims of Ericsson’s
  19 alleged SEP portfolio actually read on the identified standard specifications in the
  20 claim charts. To quantify the proportion of Working Groups relevant to the 219
  21 pairs, I allocated numerical values to each Working Group relevant to a particular
  22 patent family. For example, the standard specifications identified by Ericsson for
  23 P23384 are technical specifications 36.213 and 36.211, which are both the
  24 responsibility of the R1 Working Group. Accordingly, I allocated a full point (“1”)
  25 to R1.
  26          416. When more than one Working Group is relevant to a particular patent
  27 family, I allocated a proportional value to each Working Group. For example,
  28 Ericsson identified four different technical specifications as allegedly read upon by

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   1 P08804: technical specifications 36.212, 36.211, 36.213, and 36.321. R1 is
   2 responsible for specifications 36.212, 36.211, and 36.213, while R2 is responsible
   3 for technical specification 36.321. Accordingly, I allocated R1 and R2 each a half
   4 point (“0.5”). I chose this even allocation because in each case Ericsson did not
   5 provide more detailed contentions regarding how it each patent family should
   6 allegedly be weighted with respect to the listed standard specifications. I have not
   7 attempted to weight the allocated points based on the number of standard
   8 specifications associated with each Working Group on my own. Such weighting
   9 would inherently interject a judgement as to the relative importance of each
  10 Working Group, which is not my intent. The correlation analysis is meant to
  11 identify whether there is any correlation between approved TDoc submissions and
  12 the patent families. In all, there was a possible 219 points that could be allocated,
  13 based on the 219 family/standard pairs.
  14         417. For the second data set, I counted the number of TDocs within the
  15 identified set of over 18,000 TDocs for each Working Group. The Working Group
  16 within which a TDoc was submitted can be identified based on the naming
  17 convention used. For example, all TDocs submitted to the R1 Working Group
  18 stated with “R1,” followed by a six digit identification number. Moreover, Ericsson
  19 has indicated which meeting of the particular Working Group is associated with
  20 each of the over 18,000 TDocs. Again, meeting numbers are appended with the
  21 same two character identifier of the Working Group. Using this information, I
  22 counted how many TDocs in Ericsson’s list of TDocs is associated with each
  23 Working Group.
  24         418. For those TDocs submitted to closed Working Groups, I identified a
  25 currently open Working Group which has subsumed some or all of the technology
  26 embodied in the specifications associated with the closed Working Groups. Some
  27 of the TDocs in Ericsson’s listing were submitted to the T1, N1, N3, and N4
  28 Working Groups, which have all been closed. For the T1 Working Group, the

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   1 identification was easy, as T1 appears to have been responsible for a single
   2 specification, of which a descendant was noted, the responsibility of which fell to
   3 the R5 Working Group. Therefore, I allocated the T1 TDocs to the R5 Working
   4 Group.
   5        419. Each of the N1, N3, and N4 Working Groups were responsible for
   6 several standard specifications, making the determination of a surrogate Working
   7 Group a bit more involved. To ensure a proper allocation, I reviewed each of the
   8 specifications associated with each closed Working Group to identify all currently
   9 open Working Groups responsible for any descendant, antecedent, or superseding
  10 document. After reviewing the available records from 3GPP, it was clear that the
  11 responsibility was transferred from one closed Working Group to a single open
  12 Working Group. Specifically, it appears that the responsibilities of the N1, N3, and
  13 N4 Working Groups were transferred to the C1, C3, and C4 Working Groups.
  14 Therefore, I allocated the N1, N3, and N4 TDocs accordingly.
  15        B.     There Is Little or No Correlation Between Approved Contributions
  16               and Issued Patents.
  17        420. I considered the distribution of the number of instances a standard
  18 related to a given Working Group was used in the claim charts provided by
  19 Ericsson, as identified by the point values I allocated, as I discussed above. For
  20 example, the R1 Working Group received a score of 67.75 of the 219 points, and R2
  21 received 75.92. These two Working Groups dominated the scene. The entire
  22 distribution is shown in the tab “Claim Charts WG” of the spreadsheet I prepared.
  23 (Ex. 1323.) The spreadsheet further includes a tab labeled “Ericsson TDoc Dist,”
  24 showing the distribution of the over 18,000 TDocs that Ericsson identified. To the
  25 extent that the contributions represent a good proxy to the patents that Ericsson
  26 claims are standards-essential, these two sets of numbers should be highly correlated
  27 as they are intimately related by the corresponding Working Group.
  28        421. As stated above, I calculated the correlation coefficient of these two

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   1 data sets. The correlation coefficient may be calculated using a sample-based
   2 formulation or a population-based formulation. Although a population correlation
   3 coefficient yields a slightly smaller result, both approaches are acceptable. For this
   4 analysis, I calculated a sample correlation coefficient. The correlation coefficient is
   5 a number between “-1” and “1.” If two sets of numbers are highly correlated in the
   6 same direction, meaning when one variable tends to be large so does the other
   7 variable, the correlation coefficient will be close to “1.” If the correlation is high,
   8 but in the opposite direction, meaning when one variable tends to be large the other
   9 variable tends to be small, the correlation coefficient will be close to “-1.” If the
  10 two sets are independent, the correlation will be mathematically zero, or practically
  11 close to zero.
  12         422. The calculations and result are shown in the tab labeled “RHO” of the
  13 related spreadsheet. (Ex. 1323.) As it turns out, the sample correlation coefficient is
  14 approximately 0.02915, which for all practical purposes is indistinguishable from
  15 zero. In other words, the two sets of numbers are not correlated at all, proving that
  16 the over 18,000 TDocs that Ericsson provided as evidence of the strength of its
  17 alleged SEP portfolio actually provide no such evidence at all. When viewed with
  18 respect to the totality of TDocs submitted to each Working Group by Ericsson, out
  19 of the over 18,000 TDocs, this lack of correlation is more clearly evident. The
  20 “ORDERED” tab ranks the Working Groups based on the total number of
  21 Ericsson’s identified approved contributions associated with each Working Group.
  22 (Id.) Although Ericsson identified the 219 family/standard pairs as predominately
  23 relevant to the R1 and R2 Working Groups, these two Working Groups represent
  24 only the sixth and eleventh ranked Working Groups based on total approved
  25 Ericsson TDocs, respectively.
  26         423. In order to better appreciate why a correlation coefficient of 0.02915 is
  27 practically zero, I calculated the correlation coefficient between two randomly-
  28 generated set of values. The results can be found in the tab labeled

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   1 “RAND_FIXED” of the spreadsheet attached to my Expert Report. (Id.) I used the
   2 Excel random function “rand()” to generate two sets of random numbers between
   3 “0” and “1,” all of them independent of all other random numbers. The size of each
   4 set is 18, the same as with the actual data of the Working Groups. In other words,
   5 the two sets of 18 numbers each are independent and thus their correlation
   6 coefficient should be close to zero. As it turns out, it is approximately 0.10709,
   7 which reinforces my statement that 0.02915 is practically zero. Since the function
   8 “rand()” will generate new values each time it is invoked, I “froze” one set of results
   9 in the spreadsheet to illustrate the point. The “experiment” could be re-run
  10 repetitively to further support that such a set of randomly generated values would
  11 have a correlation coefficient close to zero, much as 0.02915 is.
  12         C.    Technical Analysis of Sample TDocs Identified By Ericsson Shows
  13               a Lack of Support Regarding the Strength of Ericsson’s Portfolio.
  14         424. As shown through my correlation analysis, there is essentially zero
  15 correlation between the two data sets. For further context, Dr. Valenti and I took it
  16 upon ourselves to analyze several of Ericsson’s identified approved contributions.
  17 There are various types of TDocs that are approved during the standardization
  18 process, many of which are not inventive in nature. For example, an approved
  19 TDoc might merely address a text proposal, such as rephrasing, which is not an
  20 actual inventive contribution to the standard that is protectable by a patent.
  21 Moreover, approved TDocs may not be directed to relevant to User Equipment. For
  22 example, an approved TDoc may be directed to text proposals concerning portions
  23 of the standard relevant only to base stations. As these types of contributions are
  24 non-inventive or irrelevant to User Equipment, these TDocs fail to provide any
  25 evidence as to the strength or essentiality of Ericsson’s alleged SEPs. I will discuss
  26 several examples of these types of TDocs that were included in Ericsson’s listing, to
  27 help provide more context as to the correlation results discussed above. These
  28 examples are not meant to be in any way exhaustive, but to merely provide a few

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   1 examples of the types of irrelevant TDocs Ericsson has included in its listing.
   2               1.     TDoc C1-060692
   3         425. This TDoc is a Change Request, or “CR,” seeking to modify technical
   4 specification 24.206, entitled “Voice Call Continuity between the Circuit-Switched
   5 (CS) domain and the IP multimedia (IP) Core Network (CN) Subsystem.” (Ex.
   6 1388.) This technical specification relates to the core network, and therefore does
   7 not involve the handset. Moreover, the requested change is merely a “correction of
   8 notation for the signaling flows.” The justification given is that the “notation for CS
   9 and IMS control signaling and media are similar.” The only proposed action is to
  10 change the notation for the different control signals to make it “easier to see the
  11 difference between CS and IMS” which “can avoid possible misunderstanding
  12 during implementation.” This CR is a clarification and does not introduce or
  13 produce any new features whatsoever.
  14               2.     TDoc C4-080437
  15         426. This TDoc is a joint submission by Ericsson and several other member
  16 organizations, related to technical report 23.820, entitled “Study on IMS Restoration
  17 Procedures.” (Ex. 1339.) This technical report proposes a “problem scenario”
  18 involving the Home Subscriber Server, or “HSS.” The HSS is a database containing
  19 subscriber information. (Ex. 1416 at p. 144.) The HSS resides within the Evolved
  20 Packet Core, or “EPC,” which is the core network, as illustrated by the following
  21 Figure 8.1 from the Dahlman text.
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  13 (See id. at 144.)
  14         427. The problem scenario focused on overcoming interruptions of the HSS
  15 due, for instance, from hardware faults, resulting in potential loss of critical
  16 information. (Ex. 1337 at p. 15.) The recommendation in the TDoc is: “The
  17 contribution proposes to conclude that any IMS Core Network implementing IMS
  18 Restoration Procedures should include an HSS that provides sufficient redundancy
  19 so that it is possible to assume that critical data is always available.” As the
  20 contribution is only contemplating the redundancy of data stored at the HSS within
  21 the EPC, it does not in any way relate to handsets. Moreover, the proposed text
  22 does not cover how to technically implement the HSS in such a manner, only that
  23 some information is deemed “critical” and should be preserved in the
  24 implementation. The contribution is also related to a technical report, which
  25 contains mostly explanatory material as opposed to a technical specification.
  26 Standards are defined in the set of technical specifications, not in technical reports.
  27 Thus, for several independent reasons, this CR does not introduce or produce any
  28 new patentable features whatsoever.

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   1               3.     TDoc R1-092936
   2        428. This TDoc is a text proposal for inclusion in Appendix A of technical
   3 report 36.814. (Ex. 1345.) This proposed text relates to the evaluation of a
   4 performance metric, specifically Effective Interference over Thermal noise, or “IoT
   5 noise.” Appendix A of technical report 36.814 is entitled “Simulation Model” and
   6 provides details on a simulation model used to evaluate new proposed technologies.
   7 Although simulation models are important tools used by the standards bodies to
   8 evaluate proposed technologies, they are not in themselves inventive in nature.
   9 Once again, a technical report is not a contribution to a technical specification. It is
  10 true that occasionally an inventive idea may originally be disclosed in a technical
  11 report. However, such an inventive idea would have to go through the approval
  12 process for adoption into a technical specification like any other TDoc. That is, a
  13 separate TDoc containing the inventive idea would need to be submitted to the
  14 respective Working Group responsible for the technical specification, which would
  15 contribute to the total count of approved TDocs. Therefore, counting both the TDoc
  16 directed to the technical report and the TDoc directed to the technical specification
  17 for the same inventive idea would be double-counting and is fundamentally flawed.
  18               4.     TDoc R1-145035
  19        429. This TDoc is a text proposal on the topic of small data transmission.
  20 (Ex. 1346.) The text proposal merely captures what was already agreed upon at
  21 earlier meetings for the RAN 1 Working Group. The document itself contains no
  22 new inventive features, as it is merely documenting what was discussed at an earlier
  23 meeting.
  24               5.     TDoc R3-092069
  25        430. This TDoc is a CR proposing changes to technical specification 36.300.
  26 (Ex. 1347.) The requested change is to remove a feature from 36.300 based on the
  27 outcome of a discussion by another TSG, specifically the SA2 Working Group, at
  28 another meeting. A TDoc removing a feature from the standard does not support the

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   1 strength of Ericsson’s allegedly standard essential patents portfolio.
   2                6.    TDoc R4-060634
   3         431. This TDoc is a text proposal directed to a technical report embodied in
   4 another TDoc, R4-060298, which concerns unwanted or “spurious” emissions from
   5 the base station. (Ex. 1348.) It is not relevant for at least two reasons. First, it is
   6 about specifications for the radio emissions from base stations, and therefore cannot
   7 apply to the handset. Second, it is regulatory in nature, discussing requirements on
   8 unwanted base station transmissions, and as such does not relate to any particular
   9 SEP feature.
  10                7.    TDoc R4-070399
  11         432. This TDoc is entitled “Simulations assumptions for 16QAM EUL BS
  12 receiver performance.” (Ex. 1349.) The purpose of this TDoc is to recommend a
  13 set of parameters or assumptions for use in simulations. The focus of the TDoc is
  14 exclusively on simulation methodology, and does not propose any particular feature.
  15 While simulations are important tools used by the standards bodies to compare and
  16 contrast new technologies, they are not in themselves inventive in nature.
  17                8.    TDoc R4-080606
  18         433. This TDoc is a text proposal for technical specification 36.141, entitled
  19 “Base Station (BS) conformance testing.” (Ex. 1350.) This TDoc addresses another
  20 proposal to remove the “Wide Area BS” classification. The corresponding edits
  21 proposed in R4-080606 is to remove the text in the technical specification that
  22 reference the wide area BS class. The main proposed edits are to remove 11
  23 instances of the phrase “wide area BS” from the technical specification. A few
  24 other edits are proposed that state that during the test, the signal level should be
  25 adjusted, rather than specific attenuators adjusted. None of these edits relate to a
  26 feature covered by the allegedly SEP portfolio. Moreover, the TDoc itself relates to
  27 tests performed at the base station, and therefore does not relate to a handset.
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   1                9.     TDoc R4-081184
   2         434. This TDoc, entitled “Cleanup and alignment of ‘frequency band and
   3 channel alignment’,” is editorial in nature. (Ex. 1351.) The purpose of this TDoc is
   4 to propose edits to three technical specifications that were developed concurrently in
   5 order to make them agree, specifically 36.101, 36.104, and 36.141. These technical
   6 specifications contain common information. The TDoc merely proposes changes to
   7 the writing of the three documents to make them agree. No new concepts are
   8 introduced in this TDoc, since its purpose is to do some editorial housekeeping.
   9                10.    TDoc R4-091848
  10         435. This TDoc is a text proposal related to work item technical report
  11 embodied in TDoc R4-090993. TDoc R4-091848 covers receiver spurious
  12 emissions at the base station. (Ex. 1352.) In particular, it sets requirements for the
  13 base station receiver and describes tests performed at the base station, as discussed
  14 in Section 7.6.1.1. Since it covers base station receiver tests, it is not related to
  15 handsets. Moreover, it is concerned with testing and emissions, which do not
  16 involve any of the features in the alleged SEP portfolio.
  17                11.    TDoc R4-093006
  18         436. This TDoc is a proposal to change the text of technical specification
  19 37.104. (Ex. 1353.) The purpose of the text proposal is to introduce base station
  20 classes. The proposed edit involves a short section entitled “Base station classes.”
  21 While concerned with the classification of base stations, the TDoc has nothing to do
  22 with handsets.
  23                12.    TDoc R4-121802
  24         437. This TDoc is a text proposal to update technical report 30.007, which is
  25 a guideline for drafting work items and study items on a particular set of
  26 technologies. (Ex. 1354.) The TDoc is procedural in nature, providing the flow for
  27 work items along with descriptions of, and drafting rules for, work items, study
  28 items, and technical reports. While the focus of these items is carrier aggregation,

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   1 the TDoc does not get into the specifics of carrier aggregation and does not in itself
   2 offer any proposals for new technological features.
   3               13.    TDoc R1-051450
   4         438. This TDoc is a CR for technical specification 25.211, version 5.7.0.
   5 (Ex. 1341.) The CR is entitled “Clean up due to removal of CSICH.” Prior to this
   6 CR, a decision had been made to remove the CPCH Status Indicator Channel
   7 (CSICH) from the standard. However, there was still reference to CSICH in the
   8 technical specification. The only edit proposed by the CR is to delete a single
   9 instance of the phrase “possible use by CSICH or” from the technical specification.
  10 No other edits are proposed. The TDoc is purely editorial, and contrary to adding
  11 new features or functionality, it is deleting a reference to a removed feature.
  12               14.    TDoc R1-051451
  13         439. This TDoc is a CR for technical specification 25.211, version 6.6.0.
  14 (Ex. 1342.) The requested change is exactly the same edit proposed in TDoc R1-
  15 51450 that I just discussed. The only difference between the two TDocs is the
  16 version of the technical specification to which the edit is being made.
  17               15.    TDoc R1-061351
  18         440. This TDoc is directed to an edit of technical report 25.903, version
  19 0.4.0. (Ex. 1344.) The TDoc proposed replacing the abbreviation “ConCon” with
  20 the abbreviation “CPC.” It was pointed out in another TDoc, R1-061351, that the
  21 term ConCon could be “perceived as unfortunate and/or offensive in English as well
  22 as in French” because “con” is apparently the most common curse word in French.
  23 TDoc R1-081582 seeks to use the abbreviation CPC instead, which is a term
  24 previously used in an earlier submission by Qualcomm. Therefore, this TDoc
  25 submission is not inventive and does not disclose a new feature, but rather is
  26 editorial in nature. Moreover, the term proposed was not initially proposed by
  27 Ericsson, but apparently was proposed earlier by Qualcomm, as illustrated in R1-
  28 060946.

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   1 IX.     LTE’S KEY DISTINGUISHING FEATURES WERE NOT
   2         DEVELOPED BY ERICSSON, AND WERE WELL-KNOWN BEFORE
   3         STANDARDIZATION OF LTE (4G)
   4         441. I understand Ericsson’s witnesses intend to argue that Ericsson made
   5 significant and valuable contributions to 4G LTE. For example, in his rebuttal
   6 report, Dr. Parkvall cites a paper written by Ericsson engineers that identifies eight
   7 specific LTE key features that purportedly distinguish LTE over WiMAX to support
   8 his argument that a system without Ericsson’s LTE technologies (e.g., Link
   9 Adaptation) would translate to “reduced user throughput by 7%.” I understand Mr.
  10 Kennedy then relies on Dr. Parkvall’s analysis to calculate the value of Ericsson’s
  11 4G portfolio. I disagree with this. These key distinguishing features of LTE were
  12 well known before standardization of LTE, and were developed by companies other
  13 than Ericsson.
  14         442. LTE differs from the earlier 3GPP cellular technologies (such as 2G
  15 and 3G) and other contemporaneous cellular technologies (such as Worldwide
  16 Interoperability for Microwave Access, or “WiMAX”) in many ways. One principal
  17 difference in LTE is that it abandons the GSM/UMTS and CDMA2000 core
  18 network designs, and introduces a “flat,” IP-based architecture, ideally suited for
  19 handling packet-switched data. While this is an important addition to the overall
  20 communication networking development, since my understanding is that the issues
  21 in this case are limited to UE, I will not go into detail on the core network issues.
  22 Instead, I will address each of LTE’s key distinguishing features that are of specific
  23 relevance to User Equipment.
  24         443. The most significant way LTE differs from the earlier 3GPP cellular
  25 technologies is the move to a different air interface based on the Orthogonal
  26 Frequency Division Multiple Access (OFDMA) protocol. In LTE, the available air
  27 interface is essentially divided up into an array of closely-spaced frequency and time
  28 slots, subsets of which can be allocated to different users. The allocation can be

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   1 changed rapidly over time, depending on the amount of data to be transmitted or
   2 received by each user. As such, OFDMA offers a flexible way to deliver
   3 dynamically changing data rates to multiple subscribers, reflecting the more
   4 “bursty” nature of today’s data intensive services (where a user may be using
   5 relatively low amounts of data when making a voice call, and then switch to use a
   6 burst of large amounts of data when streaming video on a smartphone). Figure 66
   7 illustrates the flexible allocation of “frequency and timeslots” in an OFDMA
   8 system.
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  19                    FIGURE 66: Example Orthogonal Frequency
  20                   Division Multiple Access (OFDMA) Allocations
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  22        444. OFDMA was well-known and used in other communication systems
  23 before standardization of LTE. For example, OFDMA was used in WiMAX
  24 (Worldwide Interoperability for Microwave Access) systems in the early-2000s, and
  25 was proposed as a candidate for the 3G air interface in 1997. WiMAX was
  26 originally developed to provide fixed residential internet connectivity. First
  27 standardized by the Institute of Electrical and Electronics Engineers (IEEE) in 2004
  28 under the technical name IEEE 802.16, WiMAX later evolved to support cellular-

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   1 like applications. Although WiMAX had been deployed commercially, notably by
   2 Sprint in the United States, it was not particularly commercially successful.
   3         445. Ericsson’s engineers published a paper (the “Furuskär paper”) that
   4 presents “some key characteristics of the LTE radio interface, including physical
   5 layer and radio resource management functions, and evaluates impact on system
   6 performance.” (See Ex. 1450 at p. 1.) The Furuskär paper also provides
   7 comparisons of basic performance metrics between LTE and WiMAX, concluding
   8 that LTE enjoys a combined gain in spectrum efficiency of approximately 60% in
   9 the downlink and 100% in the uplink as compared to WiMAX, due to contributions
  10 from a set of distinctive features. (Id.) This paper also identifies a set of key
  11 characteristics and related distinctive features (“more sophisticated solutions”) that
  12 distinguishes LTE from other systems such as WiMAX, summarized in Table 1
  13 reproduced below:
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  25         446. For example, the Furuskär paper identifies the following eight key LTE
  26 features as being responsible for the performance of LTE over WiMAX: (1)
  27 “OFDM in DL and DFT-spread OFDM in UL” for Multiple Access (MA); (2)
  28 “Fractional pathloss compensation” for uplink power control (PC); (3) “Channel

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   1 dependent in time and frequency domain” for Scheduling; (4) “Horizontal encoding
   2 (multiple codewords), closed loop with precoding for MIMO scheme; (5) “Fine
   3 granularity (1-2 dB apart)” for Modulation and coding scheme granularity (MCS);
   4 (6) “Incremental redundancy” for Hybrid ARQ II (HARQ); (7) “1 ms subframes for
   5 Frame duration (CQI delay); and (8) “Relative low OH (while control channels are
   6 robust)” for Overhead/control channel efficiency (OH/CCH eff). As explained
   7 below, these eight alleged key LTE features were also known and/or developed by
   8 others (i.e., not Ericsson) before the standardization of LTE.
   9        A.     OFDM in Downlink (DL), DFT-spread OFDM in Uplink(UL) for
  10               Multiple Access (MA)
  11        447. The “Multiple Access (MA)” function in LTE relates to how frequency
  12 resources are shared among users transmitting on the uplink and the downlink. As
  13 shown in Table I of the Furuskär paper, LTE uses the well-known OFDM scheme
  14 for the downlink, a technique that is common with the baseline Mobile WiMAX
  15 wave 2 system. The key LTE distinguishing feature, according to Table I of the
  16 Furuskär paper, is the use of DFT-spread OFDM on the uplink. DFT-spread
  17 OFDM, also known as SC-FDMA, is a twist on conventional OFDM whereby the
  18 signal is first passed through a Discrete Fourier Transform (DFT) operation before
  19 going through the processing operations of a standard OFDM signal. The DFT
  20 operation, called DFT-spreading, has the benefit of reducing the peak-to-average
  21 power ratio (PAR), making the system more power efficient.
  22        448. The idea of DFT-spread OFDM dates back to at least 2002. In Galda
  23 and Rohling, a DFT-spread OFDM system is proposed, and its benefits with respect
  24 to PAR reduction espoused: “It will be shown in this paper that using the Discrete
  25 Fourier Transform (DFT) matrix as an orthogonal spreading technique will reduce
  26 the PAR significantly.” ( Ex. 1398 at p. 2, see also id at pp. 3–5.) Also in 2002,
  27 Benvenuto and Tomasin proposed a Single Carrier system that has the essential
  28 ingredient of the SC-FDMA system used in LTE, namely a cyclic extension, or

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   1 cyclic prefix, which enables simple equalization (See Ex. 1394 at pp. 1–2, 6–8.).
   2 Similarly, in April 2002, Falconer proposed a single carrier system that uses a cyclic
   3 prefix and allows for frequency domain equalization. (See Ex. 1397 at pp. 3–4, 6–
   4 8..) Falconer also proposed using the SC-FDMA system in the uplink and OFDM
   5 on the downlink and discussed associated advantages.
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  19 (Id at 5.)
  20        449. As such, the concept of coexistence of OFDMA (in the downlink) and
  21 SC-FDMA or DFT-spread OFDM (in the uplink) in a communication system was
  22 also known since at least 2002.
  23        450. As DFT-spread OFDM was already well known at the time that LTE
  24 standardization commenced, any further innovation in this area is merely the
  25 incremental engineering improvements used to reduce the idea to practice. In
  26 reviewing Ericsson’s alleged SEP Families, I could not find any that lay claim to the
  27 idea of SC-FDMA or co-existence of OFDMA and SC-FDMA. The scope of
  28 coverage of Ericsson’s alleged SEPs merely utilizes SC-FDMA and/or co-existence

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   1 of OFDMA and SC-FDMA to perform some other, incremental function.
   2        B.     Fractional Pathloss Compensation for Uplink Power Control
   3        451. Power control (PC) focuses on the selection of the UE’s transmit
   4 power, in order to achieve a desired power level for a signal when it is received at
   5 the base station. The transmit power must account in some way for the pathloss that
   6 occurs between the UE and the base station. Previous generation standards (e.g., 2G
   7 and 3G) used full pathloss compensation, where the UE would transmit enough
   8 power to fully compensate for the pathloss. However, in LTE, fractional pathloss
   9 compensation was introduced, whereby the UE does not necessarily fully
  10 compensate for the pathloss, but rather the degree of compensation is controlled by a
  11 parameter “α,” which can vary from “0” (no pathloss compensation) to “1” (full
  12 pathloss compensation). I determined that none of the Ericsson’s purported SEP
  13 Families are specifically directed to fractional pathloss compensation, which again
  14 is identified as the key distinguishing feature of the LTE uplink power control
  15 function in the Furuskär paper.
  16        452. The fractional pathloss compensation technology was apparently
  17 introduced into the 4G standard by another company, namely, Interdigital, as shown
  18 in TDoc R1-072781. (Ex. 1404 at pp. 1–8.). As shown in the portion of the R1-
  19 072781 reproduced below, the inclusion of fractional pathloss in LTE using the
  20 parameter “α” was proposed by Interdigital.
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       (Id. at 2.)
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  17          453. In addition, Motorola had previously disclosed using the fractional
  18 pathloss approach, as shown in U.S. Patent No. 7,738,907, filed on February 19,
  19 2007, and claiming priority to June, 20, 2006, which is before the date of the
  20 Interdigital TDoc. This patent teaches, inter alia, that “based on channel condition
  21 measurements reported by UEs served by Node B, . . . the Node B determines ([in
  22 step] 510) a fractional path loss for each such UE.” (Ex. 1414 at p. 12, 8:56–59.)
  23 None of the Ericsson’s 4G Families are specifically directed to fractional pathloss
  24 compensation. Furthermore, I conducted a search for any Ericsson patents directed
  25 to fractional pathloss compensation that predate the Motorola patents discussed
  26 above. The search was conducted using a well-known patent search tool,
  27 LexisNexis Total Patent, which obtains data from over 100 patent authorities,
  28 including the United States Patent Office (USPTO) and the European Patent Office

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   1 (EPO). (Ex. 1720.) The search was conducted using the following criteria:
   2                x      Assignee:           Ericsson
   3                x      Key words:          (fract!) and (power w/2 control) within the
                           Title, Abstract and Claim fields, and
   4
                    x      Priority date:    Before February 20, 2007 (hence on or
   5                       before February 19, 2007, the U.S. filing date of the Motorola
                           ’907 Patent).
   6
             454. The search produced 72 Ericsson US, EP, and WO patents. (Ex. 1396.)
   7
       I reviewed these 72 patents, and determined that they do not cover fractional
   8
       pathloss compensation as standardized in LTE. In summary, after a reasonably
   9
       diligent search, I was unable to identify any Ericsson patent covering this
  10
       technology; and it appears that it was not Ericsson but instead other companies that
  11
       developed this technology and proposed it be included in LTE.
  12
             455. Thus, while some of Ericsson’s alleged SEPs may be related to
  13
       fractional pathloss compensation technology and perform some other, incremental
  14
       functions, none of them cover the key LTE distinguishing feature itself.
  15
             C.     Channel Dependent Scheduling in Time and Frequency Domain
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             456. The “scheduling” function in LTE relates to how different users are
  17
       assigned different time-frequency resources for communication. Scheduling can
  18
       take advantage of rapid changes in the signal qualities of different users (e.g., due to
  19
       fading) in order to use the best resources for a given user at a given time. Both
  20
       systems identified in the Furuskär paper use scheduling that is “channel dependent
  21
       in time,” meaning that at each time increment, the system will optimize the usage of
  22
       resources for different users. The distinguishing key feature of LTE identified in the
  23
       Furuskär paper is that LTE scheduling is not only channel dependent in time, but is
  24
       also channel dependent in the frequency domain. This means that at a given time,
  25
       the frequencies assigned to the users can be optimized in an LTE system, whereas in
  26
       Mobile WiMAX Wave 2 that flexibility did not exist. None of Ericsson’s 4G SEP
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       Families are specifically directed to channel dependent scheduling in the time and
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   1 frequency domains, which again is identified as the key distinguishing feature of the
   2 LTE scheduling function in the Furuskär paper.
   3         457. Moreover, the benefits of channel-dependent scheduling in time and
   4 frequency were known well before the start of LTE standardization. As early as
   5 1995, Knopp and Humblet proposed a scheduler that was channel dependent in time
   6 and frequency. (Ex. 1390.) The frequency-dependent operation of the scheduler is
   7 described in the paragraph below equation (13): “Firstly, the fact that there are
   8 multiple users and that the base station can allocate different parts of the bandwidth
   9 arbitrarily, only one user is permitted to transit at any given frequency. This user
  10 has the strongest instantaneous response at that frequency.” (Id. at 3.) Therefore,
  11 the paper proposes a frequency-dependent scheduler that allocates resources to the
  12 user with the best CQI at each frequency.
  13         458. Over the years, more engineering effort has been directed towards
  14 improving the performance of the time-frequency scheduler. In 2003, Wang
  15 proposed a time-frequency scheduler that broke time and frequency into “bins,”
  16 where each “bin” was 0.667 msec in duration and 200 kHz in bandwidth. (Ex. 1392
  17 at p. 1.) The idea of “bins” is also used in LTE, but is referred to as a “resource
  18 block.” These resource blocks in LTE have a 1 msec duration and are 180 kHz in
  19 bandwidth, which is very similar to what is taught in Wang. (See id. at 1–4.) The
  20 benefits of scheduling in both time and frequency are highlighted in the introduction
  21 of Wang: “In an adaptive OFDM system, spectral efficiency can be improved by
  22 allocating the time-frequency resources based on throughput requirements, quality
  23 of service constraints and the channel qualities of each user.” (See id. at p. 1
  24 (emphasis in original).)
  25         459. The system proposed by Wang works by having each user’s terminal
  26 (i.e., “UE” in LTE terminology) predict the channel quality, measured as a signal to
  27 interference and noise ratio (SINR) (i.e., “CQI” in LTE terminology). (See Ex. 1392
  28 at p. 1.) Then, the scheduler at the base station allocates resources based on the

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   1 SINR and notifies the users of the allocation: “Each terminal predicts the signal to
   2 interference and noise ratio (SINR) for all bins 3 time-slots ahead and signals the
   3 appropriate modulation format to be used within the upcoming time-frequency bins.
   4 The scheduler allocates these time-frequency bins exclusively to different users and
   5 broadcasts its allocation decisions on a downlink channel.” (Id.) The operation of
   6 the scheduler is to simply allocate each time-frequency bin to the user with the best
   7 channel quality: “The assumed scheduler works as a selection diversity scheme,
   8 where the user with the best predicted SINR out of all K users will transmit in a
   9 bin.” (Id. at 2.)
  10         460. As yet another example, improvements to the scheduler were discussed
  11 in a 2005 paper by Wengerter. (Ex. 1393.) The kind of scheduler proposed in the
  12 reference is a “Generalized Proportional Fair (GPF) scheduling algorithm” and its
  13 benefit is that it “allows tweaking the trade-off between fairness and throughput
  14 performance for best effort traffic in a cellular downlink scenario.” (Id. at 1; see
  15 also id. at 1–2.) The paper extends GPF to “frequency scheduling in an OFDMA
  16 system by performing dynamic channel allocation on a subband basis” and “the
  17 scheduling is performed in time domain (TD) and frequency domain (frequency
  18 domain scheduling, FDS).” (Id.) The benefits of including the frequency domain
  19 are given: “multiuser diversity can be exploited additionally in frequency domain.”
  20 (Id.; see also id. at 2–3.)
  21         461. Around this time, several patents built upon the idea of time-frequency
  22 domain scheduling. One example is U.S. Patent 7,536,205, which was filed on May
  23 13, 2005, and claims priority to June 15, 2004 (“the Samsung ’205 Patent”). The
  24 Samsung ’205 Patent discloses a scheduler that adds an additional dimension of
  25 space to a time-frequency scheduler (i.e., “spatial division multiple access
  26 scheduling”). The use of time-frequency scheduling is given as prior art in the
  27 background section of the Samsung patent: “For example, a conventional
  28 orthogonal frequency division multiple access (OFDMA) network uses a scheduling

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   1 algorithm that assigns each mobile station to receive forward channel (downlink)
   2 traffic in a particular timeslot and using a particular frequency assignment.
   3 This scheduling algorithm may be represented by a two-dimensional array that has
   4 timeslots on one axis (e.g., x-axis) and frequency assignments on a second axis (e.g.,
   5 y-axis).” (Ex. 1406 at p. 6, 1:40–46.)
   6         462. A time-frequency scheduler is recited in claim 1 of the Samsung patent
   7 for a first time-frequency slot: “a spatial division multiple access (SDMA)
   8 scheduling controller capable of scheduling downlink transmissions to said plurality
   9 of mobile stations for a first time-frequency slot.” (Id. at 11, cl. 1.) Claim 5 of the
  10 Samsung ’205 patent extends this to each time-frequency slot: “wherein said
  11 SDMA scheduling controller is further capable of scheduling downlink
  12 transmissions to said plurality of mobile stations for each available time-frequency
  13 slot between said base station and said plurality of base stations[.]” (Id. at 12, cl. 5.)
  14         463. As another example, Alcatel claimed the use of a time-frequency
  15 scheduler in US Patent 7,773,947, which was filed June 14, 2005 claiming priority
  16 to an EP patent application filed July 13, 2004 (“the Alcatel ’947 Patent”). The
  17 scheduling of time-frequency groups appears in the abstract: “the central entity
  18 schedulers time-frequency groups available, for data communication purposes
  19 between the terminals and the base station, for the base station under its control and
  20 the terminals involved in the scheduling process, each time interval.” (Ex. 1407 at
  21 p. 1.) The use of time-frequency scheduling is detailed in the specification of the
  22 Alcatel ’947 Patent. (See, e.g., id. at 6, 2:10–11 (“[T]ime-frequency groups are used
  23 for data communication purposes . . . ”); 2:24–26 (“[T]the radio network controller
  24 schedules the time-frequency groups available for the base stations under its control
  25 and the terminals involved in the scheduling process . . . .”).) The scheduling is
  26 recited in Claim 1: “scheduling, by the radio network controller, the time-frequency
  27 groups available for the plurality of base stations controlled by the radio network
  28 controller and the at least one user terminals involved in a scheduling procedure.”

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   1 (Id. at 8, cl. 1.) The novelty in the Alcatel ’947 Patent was directed to extending the
   2 time-frequency scheduler from its use to schedule a single base station, to using it
   3 for coordinating the scheduling of multiple base stations.
   4         464. Neither the Samsung ’205 Patent nor the Alcatel ’947 Patent claims to
   5 have invented the idea of time-frequency scheduling, but rather builds upon it. In
   6 both cases, time-frequency scheduling was discussed as background, which further
   7 supports that time-frequency scheduling was well known by 2004.
   8         465. As mentioned above, I determined that none of the Ericsson’s 4G SEP
   9 Families are specifically directed to channel dependent scheduling in the time and
  10 frequency domains, which was identified as the key distinguishing feature of the
  11 LTE scheduling function in the Furuskär paper. Thus, while some of Ericsson’s
  12 alleged SEPs may be related to scheduling in the time and frequency domains and
  13 perform some other, incremental functions, none of them cover the key LTE
  14 distinguishing feature itself.
  15         D.    Horizontal Encoding (Multiple Codewords) and Closed Loop with
  16               Precoding for MIMO Scheme
  17         466. The “MIMO scheme” (MIMO) function in LTE relates to transmitting
  18 multiple layers of information by using multiple antennas. As identified in the
  19 Furuskär paper, the distinction between LTE and the baseline Mobile WiMAX wave
  20 2 system is that LTE uses “horizontal encoding” while Mobile WiMAX wave 2 uses
  21 “vertical encoding.” (Ex. 1450 at p. 2, Table 1.) The difference between these two
  22 types of encoding schemes is that horizontal encoding uses “multiple codewords,”
  23 while vertical encoding uses just a “single codeword.” (Id.) Moreover, the MIMO
  24 scheme used by LTE is “closed loop with precoding.” (Id.)
  25         467. Horizontal encoding was known since at least 2005. In EP 1,655,871,
  26 an European patent application filed by Samsung on September 11, 2005, and
  27 claiming a priority date of September 11, 2004 (“the Samsung ’871 EP
  28 Application”), horizontal encoding is clearly shown in Figure 2:

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   8 (Ex. 1395 at p. 16, Fig. 2.)
   9         468. In Figure 2 there are at least two encoders, each creating a separate
  10 codeword. The Samsung ’871 EP Application describes this as “horizontal
  11 encoding”: “Herein, MIMO transmission technology applied to the transmitter
  12 having a plurality of layers will be referred to as a Horizontal Encoding (HE) spatial
  13 multiplexing technology.” (Id. at 4.) It is understood that “spatial multiplexing” is a
  14 type of multiplexing used in a MIMO system, the kind that LTE uses with
  15 horizontal encoding. The use of horizontal encoding is specifically recited in claim
  16 8: “The method of claim 6, wherein the encoding includes one of a transmit
  17 diversity scheme, a vertical encoding scheme, and a horizontal encoding scheme.”
  18 (Id. at 14, cl. 8.)
  19         469. Horizontal encoding was also disclosed by Nortel in WO 2005/096531
  20 A1, which has an international filing date of April 4, 2005, and a U.S. priority date
  21 of April 2004 (“the Nortel WO ’531 Application”). Horizontal encoding is shown
  22 in Figure 3C of the Nortel WO ’531 Application shown below.
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       (Ex. 1408 at p. 84, Fig. 3C.)
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  10         470. The description of Figure 3C (reproduced below) describes it as a
  11 “horizontal encoding”
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  20 (Id. at 33.)
  21         471. Closed loop precoding was also known at the time and is disclosed in
  22 the two references. For instance, the background of the Samsung ’871 EP
  23 Application makes reference to closed-loop precoding as shown below.
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   5 (Ex. 1395 at p. 2, ¶ 7.)
   6       472. Moreover, the Samsung ’871 EP application discusses the use of
   7 precoding with closed-loop MIMO technology as shown below.
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       (Ex. 1395 at p. 3, ¶ 16.)
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             473. As discussed, closed-loop precoding makes use of CQI feedback from a
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       mobile station. Closed-loop precoding; i.e., precoding using CQI feedback, is
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       claimed by claim 13 as shown below.
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  24 (Ex. 1395 at p. 14, ¶ 13.)
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   1        474. The Nortel WO ’531 application also discusses making use of closed-
   2 loop precoding. For instance, the Nortel WO ’531 application discloses 8
   3 transmission modes, with the 7th mode being a closed-loop MIMO mode as shown
   4 below.
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   8 (Ex. 1408 at p. 164.)
   9       475. Thus, these references demonstrate that “horizontal encoding (multiple
  10 codewords) and closed loop with precoding,” which are identified as the key LTE
  11 distinguishing features for the MIMO scheme function in the Furuskär paper, were
  12 developed by companies other than Ericsson and were well known before the
  13 standardization of LTE.
  14        476. Furthermore, I determined that none of the Ericsson’s 4G Families are
  15 specifically directed to horizontal encoding using multiple codewords and/or closed
  16 loop with precoding, which again are identified as the key distinguishing features of
  17 the LTE MIMO scheme function in the Furuskär paper. Thus, while some of
  18 Ericsson’s alleged SEPs may be related to horizontal encoding using multiple
  19 codewords and/or closed loop with precoding, none of them cover the key LTE
  20 distinguishing features themselves.
  21        E.     Fine Granularity (1-2 dB Apart) for Modulation and Coding
  22               Scheme Granularity
  23        477. The “modulation and coding scheme granularity (MCS)” function in
  24 LTE relates to the ability of the system to adapt the modulation and coding scheme
  25 in accordance with the prevailing channel conditions. Given an estimate of the
  26 channel condition, the system determines an appropriate modulation and coding
  27 scheme selected from a finite set of possibilities. Adaptive modulation and coding
  28 is an idea that has been known since at least the late 1990s. (Ex. 1399.) The

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   1 Furuskär paper claims that the key distinguishing feature of LTE with respect to
   2 Mobile WiMAX wave 2 is the granularity of the MCS scheme. In particular, it
   3 shows that LTE has a “fine granularity” of “1–2 dB apart,” while Mobile WiMAX
   4 wave 2 has a “course granularity” of “2–3 dB apart.” (Ex. 1450 at p. 2, Table 1.) I
   5 determined that none of the alleged Ericsson 4G SEP Families are specifically
   6 directed to “[f]ine granularity (1–2 dB apart).”
   7        478. The granularity of an adaptive modulation and coding scheme is
   8 illustrated in the figure from a paper by Meng et al., reproduced below.
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  25 (Ex. 1401 at p. 8, FIG 5.)
  26        479. The above figure represents the throughput as a function of the signal-
  27 to-noise ratio (SNR) for different Modulation and Coding Schemes. The optimal
  28 MCS scheme for a given SNR is the one that provides the highest throughput. Each

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   1 curve is characterized by a sharp transition from essentially zero throughput at a
   2 particular value of SNR to the maximum throughput for the specific MCS. (See id.
   3 at 8–10.) The “granularity” is the difference, in dB, between the steep transitions.
   4 A “fine” granularity implies that these sharp transitions are close together, while a
   5 “course” granularity implies that they are far apart. The granularity is related to the
   6 number of MCS schemes – the more MCS schemes to choose from, the closer the
   7 curves will be, and the finer the granularity.
   8        480. The benefits of having a finer granularity were well known before LTE
   9 was standardized. The LTE standard has 29 different MCS schemes, allowing a fine
  10 granularity. (Ex. 1434 at p. 26, Table 7.1.7.1-1.) But even before LTE (4G),
  11 HSDPA (3G) had “around 30 MCS levels” and therefore had the capability to
  12 implement similar granularity. (See Ex. 1400 at p. 1; Ex. 1607.) Any further
  13 improvements in granularity were merely engineering improvements needed to
  14 reduce the idea of fine-grain adaptive modulation and coding to practice.
  15        481. Moreover, the concept of using a fine granularity MCS “enable a closer
  16 match between the quality and the transmitted signal characteristics” was recognized
  17 by Motorola since at least 2004. (Ex. 1591 at p. 10.) Enabling the fine granularity
  18 by using the 5-bit MCS implemented in LTE, therefore, was just a matter of
  19 technical development such as faster processors. For example, faster processors
  20 enabled developments such as the shorter (1 msec) subframe duration (see Section
  21 IX.G below), higher transmission speeds, and algorithmic improvements (see Ex.
  22 1400 at pp. 2–3.) These improvements in turn enabled implementation of the fine
  23 granularity using the 5-bit MCS in LTE. In other words, the concept of using a fine
  24 granularity MCS and the associated benefits were known before LTE and the
  25 specific implementation of the known concept in LTE does not represent a uniquely
  26 important contribution to the standard.
  27        482. In my review of Ericsson’s purported SEP Families, I did not identify
  28 any families that claimed to improve the granularity of the adaptive modulation and

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   1 coding. Instead, Ericsson’s SEP Families related to CQI reporting and the MCS
   2 schemes that were utilized merely assumed that a fine granularity system is
   3 implemented.
   4         F.      Incremental Redundancy for Hybrid ARQ II
   5         483. Hybrid ARQ II (HARQ) relates to the retransmission of erroneous
   6 transport blocks. In LTE, each transport block is encoded with a turbo code, which
   7 is a kind of error control code. When a block is retransmitted it is combined at the
   8 receiver with the previously received version(s) of the block and then fed through
   9 the turbo decoder. In Hybrid ARQ II, two kinds of retransmissions (and combining)
  10 are possible. On the one hand, the exact same codeword (i.e., encoded block) could
  11 be retransmitted, and combined with the previously transmitted version of the same
  12 codeword. This kind of combining is called Chase Combining.
  13         484. On the other hand, rather than retransmitting the exact same codeword
  14 bits that were sent in the first transmission, a different set of codeword bits could be
  15 sent during the retransmission. This mode of operation is called Incremental
  16 Redundancy (IR). IR is made possible because the turbo encoder generates a large
  17 codeword containing many codeword bits and during the first transmission only a
  18 subset of those codeword bits are transmitted, and the rest of the bits are punctured.
  19 During the subsequent retransmission, some of the punctured bits (those not sent in
  20 the first transmission) could be sent. This is beneficial because retransmission of the
  21 same bits (as in Chase Combining) could again cause a failure, but transmitting
  22 different bits gives the decoder a chance to recover the data by seeing a different set
  23 of code bits.
  24         485. Incremental redundancy (as opposed to Chase Combining) is identified
  25 as the key distinguishing feature of LTE in the Furuskär paper. Incremental
  26 redundancy is an old idea that has been known since the 1970s and certainly well
  27 before the first version of LTE (i.e., Release 8) in 2008. (Ex. 1391 at pp. 1–2; Ex.
  28 1454 at pp. 1–2; Ex. 1389 at pp. 2–3; Ex. 1409 at pp. 1–3.) Indeed, incremental

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   1 redundancy was used as the basic scheme for Hybrid ARQ with soft combining in
   2 HSDPA (3G). (Ex. 1451 at pp. 105–108.) LTE likewise uses incremental
   3 redundancy as the basic scheme for Hybrid ARQ with soft combining. I determined
   4 that none of the Ericsson’s 4G Families are specifically directed to incremental
   5 redundancy identified as the key distinguishing feature for the 4G Hybrid ARQ II
   6 function. Moreover, Lucent Technologies had disclosed and claimed a method for
   7 transmitting information packets with incremental redundancy and Type II HARQ,
   8 as shown in U.S. Patent No. 5,657,325, filed on April 26, 1996.
   9        486. In addition, proposals submitted to 3GPP working groups by other
  10 companies confirm that incremental redundancy at it relates to 4G Hybrid ARQ II
  11 function was developed and proposed by other companies. For instance, as far back
  12 as February 1999, Panasonic showed that a “type II” HARQ protocol utilizing
  13 “incremental redundancy” was a viable option for UMTS. (Ex. 1412 at pp. 2, 4–7.)
  14 In March 2000, Siemens proposed kicking off a Work Item related to “Hybrid ARQ
  15 II/III” with the following objective: “In order to support the general mechanism,
  16 required signaling, and combining of existing information with incremental
  17 redundancy, the specifications for physical layer, as well as for higher layers and
  18 testing will be changed and/or extended.” (Ex. 1413 at p. 1.) In 2000, Motorola
  19 showed options for HSDPA, including “Method 2” which was “Turbo Coding +
  20 Code Combining” and recited a protocol involving incremental redundancy (e.g.,
  21 “retries contain additional redundancy”). (Ex. 1410 at p. 19.)
  22        487. As I mentioned above, I determined that none of the Ericsson’s 4G
  23 Families are specifically directed to incremental redundancy identified as the key
  24 distinguishing feature of the 4G Hybrid ARQ II function in the Furuskär paper.
  25 Thus, while some of Ericsson’s alleged SEPs may be related to incremental
  26 redundancy and perform some other, incremental functions, none of them cover the
  27 key LTE distinguishing feature itself.
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   1        G.     1-ms Subframes for Frame Duration (CQI Delay)
   2        488.   “Frame duration” refers to an overall length of one radio frame for
   3 transmitting data. In LTE, one radio frame is 10 ms long and is divided into 10
   4 subframes. Therefore, frame duration determines subframe duration, which in turn
   5 determines to how quickly the scheduler can operate, how frequently the
   6 modulation/coding scheme can adapt, and how much latency the user’s data
   7 experiences. A shorter (1 msec) subframe in LTE allows for quick scheduling, rapid
   8 link adaptation, and low user latency.
   9        489. Short subframes are especially important when the channel is changing
  10 quickly, such as when the User Equipment is moving rapidly (as in a vehicle). The
  11 scheduler needs to quickly adapt the scheduling assignments and modulation and
  12 coding schemes, and this needs to be done before the channel changes.
  13        490. Table I of the Furuskär paper shows that Mobile WiMAX wave 2 used
  14 5-millisecond (ms) frames, but that LTE uses 1-ms subframes. However, short
  15 subframes were already in use by HSDPA (3G), which is the standard that predated
  16 LTE. In particular, HSDPA used subframes of duration 2-ms, as shown below in
  17 Fig. 2A of 3GPP TS 25.211.
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  28 (Ex. 1608 at pp. 12–13, Fig. 2A.)

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   2        491. The 2-ms format of HSDPA was incorporated into U.S. Published
   3 Patent Application No. US 2005/0128993 (“the ’993 Application”) filed November
   4 19, 2004, with a priority date of November 20, 20103. (Ex. 1459 at p. 24, ¶¶ 87–
   5 90.) The US ’993 application was filed by individual inventors and assigned to the
   6 inventors. The US ’993 Application describes a time-frequency scheduler for an
   7 OFDM system, and adopts the same 2-ms timing used by HSDPA, as shown in Fig.
   8 8 of the ’993 Application below.
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  23 (Ex. 1459 at p. 9, Fig. 8.) The US ’993 application also states that “[t]he CQI is
  24 transmitted in a 2-ms subframe on an HS-DPCCH (High Speed Dedicated Physical
  25 Control Channel).” (Id. at 24, ¶ 87 (emphasis added).)
  26        492. A short subframe was also used by WiMAX. The frame structure is
  27 described in IEEE 802.16-2001 (dated 8 April 2002) in Fig. 38, shown below:
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  11 (See Ex. 1609 at p. 122, Fig. 38.)
  12       493. The frame length depends on parameters such as “symbol rate” and
  13 “frame duration,” but these values are interpreted in the 2005 reference by Niyato
  14 and Hossain, which describes IEEE 802.16 as using “a frame size 0.5, 1, or 2 ms for
  15 data transmission.” (Ex. 1402 at p. 2.)
  16        494. A short subframe is also disclosed in the 2003 Wang et al. reference,
  17 which proposed a time-frequency scheduler that broke time and frequency into
  18 “bins,” where each “bin” was only 0.667 msec in duration and 200 kHz in
  19 bandwidth (extent of frequency), as discussed above. (Ex. 1392 at p. 1.).
  20      495. Thus, at the time that LTE was being standardized, the benefits of using
  21 a short subframe were already well known in the technical literature. Previous
  22 systems like HSDPA and WiMAX had similarly short subframes. All that remained
  23 were the engineering modifications required to use a 1 ms subframe in practice.
  24       496. Furthermore, I determined that none of the Ericsson’s 4G Families are
  25 specifically directed to 1-ms subframes identified as the key distinguishing feature
  26 of the 4G frame duration (CQI delay) function in the Furuskär paper. Thus, while
  27 some of Ericsson’s alleged SEPs may be related to 1-ms subframes and perform
  28 some other, incremental functions, none of them cover the key LTE distinguishing

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   1 feature itself.
   2         H.    Relatively Low Overhead (While Control Channels are Robust) for
   3               Overhead/Control Channel Efficiency (OH/CCH Eff)
   4         497. Relatively low overhead for overhead/control channel efficiency
   5 function is the last of eight key LTE distinguishing features identified in Ericsson’s
   6 Furuskär paper. (Ex. 1450 at p. 2, Table I.) The “overhead/control channel
   7 efficiency” function relates to the fraction of resources that must be used for
   8 overhead rather than for sending user data. The overhead mainly takes the form of
   9 control data, which is sent over control channels on both the uplink and downlink.
  10 In LTE, certain channels are defined on the downlink (e.g., PDCCH, PFICH, and
  11 PHICH) and on the uplink (e.g., PUCCH) for the transmission of control
  12 information. These signals are necessary for the base station to convey scheduling
  13 assignments to the user, for the User Equipment to send channel quality information,
  14 and to request retransmissions.
  15         498. Ericsson has a relatively small share of essential patents directed to
  16 control data and control channel efficiency technologies and this demonstrates
  17 Ericsson’s small potential impact on the overall amount of overhead in LTE.
  18 Generally, there are nine technology categories relevant to the cellular standards in
  19 general and LTE in particular: (1) access procedures; (2) network protocols; (3)
  20 physical layer technologies; (4) control signaling; (5) radio resource management;
  21 (6) speech and multimedia technologies; (7) advanced features; (8) core network
  22 technologies; and (9) terminal interfaces. In identifying these categories, I relied on
  23 the discussion of different categories of technologies identified in “4G LTE/LTE-
  24 Advanced for Mobile Broadband,” written by Erik Dahlman, Stefan Parkvall, and
  25 Johan Sköld. (Ex. 1416.) The authors of this text were employees of Ericsson at the
  26 time of publication. I will refer to these nine categories as “the Dahlman
  27 Categories.” Overhead and control channel efficiency falls under the “control
  28 signaling” category.

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   1        499. The control signaling category covers a wide range of different
   2 technologies, including hybrid ARQ-related signals, references signals, scheduling
   3 requests, scheduling assignments, buffer status reports, and channel measurements.
   4 (See Ex. 1416 at pp. 220–259; 289–310.) Because of the relatively large impact of
   5 control signaling on overhead, looking at Ericsson’s share of such essential patents
   6 is a good indication of whether Ericsson has patented a critical mass of inventions
   7 directed to overhead that the aggregate benefit is properly attributable to Ericsson.
   8        500. I worked with Dr. Valenti and Concur IP to determine Ericsson’s
   9 relative SEP holdings vis-à-vis the cellular industry as a whole across the cellular
  10 standards in my Rebuttal Report. (See Ex. 1611.) Patent families owned by
  11 Ericsson and owned by other companies in the industry were classified into one or
  12 more of the Dahlman Categories. (See Ex. 1610.) In this way, it is possible to
  13 compare Ericsson’s relative share of SEPs within each of the Dahlman Categories
  14 against the rest of the industry and assess the impact of Ericsson’s alleged control
  15 signaling SEPs to the key LTE distinguishing feature of relatively low overhead for
  16 overhead and control efficiency.
  17        501. Based on the industry-wide classification analysis discussed above,
  18 Ericsson’s share of essential control signaling patents is only 5.3%. (See Ex. 1611.)
  19 This analysis also demonstrates that many companies developed and contributed to
  20 the control signaling technologies well before standardization of 4G LTE. (Id.)
  21 With such a low share of industry-wide essential patents directed to incremental
  22 improvements to well-known control signaling technologies, it is improper to
  23 attribute the total benefit of LTE’s relatively low overhead to Ericsson’s purported
  24 4G SEP Families.
  25 X.     CONCLUSION
  26        502. After performing the detailed SEP Analysis of Ericsson’s alleged 2G,
  27 3G and 4G SEPs, Dr. Jayant and I found that out of Ericsson’s 219 family/standard
  28 pairs, 73 pairs (or about 33%) were not “essential” under any reasonable

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   1 interpretation of the claims. Of the remaining 146 family/standard pairs, 10 more
   2 pairs were not essential under a proper claim construction. Nonetheless, Dr. Jayant
   3 and I further analyzed the Importance and Contribution for all of these 146
   4 family/standard pairs. Only eight these family/standard pairs were thus determined
   5 to be technically valuable to the relevant standards as compared to alternatives that
   6 were available at the time—we gave these pairs an Importance and Contribution
   7 Rank of “1.” Even though these eight family/standard pairs are technically valuable,
   8 they were determined to still be addressing and solving very modular problems
   9 contained within specific functions, such that the corresponding technical solutions
  10 would not materially impact other problems and associated solutions in the
  11 respective standards. Furthermore, we determined that only five more of these 146
  12 pairs had a moderate technical to the relevant standards as compared to alternatives
  13 that were available at the time – we gave these pairs an Importance and Contribution
  14 Rank of “2.” Our analysis showed that the remaining 206 (or 94%) of Ericsson’s
  15 2G, 3G, and/or 4G family/standard pairs are not technically valuable. Therefore, the
  16 vast majority of the 219 2G, 3G, and 4G family/standard pairs that Ericsson alleges
  17 are SEPs provided little to no intrinsic technical value to the standards. We gave
  18 these pairs Importance Ranks of “3” and/or Contribution Ranks of “3” or “4.”
  19         503. The Industry-Wide Essentiality Analysis, which included the Patent
  20 Census and the Essentiality Assessment, demonstrates that the relative size of
  21 Ericsson’s 2G, 3G and 4G patent portfolios have declined over time. Ericsson’s
  22 proportional share of the total set of essential UE patents was found to be
  23 substantially consistent with its share of all declared-essential patent families. In
  24 particular, for 2G, Ericsson’s fraction of essential UE patent families was found to
  25 be about 10%, just slightly higher than Ericsson’s 9% share of all 2G declared-
  26 essential UE families. For 3G, Ericsson’s fraction of essential UE families was
  27 found to be about 7%, basically the same as Ericsson’s 7% share of all 3G declared-
  28 essential UE families. For 4G, Ericsson’s fraction of essential 4G UE families was

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   1 found to be about 6%, basically the same as Ericsson’s 6% share of all declared-
   2 essential UE families. In sum, Ericsson’s relative strength has declined from 9% for
   3 the 2G standard, to 7% for 3G, and down to 6% for 4G.
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   1            TABLE OF EXHIBITS CITED IN WITNESS DECLARATION
   2     Exhibit No.                               Description
   3    12             TCL's ETSI IPR Information Statement and Licensing
                       Declaration dated 11/18/13 for ETSI TS 125 215 (6.1.1.2,
   4                   V3.5.0) and ETSI TS 36.355 (6.5.3, V11.4.0)
   5    223            ETSI Rules of Procedure, 11/18/15, Annex 6: ETSI Intellectual
                       Property Rights Policy, pp. 36-47
   6
        224            ETSI Guide on Intellectual Property Rights, pp. 51-70 (IPRs),
   7                   Version #94, Sep. 19, 2013
   8    362            U.S. Patent No. 8,285,294
   9    363            claim chart for claim 1 of U.S. Patent No. 8,285,294
  10    404            Webpage titled "Arrangements of Elements in an ETSI
                       Deliverable"
  11
        413            claim chart for claim 13 of U.S. Patent No. 8,644,415
  12
        422            claim chart for claim 1 of U.S. Patent No. 6,185,244
  13
        445            Spreadsheet titled "Other Company Stats," containing UE stats
  14
        461            Curriculum Vitae of Apostolos K. "Paul" Kakaes
  15
        551            Document titled "Protocol for Essentiality Analysis"
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  17    1084           Ericsson presentation titled "LTE Patent Landscape and Ericsson
                       Position," dated Feb. 2013
  18    1279           3GPP TS 25.212 V6.5.0 (2005-06) Technical Specification
  19    1316           ETSI Rules of Procedure, 11/26/08, Annex 6: ETSI Intellectual
  20                   Property Rights Policy, pp. 34-44

  21    1321           Spreadsheet titled "Tdoc Correlation Data"

  22    1323           Spreadsheet containing corrected Tdoc correlation data

  23    1329           File History for U.S. Patent No. 6,597,911
  24    1331           IEEE Communications Magazine publication titled "On the
                       Provision of Quality-of-Service Guarantees for Input Queued
  25                   Switches," by G. Nong, Dec. 2000
  26    1332           "Synthesis of Band-Limited Orthogonal Signals for Multichannel
                       Data Transmission," by R. Chang, 8/4/66
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   1    1333           IEEE Communications Magazine publication titled "Scalable
                       High-Speed Switches/Routers with QoS Support," by M.
   2                   Hyamdi, Dec. 2000
   3    1335           Docomo webpage "LTE (Long Term Evolution)"
   4    1336           Spreadsheet titled "Census"
   5    1337           3GPP TR 23.820 V2.0.0 (2008-05) Technical Report
   6    1339           "TR 23.820. Conclusion on the HSS Service Interruption
                       Scenario," 3GPP TSG CT WG4 Meeting #38, Jan. 28 - Feb. 1,
   7                   2007, C4-080437
   8    1340           "E-UTRA Random Access," TSG RAN WG1 #43, Nov. 7-11,
                       2005, R1-051445
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        1341           3GPP TSG-RAN1 Meeting #43, Nov. 7-11, 2005, Tdoc R1-
  10                   051450
  11    1342           3GPP TSG-RAN1 Meeting #43, Nov. 7-11, 2005, Tdoc R1-
                       051451
  12
        1344           "Replace the Abbreviation 'ConCon' with 'CPC' in TR 25.903,"
  13                   3GPP TSG-RAN WG1 Meeting #45, May 8-12, 2006, Tdoc R1-
                       061351
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        1345           "Text Proposal for Effective loT for TR 36.814," 3GPP TSG
  15                   RAN WG1 Meeting #57bis, June 29 - July 3, 2009, R1-092936
  16    1346           "Text Proposal on the Fundamental Characteristics of the Small
                       Data Transmission Enhancements for UMTS," 3GPP TSG-RAN
  17                   WG1 Meeting #79, Nov. 17-21, 2014, R1-145035
  18    1347           3GPP TSG-RAN WG3 Meeting #65, Aug. 24-28, 2009, R3-
                       092069
  19
  20    1348           "Text Proposal for LTE BS TR on Spurious Emissions," TSG-
                       RAN Working Group 4 (Radio) Meeting #39, May 8-12, 2006,
  21                   R4-060634

  22    1349           "Simulations Assumptions for 16QAM EUL BS Receiver
                       Performance," 3GPP TSG-RAN WG4 (Radio) Meeting #42bis,
  23                   Apr. 2-4, 2007, R4-070399

  24    1350           "TS 36.141: TP for Section 7," TSG-RAN Working Group 4
                       (Radio) Meeting #46bis, Mar. 31 - Apr. 4, 2008, R4-080606
  25    1351           "Cleanup and Alignment of "Frequency Band and Channel
  26                   Alignment,"" TSG-RAN Working Group 4 (Radio) Meeting #47,
                       May 5-9, 2008, R4-081184
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   1    1352           "TP on Rx Spurious Emissions (BC 1 & 2) (TR ch 7.6)," TSG-
                       RAN Working Group 4 (Radio) Meeting #51, May 4-8, 2009,
   2                   R4-091848
   3    1353           "TS 37.104: TP on Base Station Classes (TS ch 4.3)," TSG-RAN
                       Working Group 4 (Radio) Meeting #52, Aug. 24-28, 2009, R4-
   4                   093006
   5    1354           "TP to TR 30.007: CA introduction," TSG-RAN Working Group
                       4 (Radio) Meeting #62bis, Mar. 26-30, 2012, R4-121802
   6
        1357           Claim chart for claim 15 of EP No. 1,062,825
   7
        1358           Claim chart for claim 1 of U.S. Patent No. 6,597,911
   8
        1360           Claim chart for claim 1 of U.S. Patent No. 8,582,518
   9
        1361           Claim chart for claim 53 of U.S. Patent No. 8,750,808
  10
        1362           Claim chart for claim 1 of EP No. 2,742,606
  11
        1363           Claim chart for claim 9 of U.S. Patent No. 6,073,005
  12
        1364           Claim chart for claim 1 of EP No. 2,238,801
  13
        1365           Claim chart for claim 1 of U.S. Patent No. 9,100,069
  14
        1366           U.S. Patent No. 6,781,970
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  16    1367           3GPP TS 25.321 V8.17.0 (2012-12) Technical Specification

  17    1368           3GPP TS 36.133 V10.16.0 (2014-09) Technical Specification:
                       Sections 1-10
  18    1369           U.S. Patent No. 6,185,244
  19    1370           U.S. Patent No. 8,837,410
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        1371           3GPP TS 36.133 V10.20.0 (2015-09) Technical Specification
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        1375           U.S. Patent No. 8,913,565
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        1376           U.S. Patent No. 8,750,808
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        1377           U.S. Patent No. 8,902,811
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        1379           3GPP TS 25.212 V11.4.0 (2012-12) Technical Specification
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        1380           File History for U.S. Patent No. 9,100,069
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        1381           U.S. Patent No. 9,100,069
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   1    1382           "Text Proposal on E-UTRA Random Access," TSG-RAN WG1
                       #43, Nov. 7-11, 2005, R1-051584
   2
        1383           ETSI Rules of Procedure, Annex 6: ETSI Intellectual Property
   3                   Rights, dated 11/19/14
   4    1388           Exhibit M to the Rebuttal Expert Report of Dr. Apostolos K.
                       "Paul" Kakaes
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        1389           IEEE publication titled "An Adaptive Type-II Hybrid ARQ/FEC
   6                   Protocol Suitable for GSM," by P. Decker, 1994
   7    1390           IEEE publication titled "Multiple-Accessing Over Frequency-
                       Selective Fading Channels," by R. Knopp, 1995
   8
        1391           IEEE Transaction on Information Theory publication titled "An
   9                   Adaptive-Feedback Scheme Using Incremental Redundancy," by
                       M. Mandelbaum, May 1974
  10
        1392           IEEE publication titled "Impact of Multiuser Diversity and
  11                   Channel Variability on Adaptive OFDM," by W. Wang, 2003
  12    1393           IEEE publication titled "Fairness and Throughput Analysis for
                       Generalized Proportional Fair Frequency Scheduling in
  13                   OFDMA," by C. Wengerter, 2005
  14    1394           IEEE Transactions on Communications, Vol. 50, No. 6
                       publication titled "On the Comparison Between OFDM and
  15                   Single Carrier Modulation with a DFE Using a Frequency-
                       Domain Feedforward Filter," by N. Benvenuto, June 2002
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        1395           EP No. 1,655,871
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        1396           Search results re Ericsson fractional power control patents
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        1397           IEEE Communications Magazine publication titled "Frequency
  19                   Domain Equalization for Single-Carrier Broadband Wireless
                       Systems," by D. Falconer, Apr. 2002
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  21    1398           IEEE publication titled "A Low Complexity Transmitter
                       Structure for OFDM-FDMA Uplink Systems," by D. Galda,
  22                   2002

  23    1399           IEEE Transactions on Communications, Vol. 26, No. 5
                       publication titled "Adaptive Coded Modulation for Fading
  24                   Channels," by A. Goldsmith, May 1998

  25    1400           IEEE publication titled "Enhanced Adaptive Modulation and
                       Coding Schemes Based on Multiple Channel Reportings for
  26                   Wireless Multicast Systems," by J. Kim, 2005

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   1    1401           IEEE Transactions on Communications, Vol. 13, No. 10
                       publication titled "Constellation and Rate Selection in Adaptive
   2                   Modulation and Coding Based on Finite Blocklength Analysis
                       and Its Application to LTE," by J. Meng, Oct. 2014
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        1402           IEEE Globecom publication titled "Queue-Aware Uplink
   4                   Bandwidth Allocation for Polling Service in 802.16 Broadband
                       Wireless," by D. Niyato, 2005
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        1404           "E-UTRA Uplink Power Control Proposal and Evaluation,"
   6                   3GPP TSG RAN WG1 Meeting #49bis, June 25-29, 2007, R1-
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        1406           U.S. Patent No. 7,536,205
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        1407           U.S. Patent No. 7,773,947
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        1408           PCT Publication No. WO 2005/096531
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        1409           IEEE publication titled "Performance of Punctured Channel
  11                   Codes with ARQ for Multimedia Transmission in Rayleigh
                       Fading Channels," by H. Lou, 1996
  12
        1410           "Release 2000 Features," TSG-RAN Working Group 1
  13                   meeting#13, May 22-25, 2000, TSGR1#13(00)27
  14    1411           3GPP TSG RAN WG1 Meeting #63bis, Jan. 17-21, 2011, R1-
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        1412           3GPP TSG RAN WG1#2, Feb. 22-25, 1999, R1-99061
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        1413           3GPP TSG-RAN, Meeting #7, Mar. 13-17, 2000, Tdoc
  17                   TSGRP#7(00)0054
  18    1414           U.S. Patent No. 7,738,907
  19    1415           claim chart for claim 1 of U.S. Patent No. 5,987,139
  20    1416           "4G: LTE/LTE-Advanced for Mobile Broadband, 2nd Ed.," E.
  21                   Dahlman and S. Parkvall, 2014

  22    1417           ETSI web publication titled "High Speed Circuit Switched Data,
                       HSCSD"
  23    1418           U.S. Patent No. 5,987,139
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        1421           U.S. Patent No. 5,602,901
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        1422           U.S. Patent No. 6,073,005
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        1424           "Summary of [72b#25]: Measurement Gap Request Procedure
  27                   for OTDOA," 3GPP TSG RAN WG2 Meeting #73, Feb. 21-25,
                       2011, R2-111144
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   1    1425           U.S. Patent No. 8,965,414
   2    1426           Spreadsheet containing non-UE source data analysis
   3    1427           claim chart for claim 27 of U.S. Patent No. 8,965,414
   4    1429           Exemplary LTE UE claim charts, dated 11/17/14
   5    1430           claim chart for claim 1 of U.S. Patent No. 8,913,565
   6    1431           GSM 03.20 V8.0.0 (1999-11) Technical Specification
   7    1433           3GPP TS 36.213 V10.12.0 (2014-03) Technical Specification
   8    1434           3GPP TS 36.213 V8.8.0 (2009-09) Technical Specification
   9    1435           3GPP TS 36.213 V9.3.0 (2010-09) Technical Specification
  10    1438           3GPP TS 36.321 V9.3.0 (2010-06) Technical Specification
  11    1440           3GPP TS 36.331 V10.16.0 (2015-03) Technical Specification
  12    1443           Change request for "Cancellation of Scheduling Request," 3GPP
                       TSG-RAN WG2 Meeting #65, Feb. 9-13, 2009, R2-091240
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  14    1444           U.S. Patent No. 8,134,940

  15    1445           U.S. Patent No. 8,582,518

  16    1446           "Power Control Details for PUCCH Format 3," 3GPP TSG WG1
                       Meeting #63, Nov. 15-19, 2010, R1-105914
  17    1448           "Error Control Coding: Fundamentals and Applications," by S.
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  19    1449           Ericsson's IPR Information Statement and Licensing Declaration
                       re P35592 dated 11/12/14
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        1450           Publication titled "The LTE Radio Interface - Key
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  22    1451           Publication titled "HSPA Evolution: The Fundamentals for
                       Mobile Broadband," by T. Chapman
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        1452           3GPP TSG-RAN2 Meeting #67, Aug. 24-28, 2009, R2-095380
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        1453           Spreadsheet containing non UE stats for Samsung, ZTE, LG,
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  26    1454           IEEE Transactions on Communications, Vol. 39, No. 5,
                       publication titled "Incremental-Redundancy Transmission for
  27                   Meteor-Burst Communications," by M. Pursley, May 1991
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   1    1456           ETSI IPR Information Statement and Licensing Declaration by
                       Ericsson dated 2/22/02
   2
        1459           U.S. Patent Publication No. 2005/0128993
   3
        1460           Curriculum Vitae of Babak Hassibi
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        1461           Curriculum Vitae of R. Michael Buehrer
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        1462           Curriculum Vitae of Shuguang Cui
   6
        1463           Curriculum Vitae of Faramarz Fekri
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        1464           Curriculum Vitae of Young-Han Kim
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        1465           Curriculum Vitae of Gordon Stuber
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        1466           Curriculum Vitae of Matthew Valenti
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        1467           Curriculum Vitae of Alexander Vardy
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        1468           Curriculum Vitae of Liuqing Yang
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        1576           3GPP TS 22.101 9.0.0 (2008-06) Technical Specification
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  14    1579           Expert/Consultant Curriculum Vitae of Professor Zhi Ding

  15    1591           U.S. Patent Application Publication No. 2006/0268976

  16    1596           Curriculum Vitae of Samkeet S. Mehta

  17    1597           Curriculum Vitae of Vivek Sharma

  18    1598           Curriculum Vitae of Sachin Sinha

  19    1599           Curriculum Vitae of Sanjay Nama
  20    1594           Exhibit C to Expert Report of Zhi Ding: spreadsheet for industry-
                       wide patent essentiality analysis of 2G, 3G, and 4G patents
  21
        1602           Curriculum Vitae of Nitin Agrawal
  22
        1603           U.S. Patent No. 2,405,165
  23
        1604           IEEE Transactions on Communications, Vol. Com-30, No. 5
  24                   publication titled "The Origins of Spread-Spectrum
                       Communications," by R. Scholtz, May 1982
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        1605           U.S. Patent No. 6,597,911
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        1607           3GPP TR 25.858 V5.0.0 (2002-03) Technical Specification
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        1608           3GPP TS 25.211 V6.0.0 (2003-12) Technical Specification
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   1    1609           IEEE Standard for Local and Metropolitan Area Networks, "Part
                       16: Air Interface for Fixed Broadband Wireless Access
   2                   Systems," 802.16 - 2001
   3    1610           Exhibit A to Rebuttal Expert Report of Dr. Apostolos K. "Paul"
                       Kakaes, dated 11/4/16, titled "Protocol for Classification
   4                   Analysis"
   5    1611           Exhibit B to Rebuttal Expert Report of Dr. Apostolos K. "Paul"
                       Kakaes, dated 11/4/16, spreadsheet titled "Classification
   6                   Analysis"
   7    1613           3GPP TS 25.331 V3.6.0 (2001-03) Technical Specification
   8    1614           3GPP TS 25.331 V8.16.0 (2011-09) Technical Specification
   9    1616           Publication titled "Introduction to 3G Mobile Communications,
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        1617           U.S. Patent No. 7,181,218
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        1619           3GPP TS 36.101 V13.2.1 (2016-01) Technical Specification
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        1636           "Layer 1/2 Aspects for Enhanced UL for CELL_FACH," 3GPP
  13                   TSG-RAN WG2 #52bis, Oct. 8-12, 2007, R2-074390
  14    1637           EP No. 2,238,801
  15    1639           Errata Exhibit 1: Corrected Appendices to Second Supplemental
                       Expert Report of Dr. Apostolos K. "Paul" Kakaes, dated 5/28/16
  16
        1720           LexisNexis TotalPatent product information
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   1                            CERTIFICATE OF SERVICE
   2        At the time of service, I was over 18 years of age and not a party to this
     action. I am employed in the County of San Diego, State of California. My
   3
     business address is 12275 El Camino Real, Suite 200, San Diego, CA 92130.
   4
            On January 11, 2017, I caused to be served the PLAINTIFFS’ DIRECT
   5 EXAMINATION BY DECLARATION FOR EXPERT WITNESS DR.
   6 APOSTOLOS (PAUL) KAKAES to all counsel of record by serving true copies of
     the foregoing document on the interested parties in this action as follows:
   7
   8        BY EMAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
     document(s) to the persons at the e-mail addresses listed in the Service List. I did
   9 not receive, within a reasonable time after the transmission, any electronic message
  10 or other indication that the transmission was unsuccessful.
  11 John Gibson                              Theodore Stevenson, III
  12 jgibson@crowell.com                      tstevenson@mckoolsmith.com
     Samrah R Mahmoud                         Laurie L. Fitzgerald
  13 smahmoud@crowell.com                     lfitzgerald@mckoolsmith.com
  14 Robert B McNary                          Ashley Moore
     rmcnary@crowell.com                      Amoore@mckoolsmith.com
  15
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  21
            I declare under penalty of perjury under the laws of the State of California
  22 that the foregoing is true and correct.
  23        Executed on January 11, 2017, at San Diego, California.
  24
                          By: /s/ Kristina Grauer
  25                          KRISTINA GRAUER
  26
  27
  28
       HIGHLY CONFIDENTIAL                       i   Case No. SACV14−00341 JVS (DFMx)/CV15–02370
                                         WITNESS DECLARATION OF DR. APOSTOLOS (PAUL) KAKAES
